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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



ALPHA PHI ALPHA FRATERNITY
INC., et al.,


               Plain t
                     ffs,
                     i
                                                          Civ. No. 21-5337
                vs.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State of
Georgia.

               Defendant.



                      DECLARATION OF WILLIAM S. COOPER

         WILLIAM S. COOPER, acting in accordance with 28 U.S.C. §1746,

Federal Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702

and 703, does hereby declare and say:

I.      INTRODUCTION

         1.   My name is William S. Cooper. Ihave aB.A. in Economics from

Davidson College. As aprivate consultant, Iserve as ademographic and

redistricting expert for the Plaintiffs.

        2.    Ihave testified at trial as an expert witness on redistricting and

demographics in federal courts in about 50 voting rights cases since the late 1980s.

Over 25 of the cases led to changes in local election district plans. Five of the cases

                                                                                   DEFENDANT'S
                                                                                     EX7IBrr


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resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs Council, Inc. v. McWherter, No. 92-cv-2407 (W.D.

Tenn. 1995); Old Person v. Brown, No. 96-cv-0004 (D. Mont. 2002); Bone Shirt v.

Hazeltine, No. 01-cv-3032 (D.S.D. 2004); Alabama Legislative Black Caucus v.

Alabama, No. 12-cv-691 (M.D. Ala. 2017), and Thomas v. Reeves (S.D. Miss.

2019). In Bone Shirt v. Hazeltine, the court adopted the remedial plan I developed.

      3.   I served as the Gingles 1 expert for two post-2010 local-level Section 2

cases in Georgia, NAACP v. Fayette County and NAACP v. Emanuel County. In

both cases, the parties settled on redistricting plans that I developed (with input

from the respective defendants). In the latter part of the decade, I served as the

Gingles 1 expert in three additional Section 2 cases in Georgia, which were all

voluntarily dismissed after the 2018 elections: Georgia NAACP v. Gwinnett

County), No. 1:16-cv-02852-AT; Thompson v. Kemp, No. 1:17-cv-01427 (N.D.

Ga. 2018); and Dwight v. Kemp, No. 1:18-cv-2869 (N.D. Ga. 2018).

      4. In 2022, I have testified as an expert in redistricting and demographics in

six cases challenging district boundaries under Section 2 of the Voting Rights Act:

Caster v. Merrill, No. 21-1356-AMM (N.D. Ala.), Pendergrass v. Raffensperger,

No. 21-05337-SCJ (N.D. Ga.), Alpha Phi Alpha Fraternity v. Raffensperger, No.

21-05339-SCJ (N.D. Ga.), NAACP v Baltimore County, No.21-cv-03232-LKG

(Md.), Christian Ministerial Alliance v. Hutchinson No. 4:19-cv-402-JM (E.D.


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Ark.), and Robinson v Ardoin, No. 3:22-cv-00211-SDD-SDJ (M.D. La.). I also

testified at trial this year as an expert on demographics in NAACP v. Lee, No. 4:21-

cv-187-MW/MAF (N.D. Fla.), a case involving recent changes to Florida election

law.

       5.    Since the release of the 2020 Census, three county commission-level

plans I developed as a private consultant have been adopted by local governments

in San Juan County, Utah, Bolivar County, Mississippi, and Washington County,

Mississippi. In addition, a school board plan I developed was adopted by the

Jefferson County, Alabama Board of Education subsequent to my expert work in

the long-running case of Stout v. Jefferson County Board of Education, No. 2:65-

cv-00396-MHH (N.D. Ala.).

       6.    My redistricting experience is further documented in my curriculum

vitae, which is attached as Exhibit A.

A. Purpose of Declaration

       7.    The attorneys for the Plaintiffs in this case asked me to determine

whether the African-American1 population in Georgia is “sufficiently large and



1 In this report, “African-American” refers to persons who are single-race Black or Any Part
Black (i.e. persons of two or more races and some part Black), including Hispanic Black. In
some instances (e.g. for historical comparisons) numerical or percentage references identify
single-race Black as “SR Black” and Any Part Black as “AP Black.” Unless noted otherwise,
“Black” means AP Black. It is my understanding that following the U.S. Supreme Court decision



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geographically compact” to allow for the creation, consistent with traditional

redistricting principles, of additional majority-Black Senate and House districts

beyond those created in the legislative plans that were signed into law by Governor

Kemp on December 30, 2021—in other words, districts that meet the first Gingles

precondition (“Gingles 1”).2

       8.    For purposes of the Gingles 1 analysis in this report, and unless

otherwise noted, I define majority-Black districts as those that are majority-Black

voting age (“BVAP”). I also report whether districts are majority-Black citizen

voting age (“BCVAP”).3



in Georgia v. Ashcroft, 539 U.S. 461 (2003), the “Any Part” definition is an appropriate Census
classification to use in most Section 2 cases.

Throughout this report, I refer to the two legislative plans signed into law by Governor Kemp as
the “2021 Senate Plan” and the “2021 House Plan,” respectively.

2 See Thornburg v. Gingles, 478 U.S. 30, 50 (1986).

3 The CVAP levels reported herein are estimates based on block group level information
published by the U.S. Census Bureau’s American Communities Survey (ACS). Unless noted
otherwise, the CVAP estimates I report here count only persons who are non-Hispanic (“NH”)
SR Black – and are therefore the most conservative measure of Black citizenship. In the
summary population exhibits that I have prepared for each plan, I also report the NH DOJ Black
CVAP metric. The NH DOJ Black CVAP category includes voting age citizens who are either
NH SR Black or NH Black and White. An “Any Part Black CVAP” category which would
include Black Hispanics cannot be calculated from the 5-Year ACS Census Bureau Special
Tabulation.

The most current ACS data available is from the 2016-2020 ACS Special Tabulation, with a
survey midpoint of July, 1 2018. https://www.census.gov/programs-surveys/decennial-
census/about/voting-rights/cvap.html. The 2016-2020 estimates reflect Census 2020 population
distribution. The 2017-2021 Special Tabulation will be released by the Census Bureau in early
2023, which could require updates to the number of majority-BCVAP districts by plan.

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       9.   The two illustrative plans that I have prepared (one for the State House

and one for the State Senate) demonstrate that Georgia’s Black population is

sufficiently numerous and geographically compact to allow for the creation of at

least three additional majority-Black Senate districts and at least five additional

majority-Black House districts.

       10. The illustrative plans comply with traditional redistricting principles,

including population equality, compactness, contiguity, respect for communities of

interest, and the non-dilution of minority voting strength.

       11. The illustrative plans are drawn to follow, to the extent possible, county

and VTD4 boundaries. Where counties are split to comply with one-person one-vote

requirements or to avoid pairing incumbents, I have generally used whole 2020

Census VTDs as sub-county components. Where VTDs are split, I have followed

census block boundaries that are aligned with roads, natural features, census block

groups, municipal boundaries, and/or current county commission districts.

       12. Exhibit B describes the sources and methodology I have employed in

the preparation of this report and the illustrative plans. Briefly, I used the Maptitude

software program as well as data and shapefiles from the U.S. Census Bureau and

the Georgia Legislative and Congressional Reapportionment Office, among other



4 “VTD” is a Census Bureau term meaning “voting tabulation district.” VTDs generally
correspond to precincts. Statewide, there are 2,698 2020 VTDs.
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sources. I also used official incumbent address information supplied to Plaintiffs’

attorneys by Defendants in January 2022, as well as another potential database of

incumbent address information following the November 2022 General Election

using the 2021 Plans, which I understand is largely based on the address

information contained in the candidate qualifying materials of successful State

House and State Senate candidates.

B. Summary of Expert Conclusions

       13. Based on my Gingles 1 analysis, I conclude the following:

                                           State Senate

       •      The 2021 Senate Plan contains 14 majority-Black districts that are

       BVAP majority (15 are BCVAP majority).

       •      As shown in the Plaintiffs’ Illustrative Senate Plan, a statewide Senate

       plan can be drawn with 18 majority-Black districts, including two additional

       majority-Black districts in south Metro Atlanta and an additional majority-

       Black district anchored in the eastern portion of Georgia’s Black Belt

       (encompassing part of Augusta-Richmond County and extending west to

       Twiggs County).5




5 The Illustrative Senate Plan described infra also creates an additional majority- Black Senate
district in the counties of Cobb and Fulton (District 33), for a total of 18 statewide.
                                                  6
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  •     The Black population in south Metro Atlanta is sufficiently numerous

  and geographically compact to allow for the creation of at least two

  additional compact majority-Black Senate districts, while adhering to

  traditional redistricting principles.

  •     The Black population in and around Georgia’s eastern Black Belt

  counties is sufficiently numerous and geographically compact to form an

  additional majority-Black Senate district, while adhering to traditional

  redistricting principles.

                                  State House

   •    The 2021 House Plan contains 49 majority-Black districts (47 of which

   are also majority BCVAP).

   •    As shown in the Plaintiffs’ Illustrative House Plan, a statewide House

   Plan can be drawn with at least 54 majority-Black districts (53 that are both

   BVAP and BCVAP majority), including five additional majority-Black

   districts. Two of the additional majority Black districts are anchored in south

   Metro Atlanta, two are in Georgia’s Black Belt (one in the eastern end of the

   Black Belt and one in the western end, in Southwest Georgia), and one is in

   metropolitan Macon.




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       •    The Black population in south Metro Atlanta is sufficiently numerous

       and geographically compact to allow for the creation of at least two

       additional majority-Black House districts in Metro Atlanta, while adhering

       to traditional redistricting principles.

       •    The Black population in and around the eastern Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.

       •    The Black population in and around the western Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.

       •    The Black population in metropolitan Macon is sufficiently numerous

       and geographically compact to form an additional majority-Black district,

       while adhering to traditional redistricting principles.

C. Gingles 1 Analysis – Focus Areas

      14. According to the data collected in the 2020 Census, and as discussed in

further detail below, Georgia’s Black population has grown significantly since

2010. The State’s Black population is up by 484,848 persons, the equivalent of 2.5


                                            8
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100% Black State Senate districts or eight 100% Black State House districts. By

contrast, the State’s non-Hispanic (“NH”) White population actually declined

during that same period. Yet despite the significant growth in Georgia’s Black

population since 2010, almost no additional majority-Black districts are created in

Georgia’s 2021 Senate and House Plans.6

       15. The 2021 Senate Plan merely maintains the status quo, with 14 majority-

Black districts, the same number as in the previous plan which was enacted in 2012

and first used in 2014 during mid-decade redistricting (the “2014 Benchmark

Senate Plan”).7

       16. The 2021 House Plan has two more majority-Black districts than the

previous plan, which was enacted in 2015 (the “2015 Benchmark House Plan”)

(and which in turn incorporated a discrete set of changes to the plan enacted in




6 The ideal population size for a Senate district is 191,284 and 59,511 for a House district. Those
numbers are derived from the State’s total population and the number of seats in each body.
7 I am counting Senate District 41 (Dekalb County) as majority-Black under the 2014
Benchmark Senate Plan. That district, which was 51.4% BVAP when drawn under the 2010
Census, slipped to 49.76% BVAP according to the 2020 Census. It remained a BCVAP-majority
district at 57.22% BCVAP, according to the 2015-19 ACS.
Notably, Senate District 2 (Chatham County) in the 2014 Benchmark Senate Plan was similarly
drawn at 50.94% BVAP based on 2010 Census data, but had fallen to 47.09% BVAP under the
2020 Census. District 2 is no longer majority-BVAP (46.86% in the 2021 Senate Plan and
46.33% under the Illustrative Senate Plan infra) but remains majority-BCVAP in both plans. I
am not counting Senate District 2 as majority-Black under the 2014 Benchmark Senate Plan,
though I note that doing so would result in the 2021 Senate Plan having one fewer majority-
Black Senate district than its predecessor plan (14 under the 2021 Senate Plan versus 15 under
the 2014 Benchmark Senate Plan).

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2012).8 That small increase is nowhere near commensurate with the significant

growth of Georgia’s Black population during that period.

       17. Under the 2021 Senate Plan, 10 of the 14 majority-Black districts are in

Metro Atlanta. Under the 2021 House Plan, 33 of the 49 majority-Black districts are

in Metro Atlanta.9

       18. To determine where additional majority-Black districts could be drawn,

I focused on areas with substantial Black populations, in particular:

        (1) Metro Atlanta counties (as defined by the Atlanta-Sandy Springs-

Alpharetta Metropolitan Statistical Area (“MSA”) boundaries) shown in the Census

Bureau’s map in Exhibit C;

       (2) Georgia’s Black Belt, as illustrated by the Georgia Budget and Policy




8
  The Senate and House plans initially enacted after the 2010 Census are included in Exhibits I-
2 and V-2, infra. These historical plans are not substantially different than the Benchmark plans
with respect to the number of majority-Black districts. The prior Senate and House maps,
enacted in 2006, are also included in Exhibits I-3 and V-3, respectively.
9 In this report, Metro Atlanta refers to the 29-county Atlanta Metropolitan Statistical Area
(“MSA”) defined by the U.S. Office of Management and Budget. It includes the Counties of
Barrow, Bartow, Butts, Carroll, Cherokee, Clayton, Cobb, Coweta, Dawson, DeKalb, Douglas,
Fayette, Forsyth, Fulton, Gwinnett, Haralson, Heard, Henry, Jasper, Lamar, Meriwether,
Morgan, Newton, Paulding, Pickens, Pike, Rockdale, Spalding, and Walton.

MSA is an abbreviation for “metropolitan statistical area.” Metropolitan statistical areas are
defined by the U.S. Office of Management and Budget and reported in historical and current
census data produced by the Census Bureau. MSAs “consist of the county or counties (or
equivalent entities) associated with at least one urbanized area of at least 50,000 population, plus
adjacent counties having a high degree of social and economic integration with the core as
measured through commuting ties.” U.S. Census Bureau, “About,”
https://www.census.gov/programs-surveys/metro-micro/about.html.
                                                10
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Institute (“GBPI”) map in Figure 1.10 Exhibit D is an excerpt from the GBPI report

(Appendix A) identifying the Black Belt counties and school districts depicted in

Figure 1.

Figure 1
                         Georgia’s Black Belt School Districts




       19. More broadly, and as the GBPI report explains, the term “Black Belt”

refers to a swath of the American South that historically had large numbers of

enslaved Black persons, and that today continues to have substantial Black

populations. In Georgia, the area comprising the Black Belt extends roughly




10 For a current and historical analysis of Georgia’s Black Belt, see Stephen Owens, Education
in Georgia’s Black Belt: Policy Solutions to Help Overcome a History of Exclusion (GBPI
October 10, 2019), https://gbpi.org/education-in-georgias-black-belt.
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southwest from the area around Augusta through Macon and Middle Georgia and

on to the southwest corner of the State.

       20. Upon review, I narrowed my focus to four regions within those larger

areas (as illustrated by the maps in Exhibit E and Figure 4, infra):

       21. (Region A) South Metro Atlanta: suburban /exurban counties in a

significantly Black, racially diverse, and geographically compact region that has

emerged over the past quarter of a century—specifically, the counties of Fayette,

Spalding, Henry, Rockdale, and Newton.

       22. The Georgia Governor’s Office of Planning and Budget projects that

this 5-county region will have 725,000 residents by the time of the 2030 Census –

up by about 92,000 persons over the Census 2020 enumeration, of whom 61% will

be non-White. African-Americans are projected to account for about 60% of the

non-White population increase.11

       23. Under the 2021 Senate Plan, parts of three majority-Black districts are in

the south Metro counties—Senate Districts 10, 34, and 43.

       24. Under the 2021 House Plan, parts of seven majority-Black House

districts are in these five south Metro counties.




11 Georgia Governor’s Office of Planning and Budget, “Population Projections,”
https://opb.georgia.gov/census-data/population-projections.
                                              12
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       25. (Region B) Eastern Black Belt: urban Black Belt Richmond County

(Augusta) plus a group of rural Black Belt counties in a geographically compact

area. Several of the rural counties are home to long-standing Black communities

that have not been in a majority-Black Senate district since the passage of the 1965

Voting Rights Act.

       26. All of the Region B counties are part of the Central Savannah River

Area Regional Commission, as shown in Exhibit F on the regional commission

map prepared by the Georgia Department of Community Affairs (“GDCA”).

Georgia’s Regional Commissions are “public agencies created and established by

the Georgia Planning Act (O.C.G.A. 50-8-32) in order to assist local governments

on a regional basis and to develop, promote and assist in establishing coordinated

and comprehensive planning in the state.”12

       27. Region B encompasses the following Central Savannah River Area

Regional Commission counties: (counter clockwise from east to west) Jenkins,

Burke, Richmond, Jefferson, McDuffie, Wilkes, Taliaferro, Glascock, Warren,

Washington, and Hancock. Ten of these 11 contiguous counties—excluding

Glascock (pop. 2,884)—are identified as part of Georgia’s Black Belt by GBPI.



12 See Georgia Department of Community Affairs, “Regional Commissions,”
https://www.dca.ga.gov/local-government-assistance/planning/regional-planning/regional-
commissions; New Georgia Encyclopedia, “Regional Commissions of Georgia,”
https://www.georgiaencyclopedia.org/articles/government-politics/regional-commissions-of-
georgia/.
                                             13
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Moreover, additional adjacent counties, such as Baldwin County, lie outside the

Central Savannah River Area Regional Commission area but are also identified as

part of the Black Belt by GBPI and have substantial Black populations.

      28. The 2021 Senate Plan includes one majority-Black district in Region

B—Senate District 22 (56.5% BVAP)—in Augusta-Richmond County, and a small

part of another majority Black district—Senate District 26 (56.99% BVAP)—

anchored in Macon-Bibb County.

      29. The 2021 House Plan contains five majority-Black districts in the

Region B area.

      30. (Region C) Western Black Belt: urban Black Belt Dougherty County

(Albany) plus a group of southwest Georgia rural Black Belt counties in a

geographically compact area, implicitly identified in the area encompassed by

majority-Black Senate District 12 (57.97% BVAP) in the 2021 Senate Plan. Region

C encompasses part of the Southwest Georgia and Valley River Area Regional

Commission areas depicted on the GDCA map in Exhibit F.

      31. The 2021 House Plan contains just two majority-Black House districts

in Region C, even though there is obviously sufficient Black population to create

three districts in an area generally circumscribed by majority-Black Senate District




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12 in the 2021 Senate Plan. (This is obvious because Senate Districts are just over

three times the size of House Districts.)

       32. Senate District 12 encompasses 13 counties: (counter clockwise from

north to south on the GDCA map) Sumter, Webster, Stewart, Quitman, Randolph,

Terrell, Clay, Calhoun, Dougherty, Early, Miller, Baker, and Mitchell. Twelve of

the 13 counties—excluding Miller (pop. 6,000)—are identified by GBPI as Black

Belt counties.13 Moreover, additional adjacent counties, such as Thomas County, lie

outside of Senate District 12 in the 2021 Senate Plan but are also identified as part

of the Black Belt by GBPI and have substantial Black populations.

       33. (Region D): Metropolitan Macon: a seven-county region in Middle

Georgia defined by the combined MSAs of Macon-Bibb and Warner Robins. Three

of the Macon area counties are identified as part of Georgia’s Black Belt by




13 Plaintiffs’ Illustrative Senate Plan also contains a majority-Black Senate District in the same
general area of southwest Georgia, Illustrative Senate District 12 (57.97% BVAP).

                                                15
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GBPI—Macon-Bibb, Peach, and Twiggs, encompassing about 59% of the Black

population (177,269) in the seven-county region. 14

       34. As shown in the map in Exhibit F, these seven MSA counties form the

core of the Middle Georgia Regional Commission.

       35. As is the case with Region C, the 2021 House Plan contains just two

majority-Black House districts in Region D, even though there is obviously

sufficient Black population to create three House districts in an area generally

circumscribed by the Macon-Bibb Warner Robins portion of majority-Black Senate

District 26 in the 2021 Senate Plan.15

D. Organization of Declaration

       36. The remainder of this report is organized as follows: Section II reviews

state and regional demographics since 1990. Section III reviews the benchmark

2014 Senate Plan and the 2021 Senate Plan. Section IV presents the Illustrative

Senate Plan that I have prepared, containing 18 majority-Black districts. Section V

reviews the benchmark 2015 House Plan and the enacted 2021 House Plan. Section




14 The Macon-Bibb MSA includes the Counties of Twiggs, Macon-Bibb, Jones, Monroe, and
Crawford. The adjacent Warner Robins MSA encompasses Houston and Peach Counties. As
noted supra, MSAs are in part defined by “counties having a high degree of social and economic
integration with the core as measured through commuting ties.”
15 The Illustrative Senate Plan infra also contains a majority-Black Senate District in the same
general area of metropolitan Macon, Illustrative Senate District 12 (52.81% BVAP), in the
counties of Macon-Bibb and Houston.
                                                16
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VI presents the Illustrative House Plan that I have prepared, containing 54 majority-

Black districts.

      37. An Appendix at the end of my report contains maps and population

summaries overlaying the challenged districts in the 2021 House and Senate Plans

onto historical plans that were in effect from the late 1990s to 2021. I prepared the

maps and population summaries in the Appendix at the request of the attorneys for

the Plaintiffs. The maps and accompanying population data show how the

population living in the area of the challenged districts has been divided and

distributed into historical districts under legislative plans from the 1990s to the

present day.


II. DEMOGRAPHIC PROFILE – STATEWIDE AND REGIONAL

      38. This section provides current and historical population summaries for

Georgia, Metro Atlanta, and for the four distinct areas where additional majority-

Black legislative districts can be created—generally defined by (Region A) the 5-

county south Metro Atlanta area, (Region B) the 11-county area in the eastern

Black Belt within the Augusta/Central Savannah River Regional Commission area,

(Region C) the 13-county western Black Belt around Albany and Southwest

Georgia, and (Region D) the 7-county combined Macon-Bibb Warner Robins

MSAs within the larger geographic area defined by the Middle Georgia Regional

Commission.

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A. 2010 to 2020: A Decade of Minority Population Growth in Georgia

      39. According to the 2020 Census, Georgia has a total population of

10,711,908—up by 1.02 million since 2010. Georgia’s population growth since

2010 can be attributed entirely to gains in the overall minority population.

      40. Between 2010 and 2020, nearly half (47.26%) of the State’s population

gain is attributed to Black population growth.

      41. Figure 2 reveals that Georgia’s Black population, as a share of the

overall statewide population, increased between 2010 and 2020 from 31.53% Black

in 2010 to 33.03% in 2020. Over the 2010 to 2020 decade, the Black population in

Georgia increased by 484,048 persons—an increase of nearly 16% from the 2010

baseline. By contrast, between 2010 and 2020, the NH White population fell by -

51,764 persons.




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Figure 2
                           Georgia – 2010 Census to 2020 Census
                            Population by Race and Ethnicity
                                                                           2010 - % 2010 -
                                  2010               2020                  2020    2020
                                 Number   Percent   Number      Percent   Change Change
       Total Population         9,687,653 100.0% 10,711,908 100.00% 1,024,255 9.56%
       NH White*                5,413,920 55.88% 5,362,156 50.06% -51,764 -0.48%
       Total Minority Pop.      4,273,733 44.12% 5,349,752 49.94% 1,076,019 10.05%
       Latino                     853,689 8.81% 1,123,457 10.49% 269,768 2.52%
       NH Black*                2,910,800 30.05% 3,278,119 30.60% 367,319 3.43%
       NH Asian*                  311,692 3.22%     475,680   4.44% 163,988 1.53%
       NH Hawaiian and PI*          5,152 0.05%       6,101   0.06%       949 0.01%
       slander*#
       NH American Indian and
       Alaska Native*              21,279 0.22%       20,375      0.19%      -904   -0.01%
       NH Other*                   19,141 0.20%       55,887      0.52%    36,746    0.34%
       NH Two or More Races       151,980 1.57%      390,133     3.65% 238,153      2.22%
       SR Black
       (Single-race Black)      2,950,435 30.46%    3,320,513    31.00% 370,078      3.45%
       AP Black
       (Any Part Black)         3,054,098 31.53%    3,538,146    33.03% 484,048      4.52%
       NH Any Part Black        2,997,627 30.94%    3,455,484    32.26% 457,857      4.27%

* Single-race, non-Hispanic.

       42. Non-Hispanic Whites are a razor-thin majority of the 2020 population

(50.06%). Black Georgians account for one-third (33.03%) of the population and

comprise the largest minority population, followed by Latinos (10.49%).

B. Voting Age and Citizen Voting Age Populations in Georgia

       43. As shown in Figure 3, African Americans in Georgia constitute a

slightly smaller percentage of the voting age population (VAP) than the total

population. According to the 2020 Census, Georgia has a total VAP of 8,220,274 –

of whom 2,607,986 (31.73%) are AP Black. The NH White VAP is 4,342,333

(52.82%).


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Figure 3
       Georgia – 2020 Voting Age Population & 2021 Estimated Citizen Voting
                   Age Population by Race and Ethnicity16

                                                               2020    2021
                                                               VAP    CVAP
                                                   2020 VAP Percent Percent
                    Total                           8,220,274 100.00% 100.00%
                    NH White 18+                    4,342,333 52.82%     55.7%
                    Total Minority 18+              3,877,941 47.18%     44.3%
                    Latino 18+                        742,918   9.04%     5.9%
                    Single-race Black (Including
                    Black Hispanics)18+            2,488,419    30.27%   31.4%
                    Any Part Black (Including
                    Black Hispanics) 18+            2,607,986   31.73%   33.3%


       44. The rightmost column in Figure 3 reveals that both the Black and NH

White population comprise a higher percentage of CVAP than the corresponding

VAP, owing to higher non-citizenship rates among other minority populations.

       45. According to estimates from the 2021 1-year American Community

Survey (“ACS”), African Americans represent 33.3% of the statewide CVAP—

about 1.5 percentage points higher than the 2020 AP Black VAP. The NH White

CVAP is 55.7%, nearly 3 points higher than NH White VAP in the 2020 Census.




16
 Sources:
PL94-171 Redistricting File (Census 2020);

Table S2901 -- CITIZEN, VOTING-AGE POPULATION BY SELECTED CHARACTERISTICS
(1-year 2021 ACS)
https://data.census.gov/cedsci/table?q=S2901&g=0400000US13&tid=ACSST1Y2021.S2901

2021 ACS 1-Year Estimates Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2021&vv=AGEP%2800,18%3A99%29
&cv=RACBLK%281%29&rv=ucgid,CIT%281,2,3,4,%29&wt=PWGTP&g=0400000US13
                                                   20
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       46. The Black CVAP in Georgia is poised to go up this decade. According

to the 2021 1-year ACS, Black citizens of all ages represent 34.45% of all

citizens.17

C. 2020 Census Spatial Distribution of Georgia’s Black Population

       47. The map in Figure 4 below depicts the 2020 Black population

percentage for Georgia’s 159 counties. 67 are in the 20% to 40% range, 33 are 40%

to 60%, and 8 are between 60% and 73%. The bold black boundary identifies the

Atlanta MSA.

       48. Color lines on the Figure 4 map demarcate the areas I focused on in

considering prospects for additional majority-Black House districts: Region A (blue

outline), which is south Metro Atlanta; Region B (red outline), a group of Black

Belt counties around Augusta (Richmond County); Region C (green outline), a

group of Black Belt counties around Albany (Dougherty County) comprising 2021

Senate District 12; and Region D (purple outline), the seven counties in Middle

Georgia (Macon-Warner Robins MSAs). A high-resolution version of the Figure 4

map is in Exhibit E.




   17 Source:
2021 ACS 1-Year Estimates Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2021&vv=AGEP&cv=RACBLK%281
%29&rv=ucgid,CIT%281,2,3,4%29&wt=PWGTP&g=0400000US13
                                        21
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Figure 4
             2020 Census -- Black Population by County




      49. Exhibit G-1 is a table showing 2010 and 2020 county populations by

race and ethnicity, with the population change between 2010 and 2020. Exhibit G-

2 is a table 2000 and 2010 county populations by race and ethnicity, with

population change between 2000 and 2010. Exhibit G-3 is a table showing 1990

and 2000 county populations by race and ethnicity, with population change between

1990 and 2000. Exhibit G-4 is a table showing the percentage BVAP by county

between 1990 and 2020.



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   D. Black Population as a Component of Total Population from 1990 to 2020

                                    (1) Georgia – Statewide

           50. As shown in Figure 5, Georgia’s Black population has increased

   significantly in absolute and percentage terms since 1990, from about 27% in 1990

   to 33% in 2020. Over the same time period, the percentage of the population

   identifying as NH White has dropped from 70% to 50%.

   Figure 5
                         Georgia – 1990 Census to 2020 Census
                           Population by Race and Ethnicity

                       1990                   2000                  2010               2020
                      Number       Percent   Number      Percent   Number   Percent   Number   Percent
Total Population       6,478,216   100.00%   8,186,453   100.00%   9,687,653 100.0% 10,711,908 100.00%
NH White               4,543,425    70.13%   5,128,661    62.65%   5,413,920 55.88% 5,362,156 50.06%
Total Minority Pop.    1,934,791    29.87%   3,057,792    37.35%   4,273,733 44.12% 5,349,752 49.94%
Latino                   108,922     1.68%     435,227     5.32%     853,689 8.81% 1,123,457 10.49%
Black*                 1,746,565    26.96%   2,393,425    29.24%   3,054,098 31.53% 3,538,146 33.03%

   * SR Black in 1990 -- AP Black 2000-2020

                           (2) Metro Atlanta – 29-County MSA

           51. Figure 6 summarizes the obvious. The key driver of population growth

   in Georgia this century has been Metro Atlanta, led in no small measure by a large

   increase in the Black population in the area. (See Exhibit C depicting the 29-county

   MSA area with bold green lines).




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   Figure 6
                      29-County MSA – Metro Atlanta – 1990 to 2020
                          Population by Race and Ethnicity

                           1990                  2000                  2010               2020
                          Number      Percent   Number      Percent   Number   Percent   Number   Percent
Total Population          3,082,308   100.00%   4,263,438   100.00%   5,286,728 100.00   6,089,815 100.00%
NH White                  2,190,859    71.08%   2,576,109    60.42%                  %
                                                                      2,684,571 50.78%   2,661,835 43.71%
Total Minority Pop.         891,449    28.92%   1,687,329    39.58%   2,602,157 49.22%   3,427,980 56.29%
Latino                       58,917     1.91%     270,655     6.35%     547,894 10.36%     730,470 11.99%
Black*                      779,134    25.28%   1,248,809    29.29%   1,776,888 33.61%   2,186,815 35.91%
   * SR Black in 1990, AP Black 2000-2020

           52. Under the 1990 Census, today’s 29 county-MSA was 25.28% Black,

   increasing to 35.91% in 2020. Since 2000, the Black population in Metro Atlanta

   has climbed by 75%, from 1,248,809 to 2,186,815 in 2020.

           53. According to the 2020 Census, 56.29% of Metro Atlanta residents are

   non-White—a major shift compared to the previous decade. In 2010, NH Whites

   represented 50.78% of the population.

           54. According to the 2020 Census, the 11 core counties comprising the

   Atlanta Regional Commission (“ARC”) area18 account for more than half (54.7%)

   of the statewide Black population. After expanding the Metro Atlanta area to

   include the 29 counties in the Atlanta MSA (including the 11 ARC counties), Metro

   Atlanta encompasses 61.81% of the state’s Black population.




   18 Atlanta Regional Commission, “About the Atlanta Region,” https://atlantaregional.org/atlanta
   region/about-the-atlanta-region.
                                                    24
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                      (3) Region A – 5-County South Metro Atlanta

           55. The table in Figure 7 presents similar 1990 to 2020 population details

   for the five south Metro Atlanta counties (Region A), where I have determined that

   two additional majority-Black Senate districts and at least two additional majority-

   Black House districts can be drawn.


   Figure 7
               Region A – 5-County South Metro Atlanta – 1990 to 2020
                       Population by Race and Ethnicity

                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number   Percent
Total Population        271,512   100.00%    401,133   100.00%    559,735 100.00%    633,265 100.00%
NH White                227,297    83.72%    305,779    76.23%    305,092 54.51%     262,792 41.50%
Total Minority Pop.      44,215    16.28%     95,354    23.77%    254,643 45.49%     370,473 58.50%
Latino                    2,757     1.02%     11,560     2.88%     33,722 6.02%       48,287   7.63%
Black*                   38,945    14.34%     74,249    18.51%    205,426 36.70%     294,914 46.57%
   * SR Black in 1990, AP Black 2000-2020

           56. As is readily apparent from the Figure 7 timeline, south Metro Atlanta

   (comprising Fayette, Henry, Spalding, Newton, and Rockdale Counties) has

   undergone a dramatic demographic transformation over the past 30 years. In 1990,

   just 14.34% of the population in the 5-county south Metro Atlanta area was Black.

   By 2010, the Black population had more than doubled to reach 36.70% of the

   overall population, then climbing to 46.57% in 2020.




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           57. Between 2000 and 2020, the Black population in the 5-county south

   Metro Atlanta region quadrupled, from 74,249 to 294,914. The NH White

   population in the region actually decreased during the same period.

                            (4) Region B – Eastern Black Belt

           58. In contrast to south Metro Atlanta, the Black Belt counties in and around

   the Augusta area have experienced a slight overall population decline since 1990,

   from 331,615 to 325,164 in 2020. However, the Black population in the region has

   grown. Figure 8 reveals that a 19% increase in the Black population since 1990 has

   been offset by a 28.7% decline in the NH White population.

   Figure 8
           Region B – Eastern Black Belt Area - 1990 to 2020
                   Population by Race and Ethnicity
                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number   Percent
Total Population        331,615   100.00%    321,998   100.00%    322,852 100.00      325,164 100.00%
NH White                174,163    52.52%    146,870    45.61%                 %
                                                                  133,467 41.34%      124,115 38.17%
Total Minority Pop.     157,452    47.48%    175,128    54.39%    189,385 58.66%      201,049 61.83%
Latino                    4,412     1.33%      7,173     2.23%     11,179 3.46%        14,751   4.54%
Black*                  149,307    45.02%    163,130    50.66%    173,238 53.66%      177,610 54.62%
   * SR Black in 1990, AP Black 2000-2020

           59. In 1990, the Black population in Region B represented 45.02% of the

   total population, climbing to 54.62% in 2020.

           60. The total 2020 population in the 11-county area that I identified as

   Region B is sufficient to form about 1.7 Senate districts or 5.5 House districts,

   which is below what would be necessary to create a second majority-Black Senate


                                                26
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   district or a sixth majority-Black House district. However, as shown in the

   Illustrative Senate and House Plans discussed in this report, this population deficit

   can be overcome, and additional majority-Black Senate and House districts can be

   drawn, by including contiguous, demographically similar Black Belt counties such

   as Baldwin, Twiggs, and Wilkinson in the additional districts.

                           (5) Region C – Western Black Belt

          61. As shown in Figure 9, the western Black Belt has experienced a

   population decline since 2010, after holding relatively stable between 1990 and

   2010. All of the population loss can be attributed to a steady decline in the NH

   White population over the past several decades

   Figure 9
              Region C – Western Black Belt Area - 1990 to 2020
                     Population by Race and Ethnicity

                        1990                 2000                 2010               2020
                       Number     Percent   Number     Percent   Number   Percent   Number     Percent
Total Population        205,742   100.00%    214,686   100.00%    209,747 100.00     190,819   100.00%
NH White                100,751    48.97%     90,946    42.36%                 %
                                                                   76,748 36.59%      64,553    33.83%
Total Minority Pop.     104,991    51.03%    123,740    57.64%    132,999 63.41%     126,266    66.17%
Latino                    1,485     0.72%      3,588     1.67%      7,377 3.52%        7,429     3.89%
Black*                  102,728    49.93%    118,786    55.33%    123,663 58.96%     115,621    60.59%
   * SR Black in 1990, AP Black 2000-2020

          62. In 1990, NH Whites constituted about half of the overall population. By

   2020, NH Whites comprised only about one-third. Over the same time period, the

   Black population grew in absolute terms from 102,728 to 115,621, representing just

   under half the population in 1990, but 60.6% of the population by 2020.

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       63. There is insufficient population to create an additional majority-Black

Senate district in Region C and the counties immediately adjacent to Region C in

the western Black Belt. However, as shown in the Illustrative House Plan discussed

in this report, an additional House district can be drawn in the area.

  (6) Region D – Metropolitan Macon (Macon-Bibb Warner Robins MSAs)

       64. As shown in Figure 10, metropolitan Macon has experienced steady

population growth over the past 30 years. Almost all of the growth is attributed to a

near-doubling in the non-White population from 113,653 in 1990 to 216,918 in

2020 (+90.86%).

Figure 10
               Region D – Metropolitan Macon - 1990 to 2020
                 Population by Race and Ethnicity


                        1990               2000               2010               2020
                       Number   Percent   Number   Percent   Number   Percent   Number   Percent
Total Population        317,013 100.00%    356,801 100.00% 399,888 100.00%      425,416 100.00%
NH White                203,360 64.15%     211,927 59.40% 216,968 54.26% %      208,498 49.01%
Total Minority Pop.     113,653 35.85%     144,874 40.60% 182,920 45.74%        216,918 50.99%
Latino                    3,123   0.99%      7,247   2.03% 16,069    4.02%       22,820   5.36%
Black*                  109,958 34.69%     131,627 36.89% 157,470 39.38%        177,269 41.67%
* SR Black in 1990, AP Black 2000-2020

       65. The Black population comprised about one-third of the population in the

Macon area in 1990 (34.69%), climbing to 41.67% in 2020. Non-Hispanic Whites

represented 64.15% of the regional population in 1990, slipping to 49.01% in 2020.




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          66. The seven counties in the combined Macon-Bibb Warner Robins MSAs

are Macon-Bibb, Crawford, Houston, Jones, Monroe, Peach, and Twiggs.

According to the GBPI analysis (Exhibit D), three of the seven counties in

metropolitan Macon are part of the contemporary Black Belt—Macon-Bibb, Peach,

and Twiggs.

          67. Based on the 2020 Census, about seven House districts (7.15) can be

drawn in metropolitan Macon. With a Black population of 177,269 according to

the 2020 Census, there is clearly sufficient Black population in the 7-county Macon

area to encompass three majority-Black House districts rather than just two as under

the 2021 Enacted House Plan.

E. County and Municipal Socioeconomic Characteristics

          68. For background on socioeconomic characteristics by race and ethnicity

at the county, municipal, and community levels in Georgia, I have prepared charts

based on the 5-year 2015-2019 ACS. That data is available online19 and has also

been included in a compact-disk as Exhibit CD.

          69. In addition, Exhibit CD contains charts and statistical summaries of

socioeconomic characteristics from the 1-Year 2021 ACS for Georgia, the two most



19
     The county level data is available at: http://www.fairdata2000.com/ACS_2015_19/Georgia/

The community-level data is available at:
http://www.fairdata2000.com/ACS_2015_19/Georgia/00_Places_2500+/
                                               29
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populous MSAs in the state—Atlanta and Augusta-Richmond County20, and the

four most populous counties of the Atlanta MSA—Cobb, Dekalb, Fulton, and

Gwinnett. Statistics for other less populous counties are not available in the S0201

series.21


III.   SENATE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black Senate Districts – 1990s Plan to 2021 Plan

       70. As shown in Figure 11, despite the significant growth in Georgia’s

Black population since 2000—climbing by 1.2 million persons—the number of

majority-Black Senate districts has only inched up to 14 from 13 in the 2006 Plan,

and has remained static for the last decade.




Figure 11
            Number of Majority-Black Senate Districts by Plan – 2000 to 2021




20 The August-Richmond MSA encompasses the Counties of Augusta-Richmond, Burke,
Columbia, Lincoln, McDuffie, Wilkes, Jefferson, Warren, Jenkins and Screven.
21
   Available via: http://www.fairdata2000.com/ACS_2021/Georgia. Source:
U.S. Census Bureau, “S0201 Selected Population Profile in the United States,”
https://data.census.gov/cedsci/table?text=s0201&t=001%3A005%3A451&g=0400000US13,13%
240500000_0500000US13067,13089,13121,13135_310XX00US12060,12260&y=2021

                                             30
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                                                   Statewide     Metro Atlanta
                                                   Majority-      Majority-
                                                     Black          Black
                         Senate Plans22             Districts      Districts
                   1990s Plan – 2000 Census            12                7
                   2006 Plan – 2010 Census             13               10
                   2014 Plan – 2020 Census             14               10
                   2021 Plan – 2020 Census             14               10


       71. As Figure 12 reveals, despite the major changes in the composition of

the State’s population, the percentage of Black Georgians of voting age in majority-

Black Senate districts has hovered around 50% since the mid-2000s, while the

percentage of the NH White VAP in majority-White districts has stayed above 80%

over the same timeframe—indicating that Black populations are disproportionately

“cracked” or divided into majority-White districts rather than placed in majority-

Black districts.23



Figure 12
      Same Race VAP in Majority-Black and Majority NH White Districts
                               2000 to 2021


22 As discussed supra n.7, I am including Senate District 41 (Dekalb County) as majority-Black
under the 2014 Benchmark Senate Plan, even though it had fallen to 49.76% BVAP by the 2020
Census. Notably, when the 2014 Benchmark Senate Plan was drawn, it had 15 total BVAP-
majority districts under the 2010 Census, including both Senate District 41 and Senate District 2
in Savannah. In that sense, the 2021 Senate Plan actually represents a diminution of one
majority-Black district from the last districting effort.
23 “Packing” describes election districts where a minority population is unnecessarily
concentrated, resulting in an overall dilution of minority voting strength in the voting plan.
“Cracking” describes election plans with one or more districts that fragment or divide the
minority population, also resulting in an overall dilution of minority voting strength in the voting
plan.
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                                               Statewide %    Statewide
                                               Black VAP in  %NH White
                                                 Majority-     VAP in
                                                   Black      Majority-
                        Senate Plans             Districts* White Districts
                 1990s Plan – 2000 Census           43.51%                 90.51%
                 2006 Plan – 2010 Census            53.84%                 83.88%
                 2014 Plan – 2020 Census            52.29%                 80.64%
                 2021 Plan – 2020 Census            52.45%                 80.54%
* including Senate District 2 for all years and Senate District 41 for 2014 and 2021

B. 2014 Benchmark Senate Plan

       72. The map in Figure 13 displays 2014 Benchmark Senate Plan districts in

south Metro Atlanta (Region A), the eastern Black Belt (Region B) and

metropolitan Macon (Region D.) Labels on the map display the district number.

Green labels identify majority-Black districts. Exhibit H is a higher resolution

version of the Figure 13 map.




Figure 13



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             2014 Benchmark Senate Plan – Regions A, B, and D




      73. Exhibit I-1 contains a map packet depicting the 2014 Benchmark

Senate Plan, with corresponding Census 2010 statistics, prepared by the Georgia

Legislative & Congressional Reapportionment Office (“GLCRO”). Exhibit I-2

shows the map for the prior 2011-enacted Senate plan, and Exhibit I-3 shows the

map for the Senate plan enacted in 2006.

      74. Exhibit J-1 is a table reporting Census 2020 population statistics for the

56 districts in the 2014 Benchmark Senate Plan, as well as CVAP estimates from




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the 5-year 2015-2019 Special Tabulation.24 Exhibits J-2 and J-3 provide similar

population data for the prior 2011-enacted and 2006-enacted plans.

       75. As a result of the dramatic population shifts in Georgia since 2010, the

2014 Benchmark Senate Plan was severely malapportioned upon release of the

2020 Census, with an overall deviation of 47.75%.

       76. Including Senate District 41 in Metro Atlanta (see supra nn.7 & 22), the

2014 Benchmark Senate Plan contained 14 majority-Black districts. Fifteen districts

in the 2014 Benchmark Plan were BCVAP-majority (the 14 BVAP majority ones

plus Senate District 2 in Chatham County). Seventeen were majority NH Black +

Latino + NH Asian (“B+L+A”) CVAP (i.e., majority minority by CVAP).

       77. Additional 2014 Benchmark Senate Plan information regarding

compactness scores and jurisdictional splits is reported infra for comparison with

the 2021 Senate Plan and Illustrative Senate Plan metrics.

C. 2021 Senate Plan

       78. The map in Figure 14 displays 2021 Senate Plan districts in south Metro

Atlanta (Region A) and in the eastern Black Belt (Region B). Green labels identify

majority-Black districts. Exhibit K is a higher resolution version of the Figure 14

map.



24 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,”
https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.
                                             34
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Figure 14
                     2021 Senate Plan – Regions A, B, and D




      79. Exhibit L contains a map packet depicting the 2021 Senate Plan, with

corresponding Census 2020 statistics, prepared by GLCRO.

      80. Exhibit M-1 is a table reporting Census 2020 population statistics for

the 56 districts in the 2021 Plan, as well as CVAP estimates from the 5-year 2016-

2020 Special Tabulation.

      81. Exhibit M-2 breaks out the county population components for the 56

districts in the 2021 Senate Plan.



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      82. Exhibit M-3 is a set of 12 sub-state maps of the 2021 Plan organized by

regional commission areas.

      83. The 2021 Senate Plan contains 14 majority-Black districts (BVAP).

Fifteen are BCVAP majority (the 14 BVAP-majority districts plus Senate District 2

in Chatham County). Eighteen districts in the 2021 Senate Plan are majority

B+L+ACVAP.

      84. Supplemental 2021 Senate Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative Senate Plan.


IV.   ILLUSTRATIVE SENATE PLAN

A. State-level Perspective

      85. The map in Figure 15 displays Illustrative Senate Plan districts, with the

map zoomed to identify the three additional majority-Black districts (large green

labels) in south Metro Atlanta (Region A) and in the eastern Black Belt (Region B).

Exhibit N is a higher resolution version of the Figure 15 map.




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Figure 15
             Additional Majority-Black Senate Districts – 17, 23, and 28




      86. The additional majority-Black Senate districts are:

Region A –South Metro Atlanta
District 17: in the Counties of Clayton (part), Fayette (part), and Spalding (part)
District 28: in the Counties of Clayton (part) and Henry (part)

Region B – Eastern Black Belt/Central Savannah River Area
District 23: in the Counties of Augusta-Richmond (part), Jenkins, Burke,
Jefferson, Washington, Taliaferro, Hancock, Wilkes (part), Baldwin, Wilkinson,
and Twiggs.

      87. The Illustrative Senate Plan contains 18 majority-Black (BVAP)

districts. As with the 2014 Benchmark Senate and 2021 Senate Plans, District 2

                                         37
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(45.44% BVAP) in Chatham County is majority-BCVAP. Nineteen districts in the

Illustrative Senate Plan are majority-NH DOJ BCVAP.25 Twenty-two districts in

the Illustrative Senate Plan are majority B+L+ACVAP.

       88. Exhibit O-1 is a table reporting Census 2020 population statistics for

the 56 districts in the Illustrative Senate Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

       89. Exhibit O-2 breaks out the county population components for the 56

districts in the Illustrative Senate Plan.

       90. Exhibit O-3 is a set of 12 sub-state maps of the Illustrative Plan

organized by regional commission areas.

       91. Exhibit O-4 is a statewide map showing the 18 majority Black Senate

districts (green) under the Illustrative Plan, with the three additional majority-Black

districts shaded light green.

       92. Exhibit O-5 zooms on each of the three additional majority-Black

districts in the Illustrative Senate Plan.

       93. Exhibit O-6 is a core constituencies report, showing population shifts

by district from the 2021 Senate Plan to the Illustrative Senate Plan.




25 See supra n.3. NH DOJ BCVAP is the sum of voting age citizens who are single-race NH
Black or of 2 races (NH Black and NH White).
                                               38
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      94. The text descriptions of the additional majority-Black Senate districts in

the Illustrative Senate Plan set forth below are illustrated with side-by-side

comparison maps, depicting the Illustrative Senate Plan and 2021 Senate Plan at the

same scale. Higher resolution versions of these side-by-side pairings are also

included in exhibits in the Exhibit P, Exhibit Q, and Exhibit R series, as marked

below. The county-level population change data discussed below is reflected in

Exhibits G-1, G-2, and G-4.

      95. The side-by-side maps are occasionally interspersed with maps

depicting Illustrative Senate Plan boundaries in counties that are split in the process

of creating the additional majority Black districts—e.g., Spalding and Wilkes

Counties, which are not split in the 2021 Plan. The county-level maps reveal that

the splits are reasonable, and especially so within the context of Georgia’s

oftentimes irregularly shaped municipal and VTD boundaries. Notably, the

Illustrative Senate Plan overall splits fewer counties than the 2021 Senate Plan, as

reported infra.

B. District-by-District Analysis

                       (1) South Metro Atlanta (Region A)

                     (a) 2021 Senate District 16 (Exhibit P-1)

      96. As shown in Figure 16, District 16 in the 2021 Senate Plan lies in the

south and southwestern part of the Atlanta Metro area. It includes part of Fayette


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County, extending south to encompass Spalding, Lamar and Pike Counties

(partially displayed on the map).

Figure 16
                       2021 Senate District 16 and vicinity




      97. Both Fayette and Spalding Counties have seen significant, double-digit

growth in their Black populations over the last decade. The Black VAP in Fayette

County increased by 54.5% between 2010 and 2020 (from 15,355 to 23,728) even

as the NH White VAP fell slightly. Spalding County saw its Black VAP grow by

18.5% over the decade, with virtually no change in the White VAP.



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      98. Neighboring Clayton County, which borders Fayette and Spalding

Counties, is majority-Black, and also has increasing Black population (30%

increase since 2010). Senate District 16 is nevertheless drawn with a BVAP of 23%

by packing majority-Black neighborhoods in northeast Fayette County into Senate

District 34 (a neighboring, 69.54% BVAP district anchored in Clayton County), and

then joining the remaining areas of Fayette County with Spalding County and Pike

and Lamar Counties on the outer ring of Metro Atlanta.

                 (b) Illustrative Senate District 28 (Exhibit P-2)

      99. As Figure 17A reveals, a majority-Black District 28 (51.32% BVAP)

can be drawn in the vicinity of 2021 Senate District 16 by joining adjacent portions

of Fayette, Spalding, and Clayton Counties, and unpacking some of the Black

population in neighboring Senate District 34 (parts of Clayton and Fayette

Counties) as well as Senate District 44 (which also stretches into the adjacent

portion of Clayton County). In the 2021 Senate Plan, the BVAP in these two packed

neighboring districts stands at about 70%.




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Figure 17A
                    Illustrative Senate District 28 and vicinity




      100. Figure 17B zooms in on the City of Griffin (pop. 23,470) in Spalding

County, displaying municipal and VTD boundaries. The majority-Black City of

Griffin is placed in Illustrative District 28, with Griffin’s municipal lines serving as

a border between District 28 and District 16.




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Figure 17B
       Griffin/Spalding County Detail – Illustrative Districts 28 and 16




      101. To recap, unpacking 2021 Plan District 34 and District 44 allows a

majority-Black Illustrative Senate District 28 to be drawn in Fayette, Spalding, and

a neighboring part of majority-Black Clayton County, while “uncracking” the

surrounding Black population that is drawn into 2021 Senate District 16.

                    (c) 2021 Senate District 17 (Exhibit Q-1)

      102. As shown in Figure 17C, Senate District 17, as drawn in the 2021

Senate Plan, includes parts of Henry, Newton, and Walton Counties, and all of

Morgan County. Of the counties in 2021 Senate District 17: Henry County’s

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BVAP increased by almost 75% in the last decade (to reach almost 50% of the

county VAP) and Newton County’s BVAP increased by more than 45% to reach

almost 50% of the total VAP of the county.

Figure 17C
                       2021 Senate District 17 and vicinity




      103. Neighboring Dekalb and Rockdale Counties, which border Henry and

Newton Counties, also have substantial Black populations. For example, Rockdale

County is majority Black (58.6% BVAP) and the county’s BVAP increased by 53%

over the last decade. Senate District 17 is nevertheless drawn in the 2021 Plan with

a BVAP under 34%, cracking the Black population in central and eastern Henry
                                         44
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County as well as in parts of Newton County by extending the district out into

predominantly white and more rural Walton and Morgan counties outside the South

Metro area, splitting multiple counties in the process. Meanwhile, the 2021 Senate

Plan packs the Black population in Senate Districts 10 and 43 (which include parts

of Henry, Rockdale, and Newton Counties), drawing those districts with BVAPs of

over 70% and almost 65%, respectively.

                   (d) Illustrative Senate District 17 (Exhibit Q-2)

       104. As shown in Figure 17D, a majority-Black Senate District 17 can be

drawn in the vicinity of 2021 Senate District 17 by unpacking the Black population

in a number of neighboring districts, including 2021 Senate Districts 10 and 43.26




26 The Illustrative Senate Plan places the booming Black population of Newton County in
majority-Black District 43.
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Figure 17D
                    Illustrative Senate District 17 and vicinity




      105. By unpacking 2021 Senate Districts 10 and 43 and uncracking the Black

population in central and eastern Henry County (which the 2021 Senate Plan places

in majority-White Senate District 17), a majority-Black Illustrative Senate District

17 can be drawn in Henry, Rockdale, and Dekalb Counties. As Figure 17C and

Figure 17D make clear, Illustrative Senate District 17 is much more compact than

the sprawling 2021 District 17.

      106. Figures 17E and 17F (Exhibits P-3 and P-4) show the broader South

Metro Region under both the 2021 Senate Plan and the Illustrative Senate Plan. As

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shown in those figures, the 2021 Senate Plan repeatedly cracks the growing and

diversifying South Metro Region by submerging it in districts that stretch out into

more rural outlying counties in the outer ring of the Atlanta MSA and beyond. By

contrast, the Illustrative Plan includes districts that are firmly anchored in the South

Metro and are combined with similarly growing and diverse counties closer to the

urban core.

Figure 17E
                 South Metro Region under the 2021 Senate Plan




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Figure 17F
             South Metro Region under the Illustrative Senate Plan




                       (2) Eastern Black Belt (Region B)

                        (a) 2021 District 23 (Exhibit R-1)

      107. Senate District 23 under the 2021 Plan is drawn with a BVAP under

36%. As shown in Figure 18, 2021 Senate District 23 lies around Augusta,

including outlying parts of Augusta-Richmond County and a number of

surrounding Black Belt counties in the larger Central Savannah River region,

including Burke, Jefferson, Warren, and Taliaferro Counties.



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Figure 18
                      2021 Senate District 23 and Vicinity




                    (b) Illustrative District 23 (Exhibit R-2)

      108. As shown in Figure 19A, an additional majority-Black Senate district

can be drawn in the eastern Black Belt region by unpacking the Black population in

both 2021 Senate District 22 (central Augusta-Richmond County) and 2021 Senate

District 26 (which includes Black Belt counties to the west, such as Hancock

County), and by uncracking the Black populations in 2021 Senate District 23 and in

2021 Senate District 25 (which include additional contiguous Black Belt counties

such as Baldwin County).

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Figure 19A
                   Illustrative Senate District 23 and Vicinity




      109. Apart from Augusta-Richmond County, Wilkes County is the only other

split county in Illustrative District 23. As shown in Figure 19B, Illustrative Senate

District 23 divides Wilkes County along current administrative boundaries,

following county commission lines (green) north into the City of Washington where

it follows the western city limits of Washington before returning to east-west

commission boundaries in the center of the city.




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Figure 19B
                        Washington/Wilkes County Detail




      110. To recap, an east-west configuration of counties across the eastern Black

Belt allows a majority-Black Illustrative Senate District 23 to be drawn in an area

that includes part of Augusta-Richmond County and most of the Black Belt area

counties between Augusta and Macon.

C. Supplemental Plan Information

                              (1) Population Equality

      111. As demonstrated by the district-by-district population statistics in

Exhibits O-1 and M-1, the Illustrative Senate Plan matches the 2021 Senate Plan


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by staying within a stringent 1% population deviation limit for each district (i.e., no

district is more than 1% away from ideal population size).

                                       (2) Compactness

       112. Compactness scores for the Illustrative Senate Plan are within the norm

for a typical legislative Plan. Exhibit S-1 contains district-by-district compactness

scores generated by Maptitude for all districts in the Illustrative Senate Plan,

alongside scores for the 2014 Benchmark Senate Plan (Exhibit S-2) and the 2021

Senate Plan (Exhibit S-3).

       113. The table in Figure 20 (condensed from the Exhibit S series) reports

mean and minimum Reock27 and Polsby-Popper28 scores for the Illustrative Senate

Plan, the 2014 Benchmark Senate Plan, and the 2021 Senate Plan.

       114. On balance, the Illustrative Senate Plan and 2021 Senate Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If




27 “The Reock test is an area-based measure that compares each district to a circle, which is
considered to be the most compact shape possible. For each district, the Reock test computes the
ratio of the area of the district to the area of the minimum enclosing circle for the district. The
measure is always between 0 and 1, with 1 being the most compact. The Reock test computes
one number for each district and the minimum, maximum, mean and standard deviation for the
plan.” Caliper Corporation, Maptitude For Redistricting Software Documentation.
28 The Polsby-Popper test computes the ratio of the district area to the area of a circle with the
same perimeter: 4pArea/(Perimeter2). The measure is always between 0 and 1, with 1 being the
most compact. The Polsby-Popper test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan. See Caliper Corporation, Maptitude For
Redistricting Software Documentation.
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 anything, the Illustrative Plan scores better inasmuch as its least compact district by

 Reock scores .22, compared to .17 for the 2021 Senate Plan.

 Figure 20
                                Compactness Scores
       Illustrative Senate Plan and 2014 Benchmark and 2021 Senate Plans
                                                    Reock               Polsby-Popper
                                              Mean      Low             Mean       Low
             Illustrative Senate Plan             .43       .22              .28    .14
             2014 Benchmark Senate Plan           .43       .14              .27    .11
             2021 Senate Plan                     .42       .17              .29    .13

                                   (3) Jurisdictional Splits

        115. The Exhibit T series contains Maptitude generated reports for splits of

 key geographic areas in Georgia—from VTDs to regional commissions—under the

 Illustrative Senate Plan, the 2014 Benchmark Plan, and the 2021 Senate Plan.

        116. The table in Figure 21 summarizes split counts for counties, 2020

 VTDs, and municipalities. The Illustrative Senate Plan scores better than the 2021

 Plan across all six categories.

 Figure 21
                   County and VTD Splits/Whole Municipalities –
          Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans
                                                          Single-
                                                          County     Single and            Total
                                    Total      2020       Whole     Multi County           City/
                        Split      County      VTD      City/Towns  Whole City/           Town
                      Counties     Splits*    Splits*     (478)#    Towns (531#)          Splits*
Illustrative Senate          28          57        38           437           464              166
2014 Benchmark               38          65        86           422           448              198
2021 Senate                  29          60        40           434           463              169
 *Populated splits only
 # Higher is better

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       117. Exhibit T-1 contains a county and VTD split report for the Illustrative

Senate Plan. Exhibit T-2 reports on the 2014 Benchmark Senate Plan and Exhibit

T-3 reports on the 2021 Senate Plan.

       118. Exhibit T-4 contains a split report for all 531 municipalities (including

the 53 cities and towns that spill over into another county) for the Illustrative Senate

Plan. Exhibit T-5 reports on the 2014 Benchmark Senate Plan and Exhibit T-6

reports on the 2021 Senate Plan.

                                      (4) Regional Splits

       119. The table in Figure 22 shows regional splits, defined by the 12 state-

designated regional commissions and the 39 federally-designated core-based

statistical areas (“CBSAs”), which include MSAs and micropolitan statistical

areas.29




29 As the Census Bureau has explained “Micropolitan statistical areas consist of the county or
counties (or equivalent entities) associated with at least one urban cluster of at least 10,000 but
less than 50,000 population, plus adjacent counties having a high degree of social and economic
integration with the core as measured through commuting ties.” See also supra n.9.


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Figure 22
                     Split Regional Commissions and CBSAs
        Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans
                                           Regional
                                          Commission    Whole       CBSA
                                            Splits      CBSAs       Splits
            Illustrative Senate                    83      23                72
            2014 Benchmark Senate                  84      21                78
            2021 Senate                            89      20                79

      120. Again, the Illustrative Senate Plan scores higher than the 2021 Senate

Plan across the three categories.

                                    (5) Incumbents

      121. The Illustrative Senate Plan modifies 35 of the 56 districts as drawn in

the 2021 Senate Plan.

      122. Based on January 2022 incumbent address information given to

Plaintiffs’ attorneys by the Defendants in the form of a geocoded shapefile,

Illustrative Senate District 4 has an incumbent conflict. Also, as in the 2021 Plan,

Senate Districts 13 and 52 have paired incumbents. Based on the preliminary

analysis of incumbent address information following the November 2022 general

election pursuant to the 2021 House Plan, three districts in the Illustrative Senate

Plan may have incumbent conflicts: 4, 5, and 35.




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D. Comparative Socioeconomic Analysis

       123. This section of my report briefly highlights charts and tables that I

prepared from the 2015-2019 American Community Survey found on Exhibit CD

or via: http://www.fairdata2000.com/ACS_2015_19/Georgia/.

       124. The datasets available in these ACS-based documents facilitate

comparisons by race/ethnicity and other socioeconomic measurements across

counties that are included in relevant districts in the Illustrative Senate Plan and the

2021 Senate Plan, which can help identify commonalities and communities of

interest in the relevant areas.

       125. For example, the counties within Illustrative Senate District 28 share

socioeconomic characteristics that make them similar to one another. A relatively

high proportion of Black residents are in the labor force in Fayette, Spalding, and

Clayton Counties (64.3%, 58.2%, and 69.5% respectively). (See Exhibit CD

Reports for Fayette, Spalding, and Clayton Counties at pp. 53-55.)30

       126. By comparison, the labor force participation rates for Black residents in

Pike and Lamar Counties (which are contained within 2021 Senate District 16

along with Spalding County and part of Fayette County) are lower than the




   30 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled “Single-Race African Americans and Latinos vis-à-vis Non-
Hispanic Whites – Selected Socio-Economic Data,” which are based on the 2015-2019 ACS 5-
Year Estimates. See supra ¶¶ 68-69.
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counties contained within Illustrative Senate District 28. The Black labor force

participation rates in Pike and Lamar Counties are 51.3% and 48.0% respectively.

(See Exhibit CD Reports for Pike and Lamar Counties at pp. 53-55.)

      127. The counties within Illustrative Senate District 17 share socioeconomic

characteristics that make them similar to one another. For example, the counties

that comprise Illustrative Senate District 17 are similar when educational

attainment rates among Black residents are compared across the counties. A

significant proportion of Black residents in Henry, Rockdale, and Dekalb Counties

have received a bachelor’s degree or higher (34.5%, 29.2%, and 29.2%

respectively). (See Exhibit CD Reports for Henry, Rockdale, and Dekalb Counties

at pp. 21-22.)

      128. On the other hand, the counties that comprise 2021 Senate District 17

do not share these commonalities with respect to educational attainment

characteristics. Walton and Morgan Counties are especially different. White

residents in Walton and Morgan Counties (77.5% and 74.0% White) are less likely

to have received a bachelor’s degree or higher than Black residents in majority-

non-White Henry County (14.1% in Walton County and 7.0% in Morgan County,

compared to 34.5% in Henry County). (See Exhibit CD Reports for Walton and

Morgan Counties at pp. 21-22.)




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       129. The counties within Illustrative Senate District 23 also share certain

socioeconomic characteristics that make them similar to one another. For example,

a significant proportion of Black residents across the Illustrative Senate District 23

counties had incomes that fell below the poverty line (ranging from 20.1% of the

Black population to 38.4% of the Black population) (See Exhibit CD Reports for

relevant counties at pp. 25-29.)

E. Online Interactive Maps

       130. The Illustrative Senate Plan can also be viewed online in detail on the

Dave’s Redistricting Application (DRA) website via this link:

https://davesredistricting.org/maps#viewmap::fe5932c5-df77-4a66-b242-

1112a9666e60.

       131. For comparison, the 2021 Senate Plan can be viewed via this link:

https://davesredistricting.org/join/52efcc99-481d-4b95-8e17-daddf279a59e.


V.     HOUSE – HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black House Districts – 1990s Plan to 2021 Plan

       132. As shown in Figure 23, and despite the significant growth in Georgia’s

Black population over the past two decades discussed earlier in this report, the

number of majority-Black House districts has climbed by just four districts from 45

(25% of districts) in the 2006 plan to 49 (27.2%) in the 2021 Plan, and has

remained more or less static for the last decade.

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Figure 23
      Number of Majority- Black House Districts by Plan –2000 to 2021

                                             Statewide      Metro Atlanta
                                             Majority-       Majority-
                                               Black           Black
                       House Plans            Districts       Districts
                1990s Plan -- 2000 Census         37              22
                2006 Plan -- 2010 Census          45              30
                2012 Plan – 2010 Census           48              32
                2015 Plan -- 2020 Census          47              31
                2021 Plan -- 2020 Census          49              33


      133. Since the enactment of the 2006 Plan, just three majority-Black districts

have been added in Metro Atlanta, even as the Black population in the 29-county

area has climbed by over 400,00 persons—the equivalent of nearly entire seven

House districts based on the 2020 ideal district size.

      134. Despite the nominal increase in majority-Black House districts since

2006, Figure 24 reveals that the percentage of Black Georgians of voting age in

majority-Black House districts is only slightly higher than in the 1990s (52% versus

45%). Under the 2021 Plan, the percentage of the NH White population in majority-

White districts is down from the 1990s (76% versus 90%). Still, as with the Senate,

the 25-point Black-White gap demonstrates that Black populations are

disproportionately “cracked” or divided into majority-White districts in the House.




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Figure 24
    Same Race VAP in Majority-Black and Majority NH White Districts
                             2000 to 2021
                                              Statewide %      Statewide
                                              Black VAP in    %NH White
                                                Majority-       VAP in
                                                  Black      Majority-White
                         House Plans            Districts*      Districts
                  1990s Plan – 2000 Census        44.81%          90.49%
                  2006 Plan – 2010 Census         44.61%          83.73%
                  2015 Plan – 2020 Census         47.94%           77.6%
                  2021 Plan – 2020 Census         51.65%          76.16%

* including Districts that are BVAP- and/or BCVAP-majority

B. 2015 Benchmark House Plan

       135. The map in Figure 25 displays 2015 Benchmark House Plan districts in

south Metro Atlanta (Region A) and in the eastern and western Black Belt (Regions

B and C) and metropolitan Macon (Region D). Labels on the map display the

district number. Green labels identify majority-Black districts.




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Figure 25
            2015 Benchmark House Plan – Regions A, B, C, and D




      136. The map depicted in Figure 25 is also included as Exhibit U.

      137. Exhibit V-1 contains a map packet depicting the Benchmark 2015

House Plan, with corresponding Census 2010 statistics, prepared by GLCRO.

Exhibit V-2 shows the map for the prior 2012-enacted House plan, and Exhibit V-

3 shows the map for the House plan enacted in 2006.

      138. Exhibit W-1 is a table reporting Census 2020 population statistics for

the 180 districts in the 2015 Benchmark House Plan, as well as CVAP estimates



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from the 5-year 2015-2019 Special Tabulation.31 Exhibits W-2 and W-3 provide

similar population information for the prior, 2012-enacted and 2006-enacted plans.

         139. As a result of the dramatic population shifts in Georgia since 2010, the

2015 Benchmark House Plan was severely malapportioned, with an overall

deviation of 56.66%, according to the 2020 Census.

         140. The 2015 Benchmark House Plan contains 47 majority-Black districts,

with 48 BCVAP-majority districts and 62 districts that are B+L+ACVAP majority.

         141. For comparison, additional 2015 Benchmark House Plan information

regarding compactness scores, county splits, VTD splits, and municipal splits is

reported infra.

C. 2021 House Plan

         142. The map in Figure 26 displays 2021 House Plan districts in south Metro

Atlanta (Region A), in the eastern and western Black Belt (Regions B and C) and

metropolitan Macon (Region D). Green labels identify majority-Black districts.

Exhibit X is a higher resolution version of the Figure 26 map.

         143. For comparison, additional 2021 House Plan information regarding

compactness scores, county splits, VTD splits, and municipal splits is reported

infra.



31 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,”
https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html.
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Figure 26
                     2021 House Plan – Regions A, B, C, and D




      144. Exhibit Y contains a map packet depicting the 2021 House Plan, with

corresponding Census 2020 statistics, prepared by GLCRO.

      145. Exhibit Z-1 is a table reporting Census 2020 population statistics for the

180 districts in the 2021 House Plan, as well as CVAP estimates from the 5-year

2016-2020 Special Tabulation.

      146. Exhibit Z-2 breaks out the county population components for the 180

districts in the 2021 House Plan.




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       147. Exhibit Z-3 is a set of 12 sub-state maps of the 2021 House Plan

organized by regional commission areas.

       148. A higher resolution version of Figure 26 is included as Exhibit Z-4.

       149. The 2021 House Plan contains 49 majority-Black districts, with 49

BCVAP-majority districts. Sixty-two districts in the 2021 House Plan are majority

B+L+ACVAP.

       150. Supplemental 2021 House Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative House Plan.


VI.    ILLUSTRATIVE HOUSE PLAN

A. State-level Perspective

       151. The map in Figure 27 displays Illustrative House Plan districts,

identifying five additional majority Black districts (large green labels) in south

Metro Atlanta (Region A), in the Black Belt (Regions B and C), and in metropolitan

Macon (Region D). Exhibit AA is a higher resolution version of the Figure 27

map.




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Figure 27
Illustrative House – New Majority-Black Districts –74, 117, 133, 145, and 171




      152. The Illustrative House Plan contains 54 majority-Black districts

(BVAP), with 54 majority-BCVAP districts and 53 that are both BVAP and

BCVAP-majority. Sixty-seven districts in the Illustrative House Plan are majority

B+L+ACVAP.

      153. The five additional majority-Black House districts are:

Region A –South Metro Atlanta
District 74: in the Counties of Clayton (part), Henry (part), and Spalding (part)
District 117: in the Counties of Henry (part) and Spalding (part)

Region B – Eastern Black Belt/Central Savannah River Area
District 133: (north to south) in the Counties of Wilkes (part), Taliaferro, Warren,
                                        65
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Hancock, Baldwin (part), and Wilkinson

Region C – Western Black Belt
District 171: in the Counties of Dougherty (part), Mitchell, and Thomas (part)

Region D – Metropolitan Macon
District 145: in the Counties of Macon-Bibb (part) and Monroe (part)

      154. Exhibit AA-1 is a table reporting Census 2020 population statistics for

the 180 districts in the Illustrative House Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

      155. Exhibit AA-2 breaks out the county population components for the 180

districts in the Illustrative House Plan.

      156. Exhibit AA-3 is a set of 12 sub-state maps of the Illustrative House Plan

organized by regional commission areas.

      157. Exhibit AA-4 is a statewide map showing the 54 majority Black House

districts (green) under the Illustrative Plan, with the five additional majority-Black

districts shaded light green.

      158. Exhibit AA-5 zooms on each of the five additional majority-Black

districts in the Illustrative House Plan

      159. Exhibit AA-6 is a core constituencies report, showing population shifts

by district from the 2021 House Plan to the Illustrative House Plan.

      160. The text descriptions of the five additional majority-Black districts in

the Illustrative House Plan set forth below are illustrated with paired comparison


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map exhibits, depicting the Illustrative House Plan and 2021 House Plan at the

same scale. Higher resolution versions of these side-by-side pairings are also

included in exhibits in the Exhibit AB, Exhibit AC, Exhibit AD, Exhibit AE, and

Exhibit AF series, as marked below. The county-level population change data

discussed below is reflected in Exhibits G-1, G-2, and G-4.

      161. The side-by-side maps are occasionally interspersed with maps

depicting Illustrative House Plan boundaries in a few counties that are split in the

process of creating the additional majority Black districts—e.g., Spalding and

Wilkes—but are not split in the 2021 Plan. These county-level maps reveal that the

splits are reasonable, especially within the context of Georgia’s oftentimes

irregularly shaped municipal and VTD boundaries. Notably, the Illustrative House

Plan overall splits fewer counties than the 2021 Senate Plan, as reported infra.

B. District-by-District Analysis

                        (1) South Metro Atlanta (Region A)

                    (a) 2021 House District 74 (Exhibit AB-1)

      162. As shown in Figure 28, District 74 in the 2021 House Plan lies in the

south Metro Atlanta area and combines parts of Fayette, Spalding, and Henry

Counties. The BVAP of the district as drawn is under 26%.




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Figure 28
                    2021 House Plan District 74 and vicinity




                    (b) Illustrative District 74 (Exhibit AB-2)

      163. An additional majority-Black House District can be drawn in this area

by unpacking the Black population in adjacent 2021 House District 78 (which is

anchored in neighboring Clayton County, and is 71.58% BVAP under the 2021

House Plan) and uncracking the Black population in House District 74, which

includes areas in Henry County and Spalding County that have experienced

substantial Black population growth over the past two decades, as shown in the

Exhibit G series and associated discussion supra.


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      164. As shown in Figure 29, unpacking those districts allows a majority-

Black Illustrative House District 74 to be drawn in Henry, Spalding, and the

neighboring part of Clayton County.

Figure 29
                    Illustrative Plan District 74 and vicinity




                    (c) 2021 House District 117 (Exhibit AC-1)

      165. In the same general area, another additional majority-Black House

district can be drawn around where District 117 in the 2021 House Plan is drawn.

As shown in zoomed-in Figure 29A, displaying municipal boundaries, House

District 117 in the 2021 House Plan lies in the south Metro Atlanta area and

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includes parts of Henry and Spalding Counties. The BVAP of the district as drawn

is just under 37%, and the BVAP of the neighboring district that includes the rest of

Spalding County, District 134, is about 34%.

Figure 29A
                    2021 House Plan District 117 and vicinity




                    (d) Illustrative District 117 (Exhibit AC-2)

      166. At least one additional majority-Black House District can be drawn in

the area around 2021 House District 117 by unpacking the Black population in

2021 House District 116 (which includes part of Henry County just to the north,

closer in to the center of the Metro Atlanta area) and uncracking the Black

                                         70
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populations in House Districts 117 and 134, bringing more of the growing Black

populations in Henry and Spalding Counties into majority-Black districts. As

demonstrated in Figure 29B, unpacking those districts allows for a majority-Black

Illustrative House District 117 to be drawn in Henry and Spalding Counties.

Figure 29A
                    2021 House Plan District 117 and vicinity




      167. Figures 29B and 29C (Exhibits AC-3 and AC-4) show the broader

South Metro Region, including House Districts 74 and 117, in both the 2021 House

Plan and the Illustrative Plan.


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Figure 29B
             South Metro Region under the 2021 House Plan




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Figure 29C
             South Metro Region under the Illustrative House Plan




                        (2) Eastern Black Belt (Region B)
            (a) 2021 Plan Eastern Black Belt Districts (Exhibit AD-1)

         168. As shown in Figure 30, an additional majority-Black House

 District can also be drawn in the area in and around Augusta, including a

 number of Black Belt-area counties such as Baldwin, Wilkinson, and

 Taliaferro that are not within majority-Black districts under the 2021 House

 Plan.




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Figure 30
            2021 House Plan District 133 and the eastern Black Belt




                (b) Illustrative Plan District 133 (Exhibit AD-2)

      169. As shown in Figure 31, in the 2021 House Plan, the area in and around

Augusta includes five majority-Black districts: Districts 129 and 130 (entirely

within Richmond County), as well as Districts 128, 131, and 132. An additional

majority-Black district can be drawn in the outlying area by unpacking the Black

populations of those five majority-Black districts in the 2021 House Plan.




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Figure 31
                 Illustrative House Plan District 133 and vicinity




      170. Looking at the Augusta region as a whole (Region B, outlined in red,

plus adjacent counties), a sixth majority-Black district (Illustrative District 133) can

be drawn in an area extending south-to-north from Wilkinson County to Baldwin

County and on to Wilkes County.

      171. Baldwin County is already split in the 2021 House Plan, but most of the

Black population in the county lives in Milledgeville and is submerged in majority-

White 2021 House District 133.




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      172. The map in zoomed-in Figure 31B demonstrates that Baldwin County

can be split in a reasonable fashion along VTD and municipal lines to include most

of oddly-shaped Milledgeville in Illustrative District 133. (The municipal boundary

of Milledgeville is shaded in the Figure 31B. As shown below, there are

unincorporated parts of Baldwin County contained within the Milledgeville city

limits, some which are not contiguous or barely contiguous with the rest of the

municipality.)

Figure 31B
                 Illustrative House Plan Baldwin County Detail




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       173. The map in Figure 31C shows that Wilkes County can be divided

following county commission and municipal lines in forming Illustrative House

District 133. A single VTD that is partly in the City of Washington forms the

remainder of the perimeter. All of the City of Washington is in Illustrative District

133.

Figure 31

                  Illustrative House Plan Wilkes County Detail




       174. To recap, the Illustrative Plan draws six majority-Black House districts

in the Eastern Black Belt—House Districts 124, 125, 126, 127, 128, and 133—

where there are just five in the 2021 Plan.

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                        (3) Western Black Belt (Region C)

                    (a) 2021 Plan District 171 (Exhibit AE-1)

      175. An additional majority-Black House District can also be drawn in the

area along the historic U.S. Highway 19 corridor between Albany and

Thomasville—unpacking and uncracking the Black population in and around the

two cities. As shown in Figure 32, the 2021 House Plan includes only two

majority-Black House Districts in the same general area as 2021 Senate District 12

in the southwest corner of the state (depicted with black lines as Region C).

Figure 32
               2021 Plan: District 151, 153, 171, 173 and Vicinity




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      176. The BVAP of 2021 House District 171, which contains Mitchell

County, is about 40%. In addition, the BVAP of neighboring 2021 House District

173, which includes Thomas County, is just over 36%. And nearby Dougherty

County, which contains the majority-Black City of Albany, is split among four

districts in the 2021 House Plan—including 2021 House District 153, which is

packed with Black voters (68% BVAP).


                   (b) Illustrative District 171 (Exhibit AE-2)

      177. As shown in Figure 33, an additional majority-Black House District can

be drawn in southwest Georgia by unpacking the Black population in 2021 House

District 153 and uncracking the Black populations in 2021 House Districts 171 and

173. Unpacking those districts allows a majority-Black Illustrative House District

171 to be drawn in part of Dougherty, Mitchell, and Thomas Counties around

where majority-Black 2021 Senate District 12 is drawn.




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Figure 33
                Illustrative House Plan District 171 and vicinity




      178. In addition to creating an additional majority-Black House district in

the western Black Belt, the district unites the areas that comprise the Albany-

Thomasville corridor. This economic, cultural, and historical transportation

corridor runs along the western division of the historic Dixie Highway from




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Albany to Thomasville, and has been recognized by the Southwest Georgia

Regional Commission.32

        179. Moreover, the inclusion of Thomas County in majority-Black

Illustrative House District 171 adds part of a second majority-Black district to the

band of Black Belt counties in Southwest Georgia that extend as far east as the City

of Valdosta and Lowndes County, as depicted in the GBPI map in Figure 4, supra.

Majority-Black 2021 House District 177 in Valdosta is unchanged in the Illustrative

Plan.

        180. To recap, the Illustrative House Plan includes a third majority-Black

district in the same general area as 2021 Senate District 12 in the southwest corner

of the state, whereas the 2021 House Plan only includes two such districts.

                        (4) Metropolitan Macon (Region D)

                            (a) 2021 Plan (Exhibit AF-1)

        181. An additional majority-Black district can also be drawn in the Macon

area by unpacking the Black population in the two majority-Black districts—2021

House District 142 (59.5% BVAP) and 2021 House District 143 (60.79% BVAP).




32
  Southwest Georgia Regional Commission, Corridor Management Plan (2014),
http://www.dot.ga.gov/DriveSmart/Travel/ScenicByways/HistoricDixieHwy/HDH-
CorridorManagementPlan.pdf
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      182. As illustrated in Figure 34, under the 2021 House Plan, House District

145 includes parts of five different counties (Houston, Peach, Macon-Bibb,

Crawford, and Monroe). The BVAP of 2021 House District 145 is 35.67%. Under

the 2021 House Plan, there are two majority-Black districts in counties comprising

the combined Macon-Bibb Warner Robins MSAs, even though the Black

population there is more than sufficient to support a third.

Figure 34
               2021 House Plan Districts 142,143, 145 and vicinity




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               (b) Illustrative House District 145 (Exhibit AF-2)

      183. Under the Illustrative Plan, majority-Black House District 145 (50.2%

BVAP) is anchored in Macon and combined with the southern part of Monroe

County, which is also split in the same general area in the 2021 House Plan.

Figure 35
                   Illustrative House District 145 and Vicinity




C. Supplemental Plan Information

                              (1) Population Equality

      184. As demonstrated by the district-by-district population statistics in

Exhibits AA-1 and Z-1, the Illustrative House Plan matches the 2021 Senate Plan
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by staying within a stringent 1.5% population deviation limit for each district (i.e.,

no district is more than 1.5% away from ideal population size).

                                  (2) Compactness

      185. Compactness scores for the Illustrative House Plan are within the norm.

Exhibit AG-1 contains compactness scores generated by Maptitude for all districts

in the Illustrative House Plan, alongside scores for the 2015 Benchmark House Plan

(Exhibit AG-2) and the 2021 House Plan (Exhibit AG-3).

      186. The table in Figure 37 (condensed from the Exhibit AG series) reports

Reock and Polsby-Popper scores for the Illustrative House Plan, alongside scores

for the 2015 Benchmark House Plan and the 2021 House Plan.


Figure 36
                               Compactness Scores
                         Illustrative House Plan versus
                     2015 Benchmark and 2021 House Plans
                                               Reock               Polsby-Popper
                                          Mean       Low           Mean       Low
            Illustrative House Plan            .39     .16              .27    .11
            2015 Benchmark House Plan          .39     .13              .27    .09
            2021 House Plan                    .39     .12              .28    .10

      187. On balance, the Illustrative House Plan and 2021 House Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If

anything, the Illustrative Plan scores better inasmuch as its least compact district by

Reock scores .16, compared to .12 for the 2021 House Plan.


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                                  (3) Jurisdictional Splits

       188. The Exhibit AH series contains Maptitude-generated reports for splits

of key geographic areas in Georgia—from VTDs to regional commissions—under

the Illustrative House Plan, the 2015 Benchmark Plan, and the 2021 House Plan.

       189. The table in Figure 38 summarizes split counts for counties, 2020

VTDs, and municipalities. On balance, the Illustrative House Plan and the 2021

House Plan score about the same on county and VTD splits. The 2021 House Plan

has a slight edge on municipal splits (although the Illustrative House Plan keeps

more single-county municipalities whole).

Figure 37
                    County and VTD splits/Whole Municipalities
                          Illustrative House Plan versus
                      2015 Benchmark and 2021 House Plans
                                                                   Single and
                                                         Single-     Multi
                                                         County     County        Total
                                   Total       2020      Whole     Whole City/    City/
                        Split     County       VTD     City/Towns    Towns       Town
                       Counties   Splits*     Splits*    (478)#      (538)#      Splits*
Illustrative House           68        209         179         393         402       361
2015 Benchmark               73        215         268         381         402       378
2021 House                   69        209         179         384         412       344
 *Populated splits only
 # Higher is better

       190. Exhibit AH-1 contains a county and VTD split report generated by

Maptitude for all districts in the Illustrative House Plan. Exhibit AH-2 reports for



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the 2015 Benchmark House Plan and Exhibit AH-3 reports for the 2021 House

Plan.

        191. Exhibit AH-4 contains a split report for all 531 municipalities,

including the 43 cities and towns that spill over into another county. See also

Exhibit AH-5 reports for the 2015 Benchmark House Plan and Exhibit AH-6

reports for the 2021 House Plan.

                                   (4) Regional Splits

        192. The table in Figure 39 shows summaries of Maptitude-generated

regional splits, defined by the 12 state-designated regional commissions and the 39

federally-designated (“CBSAs”), which include MSAs and micropolitan areas.

Figure 38
                      Split Regional Commissions and CBSAs
                            Illustrative House Plan versus
                      2014 Benchmark and 2021 House Plans

                                          Regional
                                         Commission      Whole      CBSA
                                           Splits        CBSAs      Splits
           Illustrative House Plan                223        10           218
           2014 Benchmark House Plan              220          8          217
           2021 House Plan                        225        10           214

        193. On balance, the Illustrative House Plan and 2021 Plan score about the

same across the three regional categories.




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                                  (5) Incumbents

      194. The Illustrative House Plan modifies about half (92) of the districts as

drawn in the 2021 House Plan.

      195. Based on January 2022 incumbent address information given to

Plaintiffs’ attorneys by the Defendants in the form of a geocoded shapefile, the

following seven districts in the Illustrative House Plan may have incumbent

conflicts: 106, 134, 154, 155, 167, 172, and 176. Based on the preliminary analysis

of incumbent address information following the November 2022 general election

pursuant to the 2021 House Plan, eight districts in the Illustrative House Plan may

have incumbent conflicts: 65, 118, 134, 147, 155, 167, 171, 172.

E. Comparative Socioeconomic Analysis

      196. This section of my report briefly highlights charts and tables that I

prepared from the 2015-2019 American Community Survey found on Exhibit CD

or via: http://www.fairdata2000.com/ACS_2015_19/Georgia/.

      197. The datasets available in these ACS-based documents facilitate

comparisons by race/ethnicity across counties and communities under the

Illustrative House Plan and the 2021 House Plan, which can help identify

commonalities and communities of interest in the relevant areas.

      198. For example, Illustrative House District 74 includes parts of Henry,

Spalding, and Clayton Counties and Illustrative House District 117 includes parts of


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Henry and Spalding Counties. The counties within Illustrative House Districts 74

and 117 share socioeconomic characteristics that make them similar to one another.

As one example, and as noted supra with respect to Illustrative Senate District 28, a

similar proportion of Black residents in Henry, Spalding, and Clayton counties are

in the labor force (71.0%, 58.2%, and 69.5% respectively). (See Exhibit CD

Reports for Henry, Spalding, and Clayton Counties at pp. 53-55.)33

       199. In addition to being part of the eastern Black Belt region as discussed

supra, counties within Illustrative House District 133 share socioeconomic

characteristics that make them similar to one another. For example, a comparatively

low proportion of Black residents in Illustrative District 133 counties have received

a bachelor’s degree or higher (ranging from 5.7% to 12.7% of the Black population

ages 25 and over). (See Exhibit CD Reports for relevant counties at pp. 21-22.)

       200. Illustrative House District 171 includes parts of Dougherty and Thomas

Counties, and all of Mitchell County. Poverty rates are comparatively high for the

Black population in all three counties. (See Exhibit CD Reports for Dougherty,

Thomas, and Mitchell Counties at pp. 25-29.)




   33 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled “Single-Race African Americans and Latinos vis-à-vis Non-
Hispanic Whites – Selected Socio-Economic Data,” which are based on the 2015-2019 ACS 5-
Year Estimates. See supra ¶¶ 68-69.
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      201. Illustrative House District 145 is in Macon-Bibb County and Monroe

County. About 91% of all persons and 96% of Black persons in Illustrative House

District 145 are Macon-Bibb residents. With the creation of a third Macon-centric

district, Black voters in the consolidated city would potentially have a stronger

voice in the State House to address shared socio-economic issues. For example,

one-third of the Black population and nearly half (47.5%) of Black children in

Macon-Bibb live in poverty. By contrast, 11.6% of the White population in

Macon-Bibb and 14.1% of White children in live in poverty. (See Exhibit CD

Report for Macon-Bibb County at pp. 25-29.)

E. Online Interactive Maps

      202. The Illustrative House Plan can also be viewed online in detail on the

Dave’s Redistricting Application (DRA) website via the link below.

https://davesredistricting.org/maps#viewmap::b9272e37-d718-49e8-b079-

41f8331c9fa7.

      203. For comparison, the 2021 House Plan can be viewed via this link.

https://davesredistricting.org/join/40c422df-0e13-4933-b3bb-5c661a9fc565




                                       ###

I reserve the right to continue to supplement my declaration in light of additional

facts, testimony and/or materials that may come to light.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury of the laws of the

United States that the foregoing is true and correct according to the best of my

knowledge, information and belief.



Executed on December 5, 2022.




                                              WILLIAM S. COOPER




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   William S. Cooper
   P.O. Box 16066
   Bristol, VA 24209
   276-669-8567
   bcooper@msn.com


Summary of Redistricting Work


        I have a B.A. in Economics from Davidson College in Davidson, North Carolina.

        Since 1986, I have prepared proposed redistricting maps of approximately 750

jurisdictions for Section 2 litigation, Section 5 comment letters, and for use in other efforts

to promote compliance with the Voting Rights Act of 1965. I have analyzed and prepared

election plans in over 100 of these jurisdictions for two or more of the decennial censuses –

either as part of concurrent legislative reapportionments or, retrospectively, in relation to

litigation involving many of the cases listed below.

        From 1986 to 2022, I have prepared election plans for Section 2 litigation in

Alabama, Connecticut, Florida, Georgia, Louisiana, Maryland, Mississippi, Missouri,

Montana, Nebraska, New Jersey, New York, North Carolina, Ohio, Pennsylvania, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, and Wyoming.

Post-2020 Redistricting Experience

        Since the release of the 2020 Census, three county commission-level plans I

developed as a private consultant have been adopted by local governments in San Juan

County, Utah, Bolivar County, Miss., and Washington County, Miss. In addition, a

school board plan I developed was adopted by the Jefferson County, Alabama Board of

Education (Stout v. Jefferson County).

        In 2022, I have testified at trial in seven Sec. 2 lawsuits: Alabama (Congress),

Arkansas (Supreme and Appellate Courts), Florida (voter suppression), Georgia (State
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House, State Senate, and Congress), Louisiana (Congress) and Maryland (Baltimore County

Commission).

2010s Redistricting Experience

        I developed statewide legislative plans on behalf of clients in nine states (Alabama,

Connecticut, Florida, Georgia, Kentucky, Mississippi, South Carolina, Texas, and Virginia),

as well as over 150 local redistricting plans in approximately 30 states – primarily for groups

working to protect minority voting rights. In addition, I have prepared congressional plans

for clients in eight states (Alabama, Florida, Georgia, Louisiana, Maryland, Ohio,

Pennsylvania, South Carolina, and Virginia).

        In March 2011, I was retained by the Sussex County, Virginia Board of

Supervisors and the Bolivar County, Mississippi Board of Supervisors to draft new

district plans based on the 2010 Census. In the summer of 2011, both counties received

Section 5 preclearance from the U.S. Department of Justice (DOJ).

       Also in 2011, I was retained by way of a subcontract with Olmedillo X5 LLC to

assist with redistricting for the Miami-Dade County, Florida Board of Commissioners and

the Miami-Dade, Florida School Board. Final plans were adopted in late 2011 following

public hearings.

       In the fall of 2011, I was retained by the City of Grenada, Mississippi to provide

redistricting services. The ward plan I developed received DOJ preclearance in March 2012.

       In 2012 and 2013, I served as a redistricting consultant to the Tunica County,

Mississippi Board of Supervisors and the Claiborne County, Mississippi Board of

Supervisors.

       In Montes v. City of Yakima (E.D. Wash. Feb. 17, 2015) the court adopted, as a

remedy for the Voting Rights Act Section 2 violation, a seven single-member district plan
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that I developed for the Latino plaintiffs. I served as the expert for the Plaintiffs in the

liability and remedy phases of the case.

        In Pope v. Albany County (N.D.N.Y. Mar. 24, 2015), the court approved, as a

remedy for a Section 2 violation, a plan drawn by the defendants, creating a new Black-

majority district. I served as the expert for the Plaintiffs in the liability and remedy phases

of the case.

        In 2016, two redistricting plans that I developed on behalf of the plaintiffs for

consent decrees in Section 2 lawsuits in Georgia were adopted (NAACP v. Fayette County,

Georgia and NAACP v. Emanuel County, Georgia).

        In 2016, two federal courts granted summary judgment to the plaintiffs based in part

on my Gingles 1 testimony: Navajo Nation v. San Juan County, Utah (C.D. Utah 2016) and

NAACP v. Ferguson-Florissant School District, Missouri (E. D. Mo. August 22, 2016).

        Also in 2016, based in part on my analysis, the City of Pasco, Washington admitted

to a Section 2 violation. As a result, in Glatt v. City of Pasco (E.D. Wash. Jan. 27, 2017), the

court ordered a plan that created three Latino majority single-member districts in a 6 district,

1 at-large plan.

        In 2018, I served as the redistricting consultant to the Governor Wolf interveners at

the remedial stage of League of Women Voters, et al. v. Commonwealth of Pennsylvania.

        In August 2018, the Wenatchee City Council adopted a hybrid election plan that I

developed – five single-member districts with two members at-large. The Wenatchee

election plan is the first plan adopted under the Washington Voting Rights Acts of 2018.

        In February 2019, a federal court ruled in favor of the plaintiffs in a Section 2 case

regarding Senate District 22 in Mississippi, based in part on my Gingles 1 testimony in

Thomas v. Bryant (S.D. Ms. Feb 16, 2019).
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       In the summer of 2019, I developed redistricting plans for the Grand County (Utah)

Change of Form of Government Study Committee.

       In the fall of 2019, a redistricting plan I developed for a consent decree involving

the Jefferson County, Alabama Board of Education was adopted Traci Jones, et al. v.

Jefferson County Board of Education, et al.

       In May 2020, a federal court ruled in favor of the plaintiffs in a Section 2 case in

NAACP et al. v. East Ramapo Central School District, NY, based in part on my Gingles 1

testimony. In October 2020, the federal court adopted a consent decree plan I developed

for elections to be held in February 2021.

       In May and June of 2020, I served as a consultant to the City of Quincy, Florida –

the Defendant in a Section 2 lawsuit filed by two Anglo voters (Baroody v. City of

Quincy). The federal court for the Northern District of Florida ruled in favor of the

Defendants. The Plaintiffs voluntarily dismissed the case.

       In the summer of 2020, I provided technical redistricting assistance to the City of

Chestertown, Maryland.

       I am currently a redistricting consultant and expert for the plaintiffs in Jayla Allen v.

Waller County, Texas. I testified remotely at trial in October 2020.

       Since 2011, I have served as a redistricting and demographic consultant to the

Massachusetts-based Prison Policy Initiative for a nationwide project to end prison-based

gerrymandering. I have analyzed proposed and adopted election plans in about 25 states as

part of my work.

       In 2018 (Utah) and again in 2020 (Arizona), I have provided technical assistance to

the Rural Utah Project for voter registration efforts on the Navajo Nation Reservation.

Post-2010 Demographics Experience
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       My trial testimony in Section 2 lawsuits usually includes presentations of U.S.

Census data with charts, tables, and/or maps to demonstrate socioeconomic disparities

between non-Hispanic Whites and racial or ethnic minorities.

       I served as a demographic expert for plaintiffs in four state-level voting cases

related to the Covid-19 pandemic (South Carolina, Alabama, and Louisiana) and state

court in North Carolina.

       I have also served as an expert witness on demographics in non-voting trials. For

example, in an April 2017 opinion in Stout v. Jefferson County Board of Education (Case

no.2:65-cv-00396-MHH), a school desegregation case involving the City of Gardendale,

Ala., the court made extensive reference to my testimony.

       I provide technical demographic and mapping assistance to the Food Research

and Action Center (FRAC) in Washington D.C and their constituent organizations around

the country. Most of my work with FRAC involves the Summer Food Program and Child

and Adult Care Food Program. Both programs provide nutritional assistance to school-

age children who are eligible for free and reduced price meals. As part of this project, I

developed an online interactive map to determine site eligibility for the two programs that

has been in continuous use by community organizations and school districts around the

country since 2003. The map is updated annually with new data from a Special

Tabulation of the American Community Survey prepared by the U.S. Census Bureau for

the Food and Nutrition Service of the U.S. Department of Agriculture.



Historical Redistricting Experience

       In the 1980s and 1990s, I developed voting plans in about 400 state and local

jurisdictions – primarily in the South and Rocky Mountain West. During the 2000s and
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2010s, I prepared draft election plans involving about 350 state and local jurisdictions in 25

states. Most of these plans were prepared at the request of local citizens’ groups, national

organizations such as the NAACP, tribal governments, and for Section 2 or Section 5

litigation.

        Election plans I developed for governments in two counties – Sussex County,

Virginia and Webster County, Mississippi – were adopted and precleared in 2002 by the

U.S. Department of Justice. A ward plan I prepared for the City of Grenada, Mississippi was

precleared in August 2005. A county supervisors’ plan I produced for Bolivar County,

Mississippi was precleared in January 2006.

        In August 2005, a federal court ordered the State of South Dakota to remedy a

Section 2 voting rights violation and adopt a state legislative plan I developed (Bone Shirt v.

Hazeltine).

         A county council plan I developed for Native American plaintiffs in a Section 2

lawsuit (Blackmoon v. Charles Mix County) was adopted by Charles Mix County, South

Dakota in November 2005. A plan I drafted for Latino plaintiffs in Bethlehem, Pennsylvania

(Pennsylvania Statewide Latino Coalition v. Bethlehem Area School District) was adopted

in March 2009. Plans I developed for minority plaintiffs in Columbus County, North

Carolina and Montezuma- Cortez School District in Colorado were adopted in 2009.

        Since 1986, I have testified at trial as an expert witness on redistricting and

demographics in federal courts in the following voting rights cases (approximate most

recent testimony dates are in parentheses). I also filed declarations and was deposed in

most of these cases.

Alabama
Caster v. Merrill (2022)
Chestnut v Merrill (2019)
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Alabama State Conference of the NAACP v. Alabama (2018)
Alabama Legislative Black Caucus et al. v. Alabama et al. (2013)

Arkansas
The Christian Ministerial Alliance v. Hutchinson (2022)

Colorado
Cuthair v. Montezuma-Cortez School Board (1997)

Florida
NAACP v. Lee (2022)
Baroody v. City of Quincy (2020)

Georgia
Pendergrass v. Raffensperger (2022)
Alpha Phi Alpha v. Raffensperger (2022)
Cofield v. City of LaGrange (1996)
Love v. Deal (1995)
Askew v. City of Rome (1995)
Woodard v. Lumber City (1989)

Louisiana
Galmon v. Ardoin (2022)
Terrebonne Parish NAACP v. Jindal, et al. (2017)
Wilson v. Town of St. Francisville (1996)
Reno v. Bossier Parish (1995)
Knight v. McKeithen (1994)

Maryland
NAACP v. Baltimore County (2022)
Cane v. Worcester County (1994)

Mississippi
Thomas v. Bryant (2019)
Fairley v. Hattiesburg (2014)
Boddie v. Cleveland School District (2010)
Fairley v. Hattiesburg (2008)
Boddie v. Cleveland (2003)
Jamison v. City of Tupelo (2006)
Smith v. Clark (2002)
NAACP v. Fordice (1999)
Addy v Newton County (1995)
Ewing v. Monroe County (1995)
Gunn v. Chickasaw County (1995)
Nichols v. Okolona (1995)


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Montana
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Old Person v. Cooney (1998)

Missouri
Missouri NAACP v. Ferguson-Florissant School District (2016)

Nebraska
Stabler v. Thurston County (1995)

New York
NAACP v. East Ramapo Central School District (2020)
Pope v. County of Albany (2015)
Arbor Hills Concerned Citizens v. Albany County (2003)

Ohio
A. Philip Randolph Institute, et al. v. Ryan (2019)

South Carolina
Smith v. Beasley (1996)

South Dakota
Bone Shirt v. Hazeltine (2004)
Cottier v. City of Martin (2004)

Tennessee
Cousins v. McWherter (1994)
Rural West Tennessee African American Affairs Council v. McWherter (1993)

Texas
Jayla Allen v. Waller County, Texas

Utah
Navajo Nation v. San Juan County (2017),brief testimony –11 declarations, 2 depositions

Virginia
Smith v. Brunswick County (1991)
Henderson v. Richmond County (1988)
McDaniel v. Mehfoud (1988)
White v. Daniel (1989)

Wyoming
Large v. Fremont County (2007)
         In addition, I have filed expert declarations or been deposed in the following

cases that did not require trial testimony. The dates listed indicate the deposition date or


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date of last declaration or supplemental declaration:


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James v. Jefferson County Board of Education (2019)
Voketz v. City of Decatur (2018)

Arkansas
Mays v. Thurston (2020)-- Covid-19 demographics only)

Connecticut
NAACP v. Merrill (2020)

Florida
Florida State Conference of the NAACP v. Lee, et al., (2021)
Calvin v. Jefferson County (2016)
Thompson v. Glades County (2001)
Johnson v. DeSoto County (1999)
Burton v. City of Belle Glade (1997)

Georgia
Dwight v. Kemp (2018)
Georgia NAACP et al. v. Gwinnett County, GA (2018
Georgia State Conference NAACP et al v. Georgia (2018)
Georgia State Conference NAACP, et al. v. Fayette County (2015)
Knighton v. Dougherty County (2002)
Johnson v. Miller (1998)
Jones v. Cook County (1993)

Kentucky
Herbert v. Kentucky State Board of Elections (2013)

Louisiana
Power Coalition for Equity and Justice v. Edwards (2020), Covid-19 demographics only
Johnson v. Ardoin (2019
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Prejean v. Foster (1998)
Rodney v. McKeithen (1993)

Maryland
Baltimore County NAACP v. Baltimore County (2022)
Benisek v. Lamone (2017)
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Wilson v. Clarksdale (1992)
Stanfield v. Lee County(1991)

Montana
Alden v. Rosebud County (2000)

North Carolina
Lewis v. Alamance County (1991)
Gause v. Brunswick County (1992)
Webster v. Person County (1992)

Rhode Island
Davidson v. City of Cranston (2015)

South Carolina
Thomas v. Andino (2020), Covid-19 demographics only
Vander Linden v. Campbell (1996

South Dakota
Kirkie v. Buffalo County (2004
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Tennessee
NAACP v. Frost, et al. (2003)

Virginia
Moon v. Beyer (1990)

Washington
Glatt v. City of Pasco (2016)
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                                                       Population Summary Report
                                             Georgia State House -- Illustrative Plan
                                                                                        2016-20           2016-   NH     2016-20 NH DOJ
                        % 2020               18+ AP    % 18+ AP   18+_NH     % 18+ NH     NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.   Deviation   18+ Pop    Black      Black     White      White     BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**

  001          59666       0.26%     46801      1966      4.20%     41,853     89.43%     3.82%    1.86%    0.53%    6.21%   92.30%    4.25%
  002          59405      -0.18%     46192      1468      3.18%     40,367     87.39%     3.13%    3.54%    0.90%    7.57%   91.06%    3.56%
  003          60199       1.16%     46716      1565      3.35%     41,325     88.46%     2.36%    1.86%    1.14%    5.36%   92.30%    3.26%
  004          60125       1.03%     43552      2315      5.32%     21,687     49.80%     4.76%   27.68%    0.65%   33.09%   65.42%    4.90%
  005          58961      -0.92%     44577      1949      4.37%     34,939     78.38%     3.95%    6.96%    0.88%   11.80%   86.81%    4.57%
  006          58644      -1.46%     44254       753      1.70%     35,234     79.62%     1.95%    8.02%    0.31%   10.28%   88.85%    2.07%
  007          58807      -1.18%     48877       640      1.31%     44,140     90.31%     1.16%    2.45%    0.48%    4.10%   94.24%    1.41%
  008          58972      -0.91%     49682       482      0.97%     45,518     91.62%     1.13%    2.26%    0.23%    3.62%   95.08%    1.15%
  009          59260      -0.42%     47767       423      0.89%     42,162     88.27%     0.48%    4.27%    0.50%    5.25%   92.84%    0.84%
  010          59732       0.37%     47119      1788      3.79%     39,290     83.38%     3.62%    5.33%    1.28%   10.23%   88.10%    4.05%
  011          59186      -0.55%     46842      1591      3.40%     40,389     86.22%     2.12%    3.63%    0.53%    6.28%   88.06%    2.37%
  012          58838      -1.13%     45900      5240     11.42%     37,197     81.04%    11.17%    1.37%    0.39%   12.94%   85.22%   11.77%
  013          59869       0.60%     45920      7930     17.27%     30,277     65.93%    17.18%    7.06%    1.00%   25.24%   73.66%   17.72%
  014          59369      -0.24%     45710      3124      6.83%     37,954     83.03%     6.11%    4.00%    0.45%   10.56%   87.27%    6.48%
  015          58979      -0.89%     45592      6493     14.24%     32,755     71.84%    13.36%    5.88%    0.64%   19.88%   78.23%   14.53%
  016          59713       0.34%     44594      5338     11.97%     34,073     76.41%     9.90%    4.31%    0.51%   14.72%   83.80%   10.18%
  017          58677      -1.40%     43750     12615     28.83%     26,503     60.58%    23.34%    4.33%    0.51%   28.18%   69.15%   24.12%
  018          58881      -1.06%     44887      3374      7.52%     38,919     86.70%     7.44%    1.82%    0.84%   10.09%   88.46%    7.74%
  019          59050      -0.77%     42592      7817     18.35%     30,049     70.55%    15.45%    5.99%    1.16%   22.59%   75.36%   16.27%
  020          60107       1.00%     45725      4230      9.25%     34,934     76.40%     9.84%    6.66%    0.96%   17.46%   81.61%   10.11%
  021          58907      -1.01%     44459      2373      5.34%     36,177     81.37%     3.88%    4.60%    0.61%    9.09%   90.11%    4.24%
  022          59460      -0.09%     45815      6918     15.10%     30,057     65.61%    14.31%    5.97%    3.89%   24.17%   73.77%   14.96%
  023          59771       0.44%     43778      1993      4.55%     34,585     79.00%     3.10%    5.04%    0.66%    8.79%   89.83%    3.17%
  024          59554       0.07%     42107      3022      7.18%     26,430     62.77%     5.78%    6.86%    8.25%   20.90%   75.38%    6.53%
  025          59414      -0.16%     42520      2507      5.90%     23,862     56.12%     6.10%    4.87%   16.96%   27.92%   70.69%    6.22%
  026          59002      -0.86%     43874      1723      3.93%     29,248     66.66%     3.58%    5.89%    6.99%   16.45%   80.77%    4.42%
  027          58710      -1.35%     44978      2351      5.23%     32,023     71.20%     6.05%   12.81%    1.00%   19.86%   78.68%    6.26%
  028          59012      -0.84%     43942      1733      3.94%     35,056     79.78%     1.80%    4.68%    0.60%    7.08%   91.57%    2.25%
  029          59015      -0.83%     43133      5778     13.40%     18,570     43.05%    16.25%   20.54%    2.70%   39.49%   58.88%   16.56%
  030          59266      -0.41%     45414      3678      8.10%     32,016     70.50%     8.57%    9.30%    1.82%   19.69%   78.88%    8.99%
  031          59753       0.41%     43769      3325      7.60%     33,702     77.00%     7.47%    6.15%    2.28%   15.90%   82.86%    7.65%
  032          59466      -0.08%     46220      3348      7.24%     38,455     83.20%     6.70%    3.49%    0.70%   10.89%   87.69%    6.91%
  033          59187      -0.54%     46498      5207     11.20%     38,246     82.25%    12.33%    2.54%    0.57%   15.44%   83.43%   12.47%
  034          59875       0.61%     45758      7169     15.67%     31,678     69.23%    12.82%    5.50%    4.91%   23.23%   75.59%   13.19%
  035          60031       0.87%     48436     13735     28.36%     25,993     53.66%    25.80%    7.93%    4.00%   37.74%   60.25%   26.11%
  036          59852       0.57%     44787      7613     17.00%     31,699     70.78%    15.96%    5.48%    1.37%   22.82%   76.20%   15.96%
  037          59176      -0.56%     46223     13027     28.18%     21,382     46.26%    32.71%    6.45%    2.70%   41.86%   55.07%   34.72%
  038          59317      -0.33%     44839     24318     54.23%     13,498     30.10%    53.28%    7.92%    1.52%   62.73%   36.10%   53.81%
  039          59381      -0.22%     44436     24569     55.29%     10,429     23.47%    55.71%    8.79%    1.56%   66.07%   31.86%   56.75%
  040          59044      -0.78%     47976     15821     32.98%     24,534     51.14%    29.52%    5.05%    5.36%   39.93%   56.64%   30.90%
  041          60122       1.03%     45271     17816     39.35%     12,502     27.62%    47.30%   13.69%    3.49%   64.47%   33.68%   47.54%
  042          59620       0.18%     48525     16353     33.70%     18,923     39.00%    37.85%   10.13%    5.18%   53.16%   43.70%   39.50%
  043          59464      -0.08%     47033     12476     26.53%     21,781     46.31%    25.51%    6.79%    4.44%   36.74%   61.07%   26.21%
  044          60002       0.83%     46773      5635     12.05%     31,659     67.69%    11.38%    7.47%    5.60%   24.46%   73.85%   11.77%
  045          59738       0.38%     44023      2324      5.28%     32,991     74.94%     3.84%    3.70%    5.95%   13.49%   84.99%    4.15%
  046          59108      -0.68%     44132      3560      8.07%     33,016     74.81%     7.43%    5.92%    5.05%   18.40%   79.65%    7.89%
  047          59056      -0.76%     43893      4708     10.73%     28,036     63.87%    14.53%    5.76%    5.24%   25.52%   73.60%   14.76%
  048          59003      -0.85%     44779      5279     11.79%     27,658     61.77%    12.18%    8.56%    8.68%   29.42%   68.24%   13.06%
  049          59153      -0.60%     45263      3813      8.42%     32,354     71.48%     9.22%    3.25%   11.22%   23.68%   73.92%    9.61%
  050          59523       0.02%     43940      5450     12.40%     19,496     44.37%    10.12%    5.05%   21.82%   36.99%   61.25%   10.47%
  051          58952      -0.94%     47262     11193     23.68%     25,679     54.33%    22.77%    5.80%    3.63%   32.20%   65.28%   23.65%
  052          59811       0.50%     48525      7758     15.99%     26,755     55.14%    16.95%    5.82%    6.19%   28.96%   69.29%   17.44%
  053          59953       0.74%     46944      6819     14.53%     33,426     71.20%    11.33%    4.98%    2.54%   18.85%   79.92%   12.01%
  054          60083       0.96%     50338      7789     15.47%     31,705     62.98%    14.29%    4.88%    5.97%   25.14%   73.66%   14.84%
  055          59971       0.77%     49255     27279     55.38%     17,490     35.51%    57.30%    3.27%    1.68%   62.25%   35.48%   57.69%
  056          58929      -0.98%     52757     23993     45.48%     19,509     36.98%    52.42%    4.01%    5.78%   62.21%   35.64%   52.99%
  057          59969       0.77%     52097      9411     18.06%     33,156     63.64%    15.38%    4.72%    4.91%   25.00%   72.27%   16.23%
  058          59057      -0.76%     50514     31845     63.04%     13,923     27.56%    64.01%    2.74%    3.59%   70.34%   26.98%   65.00%
  059          59434      -0.13%     49179     34470     70.09%     10,840     22.04%    69.52%    3.12%    1.89%   74.54%   22.39%   70.60%
  060          59709       0.33%     45490     29061     63.88%     12,778     28.09%    66.10%    2.15%    1.13%   69.38%   28.31%   66.75%
  061          59302      -0.35%     45447     33762     74.29%      7,613     16.75%    74.78%    4.43%    0.86%   80.07%   18.83%   75.05%
  062          59450      -0.10%     46426     33548     72.26%      8,852     19.07%    72.74%    3.30%    1.31%   77.35%   21.51%   73.31%
  063          59381      -0.22%     45043     31229     69.33%      8,658     19.22%    69.88%    4.53%    1.74%   76.15%   22.41%   70.46%
  064          59902       0.66%     44888     13640     30.39%     26,150     58.26%    30.01%    4.28%    1.02%   35.31%   62.03%   30.26%
  065          59464      -0.08%     44386     27511     61.98%     13,963     31.46%    60.40%    4.79%    0.43%   65.62%   33.50%   60.73%
  066          59047      -0.78%     44278     23647     53.41%     15,022     33.93%    46.43%    3.85%    1.55%   51.83%   45.93%   47.10%
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                                                   Population Summary Report
                                            Georgia State House -- Illustrative Plan
                                                                               2016-20           2016-   NH     2016-20 NH DOJ
                        % 2020              18+ AP % 18+ AP 18+_NH   % 18+ NH    NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.   Deviation 18+ Pop     Black   Black   White    White    BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**
  067          59135      -0.63%    44299      26099  58.92%  13,670    30.86% 56.13%   4.48%     0.66%  61.26%  37.69% 56.73%
  068          59477      -0.06%    44835      24994  55.75%  15,216    33.94% 52.97%   4.36%     2.23%  59.55%  37.96% 53.68%
  069          60397       1.49%    46496      25560  54.97%  16,489    35.46% 52.68%   2.93%     2.17%  57.77%  40.94% 53.09%
  070          59121      -0.66%    45249      12591  27.83%  27,007    59.69% 25.79%   5.91%     1.23%  32.93%  64.31% 26.72%
  071          59415      -0.16%    44604       8329  18.67%  31,956    71.64% 18.64%   2.87%     0.39%  21.90%  76.62% 19.09%
  072          59358      -0.26%    45913      10275  22.38%  30,689    66.84% 23.20%   2.81%     1.35%  27.36%  71.12% 23.47%
  073          60189       1.14%    45784       5167  11.29%  33,700    73.61%   9.77%  5.13%     2.25%  17.16%  81.11% 10.30%
  074          59976       0.78%    44239      27203  61.49%  12,519    28.30% 59.83%   4.51%     1.65%  66.00%  32.31% 60.49%
  075          60164       1.10%    44354      32528  73.34%   4,141     9.34% 77.71%   6.82%     2.62%  87.15%  10.89% 78.43%
  076          58905      -1.02%    43809      30710  70.10%   4,323     9.87% 71.31%   8.06%     6.57%  85.94%  11.57% 71.95%
  077          58742      -1.29%    44799      29682  66.26%  10,475    23.38% 64.80%   3.66%     2.47%  70.94%  27.14% 65.38%
  078          59188      -0.54%    44901      29428  65.54%   8,472    18.87% 65.37%   5.48%     4.87%  75.73%  22.24% 66.12%
  079          58624      -1.49%    42548      27466  64.55%   3,999     9.40% 71.60%   7.31%     5.96%  84.87%  12.47% 73.36%
  080          59461      -0.08%    44784       6350  14.18%  21,330    47.63% 16.00%   8.35%     9.74%  34.09%  63.45% 16.25%
  081          59007      -0.85%    46259      10099  21.83%  21,746    47.01% 25.55%   6.92%     8.75%  41.22%  56.40% 25.93%
  082          59724       0.36%    50238       8455  16.83%  31,380    62.46% 14.53%   4.26%     7.16%  25.95%  71.58% 15.15%
  083          59416      -0.16%    46581       7044  15.12%  22,311    47.90% 17.32%   7.65%     4.64%  29.61%  67.68% 18.26%
  084          59862       0.59%    47350      34877  73.66%  10,081    21.29% 74.43%   1.59%     0.75%  76.77%  20.16% 76.37%
  085          59373      -0.23%    46308      29041  62.71%   9,022    19.48% 71.18%   2.62%     3.85%  77.66%  18.90% 72.95%
  086          59205      -0.51%    44614      33485  75.05%   5,391    12.08% 76.94%   1.63%     2.94%  81.50%  16.19% 77.79%
  087          59709       0.33%    45615      33336  73.08%   6,159    13.50% 78.33%   2.01%     2.85%  83.19%  14.92% 79.09%
  088          59689       0.30%    46073      29187  63.35%   8,432    18.30% 67.64%   3.90%     4.31%  75.85%  22.94% 67.95%
  089          59866       0.60%    46198      28890  62.54%  14,355    31.07% 60.92%   3.06%     1.91%  65.89%  32.64% 61.65%
  090          59812       0.51%    48015      28082  58.49%  16,315    33.98% 59.36%   3.00%     1.52%  63.88%  33.68% 59.85%
  091          58901      -1.03%    45650      30589  67.01%  12,277    26.89% 62.42%   2.55%     1.10%  66.06%  32.45% 63.47%
  092          60273       1.28%    46551      32022  68.79%  11,196    24.05% 64.39%   2.14%     1.81%  68.34%  30.22% 64.95%
  093          60118       1.02%    44734      29239  65.36%  10,247    22.91% 64.13%   6.04%     1.30%  71.47%  27.40% 64.49%
  094          59211      -0.50%    44809      30935  69.04%   8,255    18.42% 72.49%   3.02%     2.83%  78.34%  20.36% 72.62%
  095          60030       0.87%    44948      30183  67.15%   9,814    21.83% 66.96%   4.57%     1.49%  73.03%  24.07% 67.89%
  096          59515       0.01%    44671      10273  23.00%   9,078    20.32% 28.64% 19.51% 15.20%      63.35%  34.52% 28.98%
  097          59072      -0.74%    46339      12405  26.77%  16,887    36.44% 31.95% 10.05% 10.70%      52.70%  45.43% 32.61%
  098          59998       0.82%    42734       9934  23.25%   4,981    11.66% 31.92% 29.49% 16.42%      77.83%  19.98% 32.92%
  099          59850       0.57%    45004       6622  14.71%  18,948    42.10% 15.19%   5.29% 21.25%     41.73%  55.84% 15.63%
  100          58851      -1.11%    42038       4237  10.08%  25,680    61.09% 10.04%   6.22%     7.76%  24.01%  74.30% 10.76%
  101          59938       0.72%    46584      11269  24.19%  18,698    40.14% 22.36% 11.95% 11.90%      46.20%  51.06% 23.16%
  102          58959      -0.93%    42968      16164  37.62%  13,169    30.65% 40.55%   9.68%     9.54%  59.77%  36.76% 41.72%
  103          60197       1.15%    44399       7454  16.79%  23,273    52.42% 18.26%   8.77%     8.74%  35.77%  63.47% 18.53%
  104          59362      -0.25%    43306       7373  17.03%  27,265    62.96% 12.83%   7.55%     3.85%  24.23%  74.20% 13.40%
  105          59344      -0.28%    43474      12628  29.05%  18,145    41.74% 28.83% 13.29%      7.54%  49.66%  48.74% 29.22%
  106          59112      -0.67%    43890      15918  36.27%  18,090    41.22% 31.23%   8.46%     7.46%  47.15%  49.84% 32.02%
  107          59702       0.32%    44509      13186  29.63%   9,775    21.96% 35.58% 16.13% 13.03%      64.74%  33.86% 35.80%
  108          59577       0.11%    44308       8132  18.35%  19,214    43.36% 17.26%   9.30% 14.04%     40.60%  58.56% 17.56%
  109          59630       0.20%    44140      14352  32.51%   6,816    15.44% 43.22% 20.13% 13.99%      77.33%  20.91% 43.82%
  110          59951       0.74%    43226      20400  47.19%  15,812    36.58% 45.72%   6.47%     3.15%  55.34%  42.80% 46.17%
  111          60009       0.84%    44096       9828  22.29%  28,221    64.00% 14.97%   5.40%     2.20%  22.58%  76.81% 15.05%
  112          59349      -0.27%    45120       8667  19.21%  33,268    73.73% 20.52%   2.37%     0.84%  23.73%  75.29% 20.64%
  113          60053       0.91%    44538      26515  59.53%  14,162    31.80% 57.48%   3.80%     1.02%  62.30%  35.43% 57.85%
  114          59867       0.60%    45872      11347  24.74%  31,580    68.84% 23.24%   1.48%     0.13%  24.85%  73.90% 23.59%
  115          59473      -0.06%    43983      23843  54.21%  15,445    35.12% 46.24%   5.64%     3.04%  54.91%  41.03% 47.95%
  116          59096      -0.70%    45079      24496  54.34%  13,789    30.59% 51.52%   5.42%     4.33%  61.28%  37.17% 52.02%
  117          58692      -1.38%    43907      23992  54.64%  16,005    36.45% 50.55%   6.02%     1.00%  57.58%  40.96% 51.03%
  118          60253       1.25%    45523      11170  24.54%  31,092    68.30% 22.78%   2.90%     0.50%  26.18%  72.17% 23.55%
  119          59260      -0.42%    44346       6186  13.95%  30,984    69.87% 13.56%   7.06%     2.38%  23.01%  75.47% 14.03%
  120          59554       0.07%    47777       8255  17.28%  31,970    66.92% 19.23%   4.69%     1.38%  25.30%  73.37% 19.65%
  121          59588       0.13%    45167       4646  10.29%  34,338    76.02% 10.67%   3.21%     2.50%  16.38%  81.94% 10.99%
  122          59628       0.20%    50232      11764  23.42%  30,717    61.15% 26.80%   5.35%     3.24%  35.38%  62.50% 27.34%
  123          59712       0.34%    46836       9822  20.97%  33,359    71.23% 22.93%   2.46%     0.47%  25.87%  72.89% 23.48%
  124          58822      -1.16%    47338      11983  25.31%  31,127    65.75% 27.91%   2.85%     0.45%  31.22%  68.48% 28.12%
  125          59922       0.69%    44330      13371  30.16%  26,468    59.71% 30.61%   4.49%     1.06%  36.15%  61.41% 31.03%
  126          59977       0.78%    45639      24550  53.79%  18,596    40.75% 54.84%   3.22%     1.00%  59.06%  39.17% 55.31%
  127          60294       1.32%    46735       7335  15.69%  32,460    69.46% 12.04%   4.20%     4.31%  20.55%  77.31% 12.68%
  128          59983       0.79%    46454      24405  52.54%  20,463    44.05% 52.10%   1.62%     0.11%  53.83%  45.50% 52.34%
  129          59891       0.64%    47950      24526  51.15%  19,698    41.08% 51.45%   2.88%     1.95%  56.29%  42.40% 51.77%
  130          60057       0.92%    45227      24946  55.16%  17,409    38.49% 53.45%   3.00%     0.61%  57.05%  40.92% 54.46%
  131          59096      -0.70%    41901       8399  20.04%  27,377    65.34% 17.21%   6.37%     2.95%  26.53%  70.19% 18.31%
  132          58652      -1.44%    46127      24292  52.66%  15,589    33.80% 55.33%   5.58%     1.99%  62.90%  34.28% 56.35%
  133          58720      -1.33%    47497      24683  51.97%  20,874    43.95% 52.85%   0.96%     0.27%  54.08%  44.96% 53.18%
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                                                           Population Summary Report
                                               Georgia State House -- Illustrative Plan
                                                                                    2016-20           2016-   NH     2016-20 NH DOJ
                         % 2020                 18+ AP % 18+ AP 18+_NH    % 18+ NH    NH    2016-20 2020 NH B+L+NHA NH White Black
District   2020 Pop.    Deviation 18+ Pop        Black   Black    White    White    BCVAP* LCVAP* ACVAP*     CVAP    CVAP* CVAP**
  134          58622       -1.49%    45621          6094  13.36%   37,015    81.14% 13.95%   1.40%     0.77%  16.13%  82.86% 14.12%
  135          59567        0.09%    46463         11107  23.91%   32,881    70.77% 25.20%   1.72%     0.31%  27.23%  71.51% 25.28%
  136          59795        0.48%    45771         13127  28.68%   29,247    63.90% 30.14%   1.99%     0.51%  32.64%  66.16% 30.24%
  137          59054       -0.77%    44954         23525  52.33%   18,260    40.62% 53.18%   3.23%     0.99%  57.40%  40.69% 53.64%
  138          58912       -1.01%    45684          8824  19.32%   33,050    72.34% 19.18%   3.68%     1.40%  24.26%  74.57% 19.26%
  139          59010       -0.84%    45522          9227  20.27%   30,132    66.19% 15.91%   6.30%     2.12%  24.33%  72.97% 16.39%
  140          59294       -0.36%    44411         25596  57.63%   14,080    31.70% 56.92%   5.30%     1.18%  63.40%  34.11% 57.54%
  141          59019       -0.83%    44677         25672  57.46%   14,194    31.77% 58.56%   5.11%     1.55%  65.22%  32.58% 59.13%
  142          58637       -1.47%    43221         22695  52.51%   16,545    38.28% 49.66%   4.84%     0.96%  55.46%  42.49% 49.88%
  143          58771       -1.24%    46323         26976  58.23%   16,568    35.77% 57.11%   1.38%     0.95%  59.44%  39.03% 57.37%
  144          60114        1.01%    47312         11819  24.98%   32,444    68.57% 25.43%   2.25%     2.15%  29.83%  68.94% 25.96%
  145          60214        1.18%    46318         23252  50.20%   20,022    43.23% 51.84%   1.80%     1.45%  55.08%  43.43% 52.65%
  146          58683       -1.39%    43280         11405  26.35%   27,704    64.01% 22.79%   4.28%     1.72%  28.79%  69.23% 23.03%
  147          58678       -1.40%    44905         12680  28.24%   27,997    62.35% 28.61%   2.01%     2.60%  33.22%  65.11% 28.79%
  148          58934       -0.97%    46271         17297  37.38%   26,485    57.24% 38.44%   1.88%     0.24%  40.56%  58.89% 38.59%
  149          58639       -1.47%    45086         14902  33.05%   24,376    54.07% 31.83%   4.47%     1.73%  38.03%  58.82% 33.28%
  150          59276       -0.39%    47050         25202  53.56%   18,026    38.31% 54.79%   2.75%     0.25%  57.79%  41.52% 55.03%
  151          59241       -0.45%    45061         13774  30.57%   27,033    59.99% 32.93%   4.65%     1.34%  38.92%  58.59% 33.27%
  152          60076        0.95%    46011         11286  24.53%   30,075    65.36% 24.91%   4.49%     0.68%  30.09%  68.86% 25.18%
  153          59038       -0.79%    46641         26724  57.30%   16,674    35.75% 58.54%   1.46%     0.99%  60.99%  37.98% 59.02%
  154          59504       -0.01%    46571         28233  60.62%   16,982    36.46% 60.79%   0.96%     0.19%  61.94%  37.20% 61.04%
  155          60014        0.85%    46698         11806  25.28%   32,639    69.89% 26.55%   2.22%     0.67%  29.45%  70.06% 26.62%
  156          59003       -0.85%    46088         14006  30.39%   27,293    59.22% 32.23%   3.87%     0.21%  36.31%  62.99% 32.39%
  157          60358        1.42%    45789         10441  22.80%   30,374    66.33% 24.05%   5.27%     0.30%  29.62%  69.25% 24.22%
  158          59859        0.58%    46261         14880  32.17%   28,359    61.30% 31.99%   1.84%     0.28%  34.11%  64.22% 32.64%
  159          60346        1.40%    45259         10408  23.00%   32,028    70.77% 23.21%   1.85%     0.53%  25.59%  72.02% 23.48%
  160          59935        0.71%    48057         10859  22.60%   32,909    68.48% 23.44%   2.47%     0.49%  26.40%  71.24% 24.80%
  161          60097        0.98%    44371         12042  27.14%   26,692    60.16% 24.00%   3.83%     1.40%  29.23%  69.16% 24.16%
  162          60308        1.34%    46733         20435  43.73%   18,984    40.62% 45.77%   7.40%     2.10%  55.26%  41.80% 46.91%
  163          60123        1.03%    48461         22045  45.49%   20,317    41.92% 50.64%   3.71%     1.66%  56.01%  43.00% 51.04%
  164          60245        1.23%    45964         10760  23.41%   27,905    60.71% 22.13%   6.17%     2.76%  31.06%  67.40% 22.71%
  165          59978        0.78%    48247         24282  50.33%   18,901    39.18% 60.67%   2.61%     0.65%  63.94%  34.13% 61.32%
  166          60098        0.99%    47467          2698    5.68%  40,194    84.68%   4.83%  2.85%     2.31%   9.99%  88.10%   5.17%
  167          60184        1.13%    45971         11624  25.29%   29,723    64.66% 26.98%   5.21%     0.76%  32.94%  65.40% 27.41%
  168          60280        1.29%    43768         19424  44.38%   17,209    39.32% 41.41% 11.59%      1.52%  54.52%  40.87% 42.98%
  169          59999        0.82%    45936         12991  28.28%   28,312    61.63% 29.93%   4.98%     0.58%  35.49%  63.58% 30.08%
  170          59885        0.63%    44632         12245  27.44%   27,626    61.90% 28.48%   4.33%     0.55%  33.37%  65.61% 28.74%
  171          60331        1.38%    46121         26778  58.06%   17,101    37.08% 59.31%   1.86%     0.19%  61.37%  36.55% 60.02%
  172          59572        0.10%    45500          9643  21.19%   30,447    66.92% 22.37%   4.62%     0.57%  27.56%  71.11% 22.50%
  173          60035        0.88%    46091         16392  35.56%   25,753    55.87% 35.84%   2.21%     0.90%  38.95%  59.95% 35.96%
  174          59852        0.57%    45760          7950  17.37%   33,060    72.25% 17.90%   3.68%     0.37%  21.95%  76.19% 17.97%
  175          59993        0.81%    44704         10805  24.17%   29,725    66.49% 20.63%   4.99%     1.08%  26.70%  71.46% 20.70%
  176          59470       -0.07%    44991         10206  22.68%   29,763    66.15% 22.45%   4.93%     0.42%  27.80%  70.66% 22.56%
  177          59992        0.81%    46014         24793  53.88%   17,082    37.12% 53.25%   3.40%     0.61%  57.26%  41.35% 53.80%
  178          59297       -0.36%    44956          7120  15.84%   34,529    76.81% 15.97%   3.47%     0.13%  19.57%  79.27% 16.24%
  179          59974        0.78%    47627         12783  26.84%   30,406    63.84% 27.71%   2.28%     1.21%  31.21%  67.07% 27.91%
  180          59412       -0.17%    45362          8261  18.21%   32,283    71.17% 17.81%   4.56%     1.37%  23.74%  73.63% 18.32%


Total      10,711,908       2.98% 8,220,274 2,607,986           31.73% 4,342,333         52.82%
Majority Districts                                              54        100                        53                              67         111   53

CVAP Source:
* 2016-20 ACS Special Tabulation                https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-block-level-2020/
Note: Citizen Voting Age Population (CVAP) percentages are disaggreagated from block-gorup level ACS estimates (survey midpoint of July 2018)
* Single race NH Black CVAP, Single Race NH Asian CVAP; **NH DOJ Black= SR NH Black CVAP+SR NH Black/White CVAP
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      User:
Plan Name: Illustrative_House
 Plan Type:


Plan Components with Population Detail
Friday, November 18, 2022                                                       4:11 PM
                                          Total     NH_Wht         AP_Blk      [Hispanic
                                     Population                                  Origin]

District 001
 County: Dade GA
           Total:                        16,251       14,786          228             364
                                                     90.99%        1.40%           2.24%
          Voting Age                     12,987       11,925          140             243
                                                     91.82%        1.08%           1.87%
 County: Walker GA
         Total:                          43,415       37,650        2,806           1,180
                                                     86.72%        6.46%           2.72%
          Voting Age                     33,814       29,928        1,826             746
                                                     88.51%        5.40%           2.21%
District 001 Total
           Total:                        59,666       52,436        3,034           1,544
                                                     87.88%        5.08%           2.59%
          Voting Age                     46,801       41,853        1,966             989
                                                     89.43%        4.20%           2.11%
District 002
 County: Catoosa GA
           Total:                         7,673        6,969          179             171
                                                     90.82%        2.33%           2.23%
          Voting Age                      5,732        5,253          119             111
                                                     91.64%        2.08%           1.94%
 County: Floyd GA
         Total:                           4,842        4,327          173             123
                                                     89.36%        3.57%           2.54%
          Voting Age                      3,891        3,499          129              98
                                                     89.93%        3.32%           2.52%
 County: Walker GA
         Total:                          24,239       22,004          858             505
                                                     90.78%        3.54%           2.08%
          Voting Age                     18,980       17,364          628             320
                                                     91.49%        3.31%           1.69%
 County: Whitfield GA
         Total:                          22,651       17,706          905          2,929
                                                     78.17%        4.00%         12.93%
          Voting Age                     17,589       14,251          592          1,900
                                                     81.02%        3.37%         10.80%
District 002 Total
           Total:                        59,405       51,006        2,115           3,728
                                                     85.86%        3.56%           6.28%
          Voting Age                     46,192       40,367        1,468           2,429
                                                     87.39%        3.18%           5.26%
District 003



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Plan Components with Population Detail                                  Illustrative_House

                                      Total     NH_Wht         AP_Blk          [Hispanic
                                 Population                                      Origin]

District 003
 County: Catoosa GA
           Total:                    60,199       52,311        2,463               2,170
                                                 86.90%        4.09%               3.60%
          Voting Age                 46,716       41,325        1,565               1,381
                                                 88.46%        3.35%               2.96%
District 003 Total
           Total:                    60,199       52,311        2,463               2,170
                                                 86.90%        4.09%               3.60%
          Voting Age                 46,716       41,325        1,565               1,381
                                                 88.46%        3.35%               2.96%
District 004
 County: Whitfield GA
           Total:                    60,125       26,469        3,386             28,751
                                                 44.02%        5.63%             47.82%
          Voting Age                 43,552       21,687        2,315             18,326
                                                 49.80%        5.32%             42.08%
District 004 Total
           Total:                    60,125       26,469        3,386             28,751
                                                 44.02%        5.63%             47.82%
          Voting Age                 43,552       21,687        2,315             18,326
                                                 49.80%        5.32%             42.08%
District 005
 County: Gordon GA
           Total:                    57,544       43,317        2,919              8,957
                                                 75.28%        5.07%             15.57%
          Voting Age                 43,500       34,084        1,939              5,592
                                                 78.35%        4.46%             12.86%
 County: Whitfield GA
         Total:                       1,417        1,077           28                263
                                                 76.01%        1.98%             18.56%
          Voting Age                  1,077          855           10                172
                                                 79.39%        0.93%             15.97%
District 005 Total
           Total:                    58,961       44,394        2,947              9,220
                                                 75.29%        5.00%             15.64%
          Voting Age                 44,577       34,939        1,949              5,764
                                                 78.38%        4.37%             12.93%
District 006
 County: Murray GA
           Total:                    39,973       32,164          556              5,914
                                                 80.46%        1.39%             14.79%
          Voting Age                 30,210       25,146          321              3,696
                                                 83.24%        1.06%             12.23%




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Plan Components with Population Detail                                  Illustrative_House

                                      Total     NH_Wht         AP_Blk          [Hispanic
                                 Population                                      Origin]

District 006
 County: Whitfield GA
           Total:                    18,671       12,623          600              4,973
                                                 67.61%        3.21%             26.63%
          Voting Age                 14,044       10,088          432              3,155
                                                 71.83%        3.08%             22.47%
District 006 Total
           Total:                    58,644       44,787        1,156             10,887
                                                 76.37%        1.97%             18.56%
          Voting Age                 44,254       35,234          753              6,851
                                                 79.62%        1.70%             15.48%
District 007
 County: Fannin GA
           Total:                    25,319       23,351          199                 753
                                                 92.23%        0.79%               2.97%
          Voting Age                 21,188       19,721          133                 505
                                                 93.08%        0.63%               2.38%
 County: Lumpkin GA
         Total:                      33,488       29,241          685               1,790
                                                 87.32%        2.05%               5.35%
          Voting Age                 27,689       24,419          507               1,345
                                                 88.19%        1.83%               4.86%
District 007 Total
           Total:                    58,807       52,592          884               2,543
                                                 89.43%        1.50%               4.32%
          Voting Age                 48,877       44,140          640               1,850
                                                 90.31%        1.31%               3.79%
District 008
 County: Habersham GA
           Total:                     4,964        4,512           98                 161
                                                 90.89%        1.97%               3.24%
          Voting Age                  4,184        3,831           69                 122
                                                 91.56%        1.65%               2.92%
 County: Rabun GA
         Total:                      16,883       14,625          210               1,452
                                                 86.63%        1.24%               8.60%
          Voting Age                 13,767       12,236          129                 928
                                                 88.88%        0.94%               6.74%
 County: Towns GA
         Total:                      12,493       11,469          168                 415
                                                 91.80%        1.34%               3.32%
          Voting Age                 10,923       10,100          137                 338
                                                 92.47%        1.25%               3.09%
 County: Union GA
         Total:                      24,632       22,646          228                 816
                                                 91.94%        0.93%               3.31%
          Voting Age                 20,808       19,351          147                 563
                                                 93.00%        0.71%               2.71%



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Plan Components with Population Detail                                  Illustrative_House

                                      Total     NH_Wht         AP_Blk          [Hispanic
                                 Population                                      Origin]

District 008
District 008 Total
           Total:                    58,972       53,252          704               2,844
                                                 90.30%        1.19%               4.82%
          Voting Age                 49,682       45,518          482               1,951
                                                 91.62%        0.97%               3.93%
District 009
 County: Dawson GA
           Total:                    26,798       23,544          392               1,605
                                                 87.86%        1.46%               5.99%
          Voting Age                 21,441       19,183          249               1,047
                                                 89.47%        1.16%               4.88%
 County: Gilmer GA
         Total:                      31,353       26,365          296              3,599
                                                 84.09%        0.94%             11.48%
          Voting Age                 25,417       22,187          161              2,158
                                                 87.29%        0.63%              8.49%
 County: Hall GA
         Total:                       1,109          957           24                  69
                                                 86.29%        2.16%               6.22%
          Voting Age                   909           792           13                  58
                                                 87.13%        1.43%               6.38%
District 009 Total
           Total:                    59,260       50,866          712               5,273
                                                 85.84%        1.20%               8.90%
          Voting Age                 47,767       42,162          423               3,263
                                                 88.27%        0.89%               6.83%
District 010
 County: Habersham GA
           Total:                    31,729       23,233        1,632              5,345
                                                 73.22%        5.14%             16.85%
          Voting Age                 24,637       18,972        1,304              3,175
                                                 77.01%        5.29%             12.89%
 County: White GA
         Total:                      28,003       24,959          721                 913
                                                 89.13%        2.57%               3.26%
          Voting Age                 22,482       20,318          484                 605
                                                 90.37%        2.15%               2.69%
District 010 Total
           Total:                    59,732       48,192        2,353              6,258
                                                 80.68%        3.94%             10.48%
          Voting Age                 47,119       39,290        1,788              3,780
                                                 83.38%        3.79%              8.02%
District 011




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 011
 County: Cherokee GA
           Total:                    25,970       19,319         1,863              3,849
                                                 74.39%         7.17%             14.82%
          Voting Age                 20,043       15,763         1,272              2,303
                                                 78.65%         6.35%             11.49%
 County: Pickens GA
         Total:                      33,216       30,122           512               1,198
                                                 90.69%         1.54%               3.61%
          Voting Age                 26,799       24,626           319                 755
                                                 91.89%         1.19%               2.82%
District 011 Total
           Total:                    59,186       49,441         2,375               5,047
                                                 83.53%         4.01%               8.53%
          Voting Age                 46,842       40,389         1,591               3,058
                                                 86.22%         3.40%               6.53%
District 012
 County: Chattooga GA
           Total:                    24,965       20,079         2,865               1,297
                                                 80.43%        11.48%               5.20%
          Voting Age                 19,416       15,885         2,235                 733
                                                 81.81%        11.51%               3.78%
 County: Floyd GA
         Total:                      33,873       26,530         4,251               1,827
                                                 78.32%        12.55%               5.39%
          Voting Age                 26,484       21,312         3,005               1,165
                                                 80.47%        11.35%               4.40%
District 012 Total
           Total:                    58,838       46,609         7,116               3,124
                                                 79.22%        12.09%               5.31%
          Voting Age                 45,900       37,197         5,240               1,898
                                                 81.04%        11.42%               4.14%
District 013
 County: Floyd GA
           Total:                    59,869       36,890        11,182              9,516
                                                 61.62%        18.68%             15.89%
          Voting Age                 45,920       30,277         7,930              5,904
                                                 65.93%        17.27%             12.86%
District 013 Total
           Total:                    59,869       36,890        11,182              9,516
                                                 61.62%        18.68%             15.89%
          Voting Age                 45,920       30,277         7,930              5,904
                                                 65.93%        17.27%             12.86%
District 014




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 014
 County: Bartow GA
           Total:                    49,922       39,862         4,057               3,817
                                                 79.85%         8.13%               7.65%
          Voting Age                 37,978       31,004         2,884               2,404
                                                 81.64%         7.59%               6.33%
 County: Cherokee GA
         Total:                       9,447        8,455           295                 361
                                                 89.50%         3.12%               3.82%
          Voting Age                  7,732        6,950           240                 284
                                                 89.89%         3.10%               3.67%
District 014 Total
           Total:                    59,369       48,317         4,352               4,178
                                                 81.38%         7.33%               7.04%
          Voting Age                 45,710       37,954         3,124               2,688
                                                 83.03%         6.83%               5.88%
District 015
 County: Bartow GA
           Total:                    58,979       40,297         9,338              6,934
                                                 68.32%        15.83%             11.76%
          Voting Age                 45,592       32,755         6,493              4,413
                                                 71.84%        14.24%              9.68%
District 015 Total
           Total:                    58,979       40,297         9,338              6,934
                                                 68.32%        15.83%             11.76%
          Voting Age                 45,592       32,755         6,493              4,413
                                                 71.84%        14.24%              9.68%
District 016
 County: Paulding GA
           Total:                    16,860       13,352         1,972                 914
                                                 79.19%        11.70%               5.42%
          Voting Age                 12,356       10,024         1,347                 540
                                                 81.13%        10.90%               4.37%
 County: Polk GA
         Total:                      42,853       30,161         5,816              5,585
                                                 70.38%        13.57%             13.03%
          Voting Age                 32,238       24,049         3,991              3,252
                                                 74.60%        12.38%             10.09%
District 016 Total
           Total:                    59,713       43,513         7,788              6,499
                                                 72.87%        13.04%             10.88%
          Voting Age                 44,594       34,073         5,338              3,792
                                                 76.41%        11.97%              8.50%
District 017




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 017
 County: Paulding GA
           Total:                    58,677       33,331        18,507               4,919
                                                 56.80%        31.54%               8.38%
          Voting Age                 43,750       26,503        12,615               3,159
                                                 60.58%        28.83%               7.22%
District 017 Total
           Total:                    58,677       33,331        18,507               4,919
                                                 56.80%        31.54%               8.38%
          Voting Age                 43,750       26,503        12,615               3,159
                                                 60.58%        28.83%               7.22%
District 018
 County: Carroll GA
           Total:                    19,214       15,595         2,233                 716
                                                 81.16%        11.62%               3.73%
          Voting Age                 14,761       12,251         1,577                 438
                                                 83.00%        10.68%               2.97%
 County: Haralson GA
         Total:                      29,919       26,825         1,541                 497
                                                 89.66%         5.15%               1.66%
          Voting Age                 22,854       20,617         1,106                 323
                                                 90.21%         4.84%               1.41%
 County: Paulding GA
         Total:                       9,748        7,932         1,023                 379
                                                 81.37%        10.49%               3.89%
          Voting Age                  7,272        6,051           691                 234
                                                 83.21%         9.50%               3.22%
District 018 Total
           Total:                    58,881       50,352         4,797               1,592
                                                 85.51%         8.15%               2.70%
          Voting Age                 44,887       38,919         3,374                 995
                                                 86.70%         7.52%               2.22%
District 019
 County: Paulding GA
           Total:                    59,050       40,334        11,738               4,399
                                                 68.30%        19.88%               7.45%
          Voting Age                 42,592       30,049         7,817               2,821
                                                 70.55%        18.35%               6.62%
District 019 Total
           Total:                    59,050       40,334        11,738               4,399
                                                 68.30%        19.88%               7.45%
          Voting Age                 42,592       30,049         7,817               2,821
                                                 70.55%        18.35%               6.62%
District 020




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 020
 County: Cherokee GA
           Total:                    60,107       44,437         5,973              6,372
                                                 73.93%         9.94%             10.60%
          Voting Age                 45,725       34,934         4,230              4,197
                                                 76.40%         9.25%              9.18%
District 020 Total
           Total:                    60,107       44,437         5,973              6,372
                                                 73.93%         9.94%             10.60%
          Voting Age                 45,725       34,934         4,230              4,197
                                                 76.40%         9.25%              9.18%
District 021
 County: Cherokee GA
           Total:                    58,907       46,729         3,463               5,300
                                                 79.33%         5.88%               9.00%
          Voting Age                 44,459       36,177         2,373               3,490
                                                 81.37%         5.34%               7.85%
District 021 Total
           Total:                    58,907       46,729         3,463               5,300
                                                 79.33%         5.88%               9.00%
          Voting Age                 44,459       36,177         2,373               3,490
                                                 81.37%         5.34%               7.85%
District 022
 County: Cherokee GA
           Total:                    30,874       20,493         3,488              4,630
                                                 66.38%        11.30%             15.00%
          Voting Age                 23,465       16,360         2,341              3,036
                                                 69.72%         9.98%             12.94%
 County: Cobb GA
         Total:                      28,586       16,687         6,402              3,253
                                                 58.37%        22.40%             11.38%
          Voting Age                 22,350       13,697         4,577              2,265
                                                 61.28%        20.48%             10.13%
District 022 Total
           Total:                    59,460       37,180         9,890              7,883
                                                 62.53%        16.63%             13.26%
          Voting Age                 45,815       30,057         6,918              5,301
                                                 65.61%        15.10%             11.57%
District 023
 County: Cherokee GA
           Total:                    40,327       29,764         2,397              6,375
                                                 73.81%         5.94%             15.81%
          Voting Age                 29,726       22,869         1,572              4,023
                                                 76.93%         5.29%             13.53%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 023
 County: Forsyth GA
           Total:                    19,444       15,729           702               1,812
                                                 80.89%         3.61%               9.32%
          Voting Age                 14,052       11,716           421               1,096
                                                 83.38%         3.00%               7.80%
District 023 Total
           Total:                    59,771       45,493         3,099              8,187
                                                 76.11%         5.18%             13.70%
          Voting Age                 43,778       34,585         1,993              5,119
                                                 79.00%         4.55%             11.69%
District 024
 County: Forsyth GA
           Total:                    59,554       35,351         4,456              6,510
                                                 59.36%         7.48%             10.93%
          Voting Age                 42,107       26,430         3,022              4,198
                                                 62.77%         7.18%              9.97%
District 024 Total
           Total:                    59,554       35,351         4,456              6,510
                                                 59.36%         7.48%             10.93%
          Voting Age                 42,107       26,430         3,022              4,198
                                                 62.77%         7.18%              9.97%
District 025
 County: Forsyth GA
           Total:                    46,134       23,971         2,200               2,342
                                                 51.96%         4.77%               5.08%
          Voting Age                 32,692       18,446         1,482               1,539
                                                 56.42%         4.53%               4.71%
 County: Fulton GA
         Total:                      13,280        6,918         1,406                 876
                                                 52.09%        10.59%               6.60%
          Voting Age                  9,828        5,416         1,025                 625
                                                 55.11%        10.43%               6.36%
District 025 Total
           Total:                    59,414       30,889         3,606               3,218
                                                 51.99%         6.07%               5.42%
          Voting Age                 42,520       23,862         2,507               2,164
                                                 56.12%         5.90%               5.09%
District 026
 County: Forsyth GA
           Total:                    59,002       36,426         2,579              7,437
                                                 61.74%         4.37%             12.60%
          Voting Age                 43,874       29,248         1,723              4,953
                                                 66.66%         3.93%             11.29%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 026
District 026 Total
           Total:                    59,002       36,426         2,579              7,437
                                                 61.74%         4.37%             12.60%
          Voting Age                 43,874       29,248         1,723              4,953
                                                 66.66%         3.93%             11.29%
District 027
 County: Hall GA
           Total:                    58,710       39,189         3,372             14,014
                                                 66.75%         5.74%             23.87%
          Voting Age                 44,978       32,023         2,351              8,906
                                                 71.20%         5.23%             19.80%
District 027 Total
           Total:                    58,710       39,189         3,372             14,014
                                                 66.75%         5.74%             23.87%
          Voting Age                 44,978       32,023         2,351              8,906
                                                 71.20%         5.23%             19.80%
District 028
 County: Forsyth GA
           Total:                    51,321       39,436         2,442              6,328
                                                 76.84%         4.76%             12.33%
          Voting Age                 37,731       29,995         1,571              3,915
                                                 79.50%         4.16%             10.38%
 County: Hall GA
         Total:                       7,691        6,041           233              1,096
                                                 78.55%         3.03%             14.25%
          Voting Age                  6,211        5,061           162                727
                                                 81.48%         2.61%             11.71%
District 028 Total
           Total:                    59,012       45,477         2,675              7,424
                                                 77.06%         4.53%             12.58%
          Voting Age                 43,942       35,056         1,733              4,642
                                                 79.78%         3.94%             10.56%
District 029
 County: Hall GA
           Total:                    59,015       21,511         8,074             27,153
                                                 36.45%        13.68%             46.01%
          Voting Age                 43,133       18,570         5,778             16,961
                                                 43.05%        13.40%             39.32%
District 029 Total
           Total:                    59,015       21,511         8,074             27,153
                                                 36.45%        13.68%             46.01%
          Voting Age                 43,133       18,570         5,778             16,961
                                                 43.05%        13.40%             39.32%
District 030




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 030
 County: Gwinnett GA
           Total:                     8,620        5,402         1,529                 866
                                                 62.67%        17.74%              10.05%
          Voting Age                  6,301        4,152           998                 595
                                                 65.89%        15.84%               9.44%
 County: Hall GA
         Total:                      50,646       34,325         3,657              10,262
                                                 67.77%         7.22%              20.26%
          Voting Age                 39,113       27,864         2,680               6,732
                                                 71.24%         6.85%              17.21%
District 030 Total
           Total:                    59,266       39,727         5,186              11,128
                                                 67.03%         8.75%              18.78%
          Voting Age                 45,414       32,016         3,678               7,327
                                                 70.50%         8.10%              16.13%
District 031
 County: Hall GA
           Total:                     4,331        2,141           276               1,820
                                                 49.43%         6.37%              42.02%
          Voting Age                  3,100        1,733           199               1,091
                                                 55.90%         6.42%              35.19%
 County: Jackson GA
         Total:                      55,422       42,553         4,567                5,156
                                                 76.78%         8.24%                9.30%
          Voting Age                 40,669       31,969         3,126                3,317
                                                 78.61%         7.69%                8.16%
District 031 Total
           Total:                    59,753       44,694         4,843               6,976
                                                 74.80%         8.11%              11.67%
          Voting Age                 43,769       33,702         3,325               4,408
                                                 77.00%         7.60%              10.07%
District 032
 County: Banks GA
           Total:                    18,035       15,578           589                1,164
                                                 86.38%         3.27%                6.45%
          Voting Age                 13,900       12,278           365                  721
                                                 88.33%         2.63%                5.19%
 County: Habersham GA
         Total:                       9,338        6,949           435               1,374
                                                 74.42%         4.66%              14.71%
          Voting Age                  7,057        5,496           302                 818
                                                 77.88%         4.28%              11.59%
 County: Hall GA
         Total:                       5,309        4,229           320                 533
                                                 79.66%         6.03%              10.04%
          Voting Age                  4,100        3,371           214                 339
                                                 82.22%         5.22%               8.27%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 032
 County: Stephens GA
           Total:                    26,784       21,323         3,527                 857
                                                 79.61%        13.17%               3.20%
          Voting Age                 21,163       17,310         2,467                 578
                                                 81.79%        11.66%               2.73%
District 032 Total
           Total:                    59,466       48,079         4,871               3,928
                                                 80.85%         8.19%               6.61%
          Voting Age                 46,220       38,455         3,348               2,456
                                                 83.20%         7.24%               5.31%
District 033
 County: Franklin GA
           Total:                    23,424       19,262         2,207               1,121
                                                 82.23%         9.42%               4.79%
          Voting Age                 18,307       15,466         1,523                 678
                                                 84.48%         8.32%               3.70%
 County: Hart GA
         Total:                      25,828       19,250         4,732                 931
                                                 74.53%        18.32%               3.60%
          Voting Age                 20,436       15,761         3,447                 578
                                                 77.12%        16.87%               2.83%
 County: Madison GA
         Total:                       9,935        8,802           383                 363
                                                 88.60%         3.86%               3.65%
          Voting Age                  7,755        7,019           237                 201
                                                 90.51%         3.06%               2.59%
District 033 Total
           Total:                    59,187       47,314         7,322               2,415
                                                 79.94%        12.37%               4.08%
          Voting Age                 46,498       38,246         5,207               1,457
                                                 82.25%        11.20%               3.13%
District 034
 County: Cobb GA
           Total:                    59,875       39,871        10,102               5,427
                                                 66.59%        16.87%               9.06%
          Voting Age                 45,758       31,678         7,169               3,590
                                                 69.23%        15.67%               7.85%
District 034 Total
           Total:                    59,875       39,871        10,102               5,427
                                                 66.59%        16.87%               9.06%
          Voting Age                 45,758       31,678         7,169               3,590
                                                 69.23%        15.67%               7.85%
District 035




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 035
 County: Cobb GA
           Total:                    60,031       30,113        18,226              7,631
                                                 50.16%        30.36%             12.71%
          Voting Age                 48,436       25,993        13,735              5,406
                                                 53.66%        28.36%             11.16%
District 035 Total
           Total:                    60,031       30,113        18,226              7,631
                                                 50.16%        30.36%             12.71%
          Voting Age                 48,436       25,993        13,735              5,406
                                                 53.66%        28.36%             11.16%
District 036
 County: Cobb GA
           Total:                    59,852       40,707        11,039               4,453
                                                 68.01%        18.44%               7.44%
          Voting Age                 44,787       31,699         7,613               2,905
                                                 70.78%        17.00%               6.49%
District 036 Total
           Total:                    59,852       40,707        11,039               4,453
                                                 68.01%        18.44%               7.44%
          Voting Age                 44,787       31,699         7,613               2,905
                                                 70.78%        17.00%               6.49%
District 037
 County: Cobb GA
           Total:                    59,176       24,970        17,171             12,993
                                                 42.20%        29.02%             21.96%
          Voting Age                 46,223       21,382        13,027              8,618
                                                 46.26%        28.18%             18.64%
District 037 Total
           Total:                    59,176       24,970        17,171             12,993
                                                 42.20%        29.02%             21.96%
          Voting Age                 46,223       21,382        13,027              8,618
                                                 46.26%        28.18%             18.64%
District 038
 County: Cobb GA
           Total:                    59,317       15,382        33,760              8,730
                                                 25.93%        56.91%             14.72%
          Voting Age                 44,839       13,498        24,318              5,657
                                                 30.10%        54.23%             12.62%
District 038 Total
           Total:                    59,317       15,382        33,760              8,730
                                                 25.93%        56.91%             14.72%
          Voting Age                 44,839       13,498        24,318              5,657
                                                 30.10%        54.23%             12.62%
District 039




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 039
 County: Cobb GA
           Total:                    59,381       12,233        33,016             12,942
                                                 20.60%        55.60%             21.79%
          Voting Age                 44,436       10,429        24,569              8,292
                                                 23.47%        55.29%             18.66%
District 039 Total
           Total:                    59,381       12,233        33,016             12,942
                                                 20.60%        55.60%             21.79%
          Voting Age                 44,436       10,429        24,569              8,292
                                                 23.47%        55.29%             18.66%
District 040
 County: Cobb GA
           Total:                    59,044       28,894        20,179               3,795
                                                 48.94%        34.18%               6.43%
          Voting Age                 47,976       24,534        15,821               2,842
                                                 51.14%        32.98%               5.92%
District 040 Total
           Total:                    59,044       28,894        20,179               3,795
                                                 48.94%        34.18%               6.43%
          Voting Age                 47,976       24,534        15,821               2,842
                                                 51.14%        32.98%               5.92%
District 041
 County: Cobb GA
           Total:                    60,122       14,079        23,846             19,971
                                                 23.42%        39.66%             33.22%
          Voting Age                 45,271       12,502        17,816             12,927
                                                 27.62%        39.35%             28.55%
District 041 Total
           Total:                    60,122       14,079        23,846             19,971
                                                 23.42%        39.66%             33.22%
          Voting Age                 45,271       12,502        17,816             12,927
                                                 27.62%        39.35%             28.55%
District 042
 County: Cobb GA
           Total:                    59,620       21,149        20,726             12,217
                                                 35.47%        34.76%             20.49%
          Voting Age                 48,525       18,923        16,353              8,436
                                                 39.00%        33.70%             17.38%
District 042 Total
           Total:                    59,620       21,149        20,726             12,217
                                                 35.47%        34.76%             20.49%
          Voting Age                 48,525       18,923        16,353              8,436
                                                 39.00%        33.70%             17.38%
District 043




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 043
 County: Cobb GA
           Total:                    59,464       25,759        16,346              9,424
                                                 43.32%        27.49%             15.85%
          Voting Age                 47,033       21,781        12,476              6,653
                                                 46.31%        26.53%             14.15%
District 043 Total
           Total:                    59,464       25,759        16,346              9,424
                                                 43.32%        27.49%             15.85%
          Voting Age                 47,033       21,781        12,476              6,653
                                                 46.31%        26.53%             14.15%
District 044
 County: Cherokee GA
           Total:                    21,989       14,792         2,616              3,087
                                                 67.27%        11.90%             14.04%
          Voting Age                 17,142       12,047         1,838              2,121
                                                 70.28%        10.72%             12.37%
 County: Cobb GA
         Total:                      38,013       24,033         5,374              4,110
                                                 63.22%        14.14%             10.81%
          Voting Age                 29,631       19,612         3,797              2,804
                                                 66.19%        12.81%              9.46%
District 044 Total
           Total:                    60,002       38,825         7,990              7,197
                                                 64.71%        13.32%             11.99%
          Voting Age                 46,773       31,659         5,635              4,925
                                                 67.69%        12.05%             10.53%
District 045
 County: Cobb GA
           Total:                    59,738       43,186         3,303               3,283
                                                 72.29%         5.53%               5.50%
          Voting Age                 44,023       32,991         2,324               2,136
                                                 74.94%         5.28%               4.85%
District 045 Total
           Total:                    59,738       43,186         3,303               3,283
                                                 72.29%         5.53%               5.50%
          Voting Age                 44,023       32,991         2,324               2,136
                                                 74.94%         5.28%               4.85%
District 046
 County: Cherokee GA
           Total:                    15,178       10,695         1,451              1,858
                                                 70.46%         9.56%             12.24%
          Voting Age                 11,572        8,435         1,014              1,283
                                                 72.89%         8.76%             11.09%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 046
 County: Cobb GA
           Total:                    43,930       32,119         3,626               3,011
                                                 73.11%         8.25%               6.85%
          Voting Age                 32,560       24,581         2,546               1,974
                                                 75.49%         7.82%               6.06%
District 046 Total
           Total:                    59,108       42,814         5,077               4,869
                                                 72.43%         8.59%               8.24%
          Voting Age                 44,132       33,016         3,560               3,257
                                                 74.81%         8.07%               7.38%
District 047
 County: Cherokee GA
           Total:                     3,821        3,183           141                 279
                                                 83.30%         3.69%               7.30%
          Voting Age                  3,064        2,620            96                 178
                                                 85.51%         3.13%               5.81%
 County: Fulton GA
         Total:                      55,235       33,250         6,444               4,332
                                                 60.20%        11.67%               7.84%
          Voting Age                 40,829       25,416         4,612               3,047
                                                 62.25%        11.30%               7.46%
District 047 Total
           Total:                    59,056       36,433         6,585               4,611
                                                 61.69%        11.15%               7.81%
          Voting Age                 43,893       28,036         4,708               3,225
                                                 63.87%        10.73%               7.35%
District 048
 County: Fulton GA
           Total:                    43,976       24,311         5,589              7,163
                                                 55.28%        12.71%             16.29%
          Voting Age                 33,385       19,485         4,110              4,800
                                                 58.36%        12.31%             14.38%
 County: Gwinnett GA
         Total:                      15,027       10,532         1,627               1,154
                                                 70.09%        10.83%               7.68%
          Voting Age                 11,394        8,173         1,169                 756
                                                 71.73%        10.26%               6.64%
District 048 Total
           Total:                    59,003       34,843         7,216              8,317
                                                 59.05%        12.23%             14.10%
          Voting Age                 44,779       27,658         5,279              5,556
                                                 61.77%        11.79%             12.41%
District 049




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 049
 County: Fulton GA
           Total:                    59,153       40,782         5,234               4,473
                                                 68.94%         8.85%               7.56%
          Voting Age                 45,263       32,354         3,813               3,031
                                                 71.48%         8.42%               6.70%
District 049 Total
           Total:                    59,153       40,782         5,234               4,473
                                                 68.94%         8.85%               7.56%
          Voting Age                 45,263       32,354         3,813               3,031
                                                 71.48%         8.42%               6.70%
District 050
 County: Fulton GA
           Total:                    59,523       24,729         7,763               4,202
                                                 41.55%        13.04%               7.06%
          Voting Age                 43,940       19,496         5,450               2,796
                                                 44.37%        12.40%               6.36%
District 050 Total
           Total:                    59,523       24,729         7,763               4,202
                                                 41.55%        13.04%               7.06%
          Voting Age                 43,940       19,496         5,450               2,796
                                                 44.37%        12.40%               6.36%
District 051
 County: Fulton GA
           Total:                    58,952       30,076        14,766              9,119
                                                 51.02%        25.05%             15.47%
          Voting Age                 47,262       25,679        11,193              6,291
                                                 54.33%        23.68%             13.31%
District 051 Total
           Total:                    58,952       30,076        14,766              9,119
                                                 51.02%        25.05%             15.47%
          Voting Age                 47,262       25,679        11,193              6,291
                                                 54.33%        23.68%             13.31%
District 052
 County: DeKalb GA
           Total:                    28,300       15,671         3,815               1,890
                                                 55.37%        13.48%               6.68%
          Voting Age                 21,991       12,400         3,074               1,394
                                                 56.39%        13.98%               6.34%
 County: Fulton GA
         Total:                      31,511       16,511         5,646               2,883
                                                 52.40%        17.92%               9.15%
          Voting Age                 26,534       14,355         4,684               2,204
                                                 54.10%        17.65%               8.31%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 052
District 052 Total
           Total:                    59,811       32,182         9,461               4,773
                                                 53.81%        15.82%               7.98%
          Voting Age                 48,525       26,755         7,758               3,598
                                                 55.14%        15.99%               7.41%
District 053
 County: Fulton GA
           Total:                    59,953       42,146         8,685               4,919
                                                 70.30%        14.49%               8.20%
          Voting Age                 46,944       33,426         6,819               3,494
                                                 71.20%        14.53%               7.44%
District 053 Total
           Total:                    59,953       42,146         8,685               4,919
                                                 70.30%        14.49%               8.20%
          Voting Age                 46,944       33,426         6,819               3,494
                                                 71.20%        14.53%               7.44%
District 054
 County: Fulton GA
           Total:                    60,083       36,671         9,048              9,115
                                                 61.03%        15.06%             15.17%
          Voting Age                 50,338       31,705         7,789              6,436
                                                 62.98%        15.47%             12.79%
District 054 Total
           Total:                    60,083       36,671         9,048              9,115
                                                 61.03%        15.06%             15.17%
          Voting Age                 50,338       31,705         7,789              6,436
                                                 62.98%        15.47%             12.79%
District 055
 County: Fulton GA
           Total:                    59,971       20,257        34,374               3,080
                                                 33.78%        57.32%               5.14%
          Voting Age                 49,255       17,490        27,279               2,450
                                                 35.51%        55.38%               4.97%
District 055 Total
           Total:                    59,971       20,257        34,374               3,080
                                                 33.78%        57.32%               5.14%
          Voting Age                 49,255       17,490        27,279               2,450
                                                 35.51%        55.38%               4.97%
District 056
 County: Fulton GA
           Total:                    58,929       20,055        29,016               3,425
                                                 34.03%        49.24%               5.81%
          Voting Age                 52,757       19,509        23,993               3,082
                                                 36.98%        45.48%               5.84%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 056
District 056 Total
           Total:                    58,929       20,055        29,016               3,425
                                                 34.03%        49.24%               5.81%
          Voting Age                 52,757       19,509        23,993               3,082
                                                 36.98%        45.48%               5.84%
District 057
 County: Fulton GA
           Total:                    59,969       37,712        10,691               5,294
                                                 62.89%        17.83%               8.83%
          Voting Age                 52,097       33,156         9,411               4,143
                                                 63.64%        18.06%               7.95%
District 057 Total
           Total:                    59,969       37,712        10,691               5,294
                                                 62.89%        17.83%               8.83%
          Voting Age                 52,097       33,156         9,411               4,143
                                                 63.64%        18.06%               7.95%
District 058
 County: Fulton GA
           Total:                    59,057       14,752        39,036               2,973
                                                 24.98%        66.10%               5.03%
          Voting Age                 50,514       13,923        31,845               2,562
                                                 27.56%        63.04%               5.07%
District 058 Total
           Total:                    59,057       14,752        39,036               2,973
                                                 24.98%        66.10%               5.03%
          Voting Age                 50,514       13,923        31,845               2,562
                                                 27.56%        63.04%               5.07%
District 059
 County: Fulton GA
           Total:                    59,434       11,510        43,468               2,647
                                                 19.37%        73.14%               4.45%
          Voting Age                 49,179       10,840        34,470               2,177
                                                 22.04%        70.09%               4.43%
District 059 Total
           Total:                    59,434       11,510        43,468               2,647
                                                 19.37%        73.14%               4.45%
          Voting Age                 49,179       10,840        34,470               2,177
                                                 22.04%        70.09%               4.43%
District 060
 County: Fulton GA
           Total:                    59,709       15,952        38,562               3,504
                                                 26.72%        64.58%               5.87%
          Voting Age                 45,490       12,778        29,061               2,324
                                                 28.09%        63.88%               5.11%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 060
District 060 Total
           Total:                    59,709       15,952        38,562               3,504
                                                 26.72%        64.58%               5.87%
          Voting Age                 45,490       12,778        29,061               2,324
                                                 28.09%        63.88%               5.11%
District 061
 County: Douglas GA
           Total:                    30,206        8,274        16,654              4,662
                                                 27.39%        55.13%             15.43%
          Voting Age                 23,160        7,154        12,498              2,923
                                                 30.89%        53.96%             12.62%
 County: Fulton GA
         Total:                      29,096          496        27,881                 732
                                                  1.70%        95.82%               2.52%
          Voting Age                 22,287          459        21,264                 535
                                                  2.06%        95.41%               2.40%
District 061 Total
           Total:                    59,302        8,770        44,535               5,394
                                                 14.79%        75.10%               9.10%
          Voting Age                 45,447        7,613        33,762               3,458
                                                 16.75%        74.29%               7.61%
District 062
 County: Fulton GA
           Total:                    59,450       10,210        43,732               4,522
                                                 17.17%        73.56%               7.61%
          Voting Age                 46,426        8,852        33,548               3,172
                                                 19.07%        72.26%               6.83%
District 062 Total
           Total:                    59,450       10,210        43,732               4,522
                                                 17.17%        73.56%               7.61%
          Voting Age                 46,426        8,852        33,548               3,172
                                                 19.07%        72.26%               6.83%
District 063
 County: Fulton GA
           Total:                    59,381        9,942        42,146              6,185
                                                 16.74%        70.98%             10.42%
          Voting Age                 45,043        8,658        31,229              4,173
                                                 19.22%        69.33%              9.26%
District 063 Total
           Total:                    59,381        9,942        42,146              6,185
                                                 16.74%        70.98%             10.42%
          Voting Age                 45,043        8,658        31,229              4,173
                                                 19.22%        69.33%              9.26%
District 064




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 064
 County: Douglas GA
           Total:                    35,576       19,569        11,235               3,286
                                                 55.01%        31.58%               9.24%
          Voting Age                 26,860       15,711         7,946               2,080
                                                 58.49%        29.58%               7.74%
 County: Paulding GA
         Total:                      24,326       13,495         8,056               1,953
                                                 55.48%        33.12%               8.03%
          Voting Age                 18,028       10,439         5,694               1,220
                                                 57.90%        31.58%               6.77%
District 064 Total
           Total:                    59,902       33,064        19,291               5,239
                                                 55.20%        32.20%               8.75%
          Voting Age                 44,888       26,150        13,640               3,300
                                                 58.26%        30.39%               7.35%
District 065
 County: Coweta GA
           Total:                    13,008       10,020         1,621                 703
                                                 77.03%        12.46%               5.40%
          Voting Age                  9,714        7,597         1,190                 432
                                                 78.21%        12.25%               4.45%
 County: Douglas GA
         Total:                      19,408        4,333        13,161               1,561
                                                 22.33%        67.81%               8.04%
          Voting Age                 14,130        3,529         9,286               1,006
                                                 24.98%        65.72%               7.12%
 County: Fulton GA
         Total:                      27,048        3,217        22,920                 843
                                                 11.89%        84.74%               3.12%
          Voting Age                 20,542        2,837        17,035                 573
                                                 13.81%        82.93%               2.79%
District 065 Total
           Total:                    59,464       17,570        37,702               3,107
                                                 29.55%        63.40%               5.23%
          Voting Age                 44,386       13,963        27,511               2,011
                                                 31.46%        61.98%               4.53%
District 066
 County: Douglas GA
           Total:                    59,047       17,701        33,210              6,526
                                                 29.98%        56.24%             11.05%
          Voting Age                 44,278       15,022        23,647              4,203
                                                 33.93%        53.41%              9.49%
District 066 Total
           Total:                    59,047       17,701        33,210              6,526
                                                 29.98%        56.24%             11.05%
          Voting Age                 44,278       15,022        23,647              4,203
                                                 33.93%        53.41%              9.49%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 067
 County: Coweta GA
           Total:                    17,272       13,678         1,374               1,195
                                                 79.19%         7.96%               6.92%
          Voting Age                 13,061       10,535           996                 802
                                                 80.66%         7.63%               6.14%
 County: Fulton GA
         Total:                      41,863        3,525        34,064               3,958
                                                  8.42%        81.37%               9.45%
          Voting Age                 31,238        3,135        25,103               2,633
                                                 10.04%        80.36%               8.43%
District 067 Total
           Total:                    59,135       17,203        35,438               5,153
                                                 29.09%        59.93%               8.71%
          Voting Age                 44,299       13,670        26,099               3,435
                                                 30.86%        58.92%               7.75%
District 068
 County: Fayette GA
           Total:                    29,719       17,169         7,094              3,128
                                                 57.77%        23.87%             10.53%
          Voting Age                 22,798       13,983         5,151              2,005
                                                 61.33%        22.59%              8.79%
 County: Fulton GA
         Total:                      29,758        1,357        27,095               1,211
                                                  4.56%        91.05%               4.07%
          Voting Age                 22,037        1,233        19,843                 832
                                                  5.60%        90.04%               3.78%
District 068 Total
           Total:                    59,477       18,526        34,189               4,339
                                                 31.15%        57.48%               7.30%
          Voting Age                 44,835       15,216        24,994               2,837
                                                 33.94%        55.75%               6.33%
District 069
 County: Fayette GA
           Total:                    39,018       19,586        13,922               2,818
                                                 50.20%        35.68%               7.22%
          Voting Age                 30,502       16,150        10,501               1,836
                                                 52.95%        34.43%               6.02%
 County: Fulton GA
         Total:                      21,379          414        20,058                 846
                                                  1.94%        93.82%               3.96%
          Voting Age                 15,994          339        15,059                 534
                                                  2.12%        94.15%               3.34%
District 069 Total
           Total:                    60,397       20,000        33,980               3,664
                                                 33.11%        56.26%               6.07%
          Voting Age                 46,496       16,489        25,560               2,370
                                                 35.46%        54.97%               5.10%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 070
 County: Carroll GA
           Total:                     2,854        2,523           148                  62
                                                 88.40%         5.19%               2.17%
          Voting Age                  2,259        2,008           106                  45
                                                 88.89%         4.69%               1.99%
 County: Coweta GA
         Total:                      56,267       30,887        17,602               5,306
                                                 54.89%        31.28%               9.43%
          Voting Age                 42,990       24,999        12,485               3,556
                                                 58.15%        29.04%               8.27%
District 070 Total
           Total:                    59,121       33,410        17,750               5,368
                                                 56.51%        30.02%               9.08%
          Voting Age                 45,249       27,007        12,591               3,601
                                                 59.69%        27.83%               7.96%
District 071
 County: Carroll GA
           Total:                    59,415       41,147        11,929               4,047
                                                 69.25%        20.08%               6.81%
          Voting Age                 44,604       31,956         8,329               2,541
                                                 71.64%        18.67%               5.70%
District 071 Total
           Total:                    59,415       41,147        11,929               4,047
                                                 69.25%        20.08%               6.81%
          Voting Age                 44,604       31,956         8,329               2,541
                                                 71.64%        18.67%               5.70%
District 072
 County: Carroll GA
           Total:                    37,665       21,460        10,308              4,761
                                                 56.98%        27.37%             12.64%
          Voting Age                 29,372       17,588         7,815              3,105
                                                 59.88%        26.61%             10.57%
 County: Heard GA
         Total:                      11,412        9,589         1,142                 253
                                                 84.03%        10.01%               2.22%
          Voting Age                  8,698        7,407           832                 153
                                                 85.16%         9.57%               1.76%
 County: Troup GA
         Total:                      10,281        7,225         2,312                 359
                                                 70.28%        22.49%               3.49%
          Voting Age                  7,843        5,694         1,628                 235
                                                 72.60%        20.76%               3.00%
District 072 Total
           Total:                    59,358       38,274        13,762               5,373
                                                 64.48%        23.18%               9.05%
          Voting Age                 45,913       30,689        10,275               3,493
                                                 66.84%        22.38%               7.61%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 073
 County: Coweta GA
           Total:                    31,608       22,361         4,579               2,547
                                                 70.74%        14.49%               8.06%
          Voting Age                 24,269       17,718         3,242               1,753
                                                 73.01%        13.36%               7.22%
 County: Fayette GA
         Total:                      28,581       20,434         2,807               2,063
                                                 71.50%         9.82%               7.22%
          Voting Age                 21,515       15,982         1,925               1,371
                                                 74.28%         8.95%               6.37%
District 073 Total
           Total:                    60,189       42,795         7,386               4,610
                                                 71.10%        12.27%               7.66%
          Voting Age                 45,784       33,700         5,167               3,124
                                                 73.61%        11.29%               6.82%
District 074
 County: Clayton GA
           Total:                    34,646        3,046        27,920               3,336
                                                  8.79%        80.59%               9.63%
          Voting Age                 25,346        2,679        20,094               2,158
                                                 10.57%        79.28%               8.51%
 County: Henry GA
         Total:                      18,397        7,178         9,234               1,580
                                                 39.02%        50.19%               8.59%
          Voting Age                 13,441        5,750         6,374                 953
                                                 42.78%        47.42%               7.09%
 County: Spalding GA
         Total:                       6,933        5,040         1,037                 613
                                                 72.70%        14.96%               8.84%
          Voting Age                  5,452        4,090           735                 417
                                                 75.02%        13.48%               7.65%
District 074 Total
           Total:                    59,976       15,264        38,191               5,529
                                                 25.45%        63.68%               9.22%
          Voting Age                 44,239       12,519        27,203               3,528
                                                 28.30%        61.49%               7.97%
District 075
 County: Clayton GA
           Total:                    60,164        4,575        44,430              8,925
                                                  7.60%        73.85%             14.83%
          Voting Age                 44,354        4,141        32,528              5,753
                                                  9.34%        73.34%             12.97%
District 075 Total
           Total:                    60,164        4,575        44,430              8,925
                                                  7.60%        73.85%             14.83%
          Voting Age                 44,354        4,141        32,528              5,753
                                                  9.34%        73.34%             12.97%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 076
 County: Clayton GA
           Total:                    58,905        4,784        41,669              7,754
                                                  8.12%        70.74%             13.16%
          Voting Age                 43,809        4,323        30,710              4,888
                                                  9.87%        70.10%             11.16%
District 076 Total
           Total:                    58,905        4,784        41,669              7,754
                                                  8.12%        70.74%             13.16%
          Voting Age                 43,809        4,323        30,710              4,888
                                                  9.87%        70.10%             11.16%
District 077
 County: Clayton GA
           Total:                    36,866        1,640        31,151               3,394
                                                  4.45%        84.50%               9.21%
          Voting Age                 27,816        1,488        23,531               2,204
                                                  5.35%        84.60%               7.92%
 County: Fayette GA
         Total:                      21,876       10,955         8,253               1,471
                                                 50.08%        37.73%               6.72%
          Voting Age                 16,983        8,987         6,151                 956
                                                 52.92%        36.22%               5.63%
District 077 Total
           Total:                    58,742       12,595        39,404               4,865
                                                 21.44%        67.08%               8.28%
          Voting Age                 44,799       10,475        29,682               3,160
                                                 23.38%        66.26%               7.05%
District 078
 County: Clayton GA
           Total:                    45,741        6,668        31,794              5,732
                                                 14.58%        69.51%             12.53%
          Voting Age                 34,457        6,017        23,339              3,756
                                                 17.46%        67.73%             10.90%
 County: Henry GA
         Total:                      13,447        2,734         8,212                 908
                                                 20.33%        61.07%               6.75%
          Voting Age                 10,444        2,455         6,089                 653
                                                 23.51%        58.30%               6.25%
District 078 Total
           Total:                    59,188        9,402        40,006              6,640
                                                 15.88%        67.59%             11.22%
          Voting Age                 44,901        8,472        29,428              4,409
                                                 18.87%        65.54%              9.82%
District 079




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 079
 County: Clayton GA
           Total:                    58,624        4,416        37,939             13,002
                                                  7.53%        64.72%             22.18%
          Voting Age                 42,548        3,999        27,466              8,333
                                                  9.40%        64.55%             19.58%
District 079 Total
           Total:                    58,624        4,416        37,939             13,002
                                                  7.53%        64.72%             22.18%
          Voting Age                 42,548        3,999        27,466              8,333
                                                  9.40%        64.55%             19.58%
District 080
 County: DeKalb GA
           Total:                    59,461       26,769         8,128             15,559
                                                 45.02%        13.67%             26.17%
          Voting Age                 44,784       21,330         6,350             10,356
                                                 47.63%        14.18%             23.12%
District 080 Total
           Total:                    59,461       26,769         8,128             15,559
                                                 45.02%        13.67%             26.17%
          Voting Age                 44,784       21,330         6,350             10,356
                                                 47.63%        14.18%             23.12%
District 081
 County: DeKalb GA
           Total:                    59,007       26,127        12,487             14,504
                                                 44.28%        21.16%             24.58%
          Voting Age                 46,259       21,746        10,099              9,676
                                                 47.01%        21.83%             20.92%
District 081 Total
           Total:                    59,007       26,127        12,487             14,504
                                                 44.28%        21.16%             24.58%
          Voting Age                 46,259       21,746        10,099              9,676
                                                 47.01%        21.83%             20.92%
District 082
 County: DeKalb GA
           Total:                    59,724       36,945         9,763               4,494
                                                 61.86%        16.35%               7.52%
          Voting Age                 50,238       31,380         8,455               3,410
                                                 62.46%        16.83%               6.79%
District 082 Total
           Total:                    59,724       36,945         9,763               4,494
                                                 61.86%        16.35%               7.52%
          Voting Age                 50,238       31,380         8,455               3,410
                                                 62.46%        16.83%               6.79%
District 083




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 083
 County: DeKalb GA
           Total:                    59,416       26,221         8,327             20,050
                                                 44.13%        14.01%             33.75%
          Voting Age                 46,581       22,311         7,044             13,260
                                                 47.90%        15.12%             28.47%
District 083 Total
           Total:                    59,416       26,221         8,327             20,050
                                                 44.13%        14.01%             33.75%
          Voting Age                 46,581       22,311         7,044             13,260
                                                 47.90%        15.12%             28.47%
District 084
 County: DeKalb GA
           Total:                    59,862       12,637        43,909               2,034
                                                 21.11%        73.35%               3.40%
          Voting Age                 47,350       10,081        34,877               1,400
                                                 21.29%        73.66%               2.96%
District 084 Total
           Total:                    59,862       12,637        43,909               2,034
                                                 21.11%        73.35%               3.40%
          Voting Age                 47,350       10,081        34,877               1,400
                                                 21.29%        73.66%               2.96%
District 085
 County: DeKalb GA
           Total:                    59,373       10,143        37,650               3,558
                                                 17.08%        63.41%               5.99%
          Voting Age                 46,308        9,022        29,041               2,742
                                                 19.48%        62.71%               5.92%
District 085 Total
           Total:                    59,373       10,143        37,650               3,558
                                                 17.08%        63.41%               5.99%
          Voting Age                 46,308        9,022        29,041               2,742
                                                 19.48%        62.71%               5.92%
District 086
 County: DeKalb GA
           Total:                    59,205        6,276        44,458               2,750
                                                 10.60%        75.09%               4.64%
          Voting Age                 44,614        5,391        33,485               1,912
                                                 12.08%        75.05%               4.29%
District 086 Total
           Total:                    59,205        6,276        44,458               2,750
                                                 10.60%        75.09%               4.64%
          Voting Age                 44,614        5,391        33,485               1,912
                                                 12.08%        75.05%               4.29%
District 087




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 087
 County: DeKalb GA
           Total:                    59,709        6,857        44,195               4,613
                                                 11.48%        74.02%               7.73%
          Voting Age                 45,615        6,159        33,336               3,051
                                                 13.50%        73.08%               6.69%
District 087 Total
           Total:                    59,709        6,857        44,195               4,613
                                                 11.48%        74.02%               7.73%
          Voting Age                 45,615        6,159        33,336               3,051
                                                 13.50%        73.08%               6.69%
District 088
 County: DeKalb GA
           Total:                    47,844        7,972        34,877               3,532
                                                 16.66%        72.90%               7.38%
          Voting Age                 37,310        7,078        26,554               2,420
                                                 18.97%        71.17%               6.49%
 County: Gwinnett GA
         Total:                      11,845        1,569         3,638              3,307
                                                 13.25%        30.71%             27.92%
          Voting Age                  8,763        1,354         2,633              2,175
                                                 15.45%        30.05%             24.82%
District 088 Total
           Total:                    59,689        9,541        38,515              6,839
                                                 15.98%        64.53%             11.46%
          Voting Age                 46,073        8,432        29,187              4,595
                                                 18.30%        63.35%              9.97%
District 089
 County: DeKalb GA
           Total:                    59,866       18,189        37,494               2,275
                                                 30.38%        62.63%               3.80%
          Voting Age                 46,198       14,355        28,890               1,581
                                                 31.07%        62.54%               3.42%
District 089 Total
           Total:                    59,866       18,189        37,494               2,275
                                                 30.38%        62.63%               3.80%
          Voting Age                 46,198       14,355        28,890               1,581
                                                 31.07%        62.54%               3.42%
District 090
 County: DeKalb GA
           Total:                    59,812       19,190        35,965               2,784
                                                 32.08%        60.13%               4.65%
          Voting Age                 48,015       16,315        28,082               2,045
                                                 33.98%        58.49%               4.26%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 090
District 090 Total
           Total:                    59,812       19,190        35,965               2,784
                                                 32.08%        60.13%               4.65%
          Voting Age                 48,015       16,315        28,082               2,045
                                                 33.98%        58.49%               4.26%
District 091
 County: DeKalb GA
           Total:                    19,700          398        18,867                 485
                                                  2.02%        95.77%               2.46%
          Voting Age                 14,941          337        14,323                 304
                                                  2.26%        95.86%               2.03%
 County: Henry GA
         Total:                      34,420       12,020        19,135               2,339
                                                 34.92%        55.59%               6.80%
          Voting Age                 26,892       10,238        14,387               1,456
                                                 38.07%        53.50%               5.41%
 County: Rockdale GA
         Total:                       4,781        1,991         2,458                 199
                                                 41.64%        51.41%               4.16%
          Voting Age                  3,817        1,702         1,879                 125
                                                 44.59%        49.23%               3.27%
District 091 Total
           Total:                    58,901       14,409        40,460               3,023
                                                 24.46%        68.69%               5.13%
          Voting Age                 45,650       12,277        30,589               1,885
                                                 26.89%        67.01%               4.13%
District 092
 County: DeKalb GA
           Total:                    15,607          559        14,612                 402
                                                  3.58%        93.62%               2.58%
          Voting Age                 11,794          508        10,979                 298
                                                  4.31%        93.09%               2.53%
 County: Rockdale GA
         Total:                      44,666       12,086        28,366               2,904
                                                 27.06%        63.51%               6.50%
          Voting Age                 34,757       10,688        21,043               1,879
                                                 30.75%        60.54%               5.41%
District 092 Total
           Total:                    60,273       12,645        42,978               3,306
                                                 20.98%        71.31%               5.49%
          Voting Age                 46,551       11,196        32,022               2,177
                                                 24.05%        68.79%               4.68%
District 093




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 093
 County: DeKalb GA
           Total:                    11,690          393        10,625                 683
                                                  3.36%        90.89%               5.84%
          Voting Age                  8,476          359         7,662                 438
                                                  4.24%        90.40%               5.17%
 County: Newton GA
         Total:                      15,515        6,010         8,194                 726
                                                 38.74%        52.81%               4.68%
          Voting Age                 12,080        4,987         6,153                 464
                                                 41.28%        50.94%               3.84%
 County: Rockdale GA
         Total:                      32,913        5,584        21,430              5,348
                                                 16.97%        65.11%             16.25%
          Voting Age                 24,178        4,901        15,424              3,382
                                                 20.27%        63.79%             13.99%
District 093 Total
           Total:                    60,118       11,987        40,249              6,757
                                                 19.94%        66.95%             11.24%
          Voting Age                 44,734       10,247        29,239              4,284
                                                 22.91%        65.36%              9.58%
District 094
 County: DeKalb GA
           Total:                    31,207          893        29,080               1,218
                                                  2.86%        93.18%               3.90%
          Voting Age                 23,817          797        22,124                 807
                                                  3.35%        92.89%               3.39%
 County: Gwinnett GA
         Total:                      28,004        8,807        12,317              3,944
                                                 31.45%        43.98%             14.08%
          Voting Age                 20,992        7,458         8,811              2,460
                                                 35.53%        41.97%             11.72%
District 094 Total
           Total:                    59,211        9,700        41,397               5,162
                                                 16.38%        69.91%               8.72%
          Voting Age                 44,809        8,255        30,935               3,267
                                                 18.42%        69.04%               7.29%
District 095
 County: DeKalb GA
           Total:                    14,599          655        13,199                 640
                                                  4.49%        90.41%               4.38%
          Voting Age                 10,985          592         9,855                 412
                                                  5.39%        89.71%               3.75%
 County: Gwinnett GA
         Total:                      34,221        5,787        23,533              3,868
                                                 16.91%        68.77%             11.30%
          Voting Age                 25,212        5,056        16,739              2,452
                                                 20.05%        66.39%              9.73%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 095
 County: Rockdale GA
           Total:                    11,210        4,839         4,950               1,089
                                                 43.17%        44.16%               9.71%
          Voting Age                  8,751        4,166         3,589                 703
                                                 47.61%        41.01%               8.03%
District 095 Total
           Total:                    60,030       11,281        41,682               5,597
                                                 18.79%        69.44%               9.32%
          Voting Age                 44,948        9,814        30,183               3,567
                                                 21.83%        67.15%               7.94%
District 096
 County: Gwinnett GA
           Total:                    59,515       10,398        13,970             24,097
                                                 17.47%        23.47%             40.49%
          Voting Age                 44,671        9,078        10,273             16,093
                                                 20.32%        23.00%             36.03%
District 096 Total
           Total:                    59,515       10,398        13,970             24,097
                                                 17.47%        23.47%             40.49%
          Voting Age                 44,671        9,078        10,273             16,093
                                                 20.32%        23.00%             36.03%
District 097
 County: Gwinnett GA
           Total:                    59,072       19,604        16,869             12,911
                                                 33.19%        28.56%             21.86%
          Voting Age                 46,339       16,887        12,405              8,910
                                                 36.44%        26.77%             19.23%
District 097 Total
           Total:                    59,072       19,604        16,869             12,911
                                                 33.19%        28.56%             21.86%
          Voting Age                 46,339       16,887        12,405              8,910
                                                 36.44%        26.77%             19.23%
District 098
 County: Gwinnett GA
           Total:                    59,998        5,813        13,286             34,450
                                                  9.69%        22.14%             57.42%
          Voting Age                 42,734        4,981         9,934             22,549
                                                 11.66%        23.25%             52.77%
District 098 Total
           Total:                    59,998        5,813        13,286             34,450
                                                  9.69%        22.14%             57.42%
          Voting Age                 42,734        4,981         9,934             22,549
                                                 11.66%        23.25%             52.77%
District 099




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 099
 County: Gwinnett GA
           Total:                    59,850       23,802         9,514               5,695
                                                 39.77%        15.90%               9.52%
          Voting Age                 45,004       18,948         6,622               3,901
                                                 42.10%        14.71%               8.67%
District 099 Total
           Total:                    59,850       23,802         9,514               5,695
                                                 39.77%        15.90%               9.52%
          Voting Age                 45,004       18,948         6,622               3,901
                                                 42.10%        14.71%               8.67%
District 100
 County: Forsyth GA
           Total:                    15,828        8,494           843                 797
                                                 53.66%         5.33%               5.04%
          Voting Age                 10,737        6,182           532                 503
                                                 57.58%         4.95%               4.68%
 County: Gwinnett GA
         Total:                      35,204       20,214         4,889              4,511
                                                 57.42%        13.89%             12.81%
          Voting Age                 25,378       15,152         3,318              2,971
                                                 59.71%        13.07%             11.71%
 County: Hall GA
         Total:                       7,819        5,459           623              1,148
                                                 69.82%         7.97%             14.68%
          Voting Age                  5,923        4,346           387                736
                                                 73.37%         6.53%             12.43%
District 100 Total
           Total:                    58,851       34,167         6,355              6,456
                                                 58.06%        10.80%             10.97%
          Voting Age                 42,038       25,680         4,237              4,210
                                                 61.09%        10.08%             10.01%
District 101
 County: Gwinnett GA
           Total:                    59,938       22,390        15,380             12,091
                                                 37.36%        25.66%             20.17%
          Voting Age                 46,584       18,698        11,269              8,499
                                                 40.14%        24.19%             18.24%
District 101 Total
           Total:                    59,938       22,390        15,380             12,091
                                                 37.36%        25.66%             20.17%
          Voting Age                 46,584       18,698        11,269              8,499
                                                 40.14%        24.19%             18.24%
District 102




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 102
 County: Gwinnett GA
           Total:                    58,959       15,798        23,702             13,823
                                                 26.79%        40.20%             23.45%
          Voting Age                 42,968       13,169        16,164              9,170
                                                 30.65%        37.62%             21.34%
District 102 Total
           Total:                    58,959       15,798        23,702             13,823
                                                 26.79%        40.20%             23.45%
          Voting Age                 42,968       13,169        16,164              9,170
                                                 30.65%        37.62%             21.34%
District 103
 County: Gwinnett GA
           Total:                    51,691       23,238        10,201             10,560
                                                 44.96%        19.73%             20.43%
          Voting Age                 38,022       18,233         7,144              6,903
                                                 47.95%        18.79%             18.16%
 County: Hall GA
         Total:                       8,506        6,566           427                915
                                                 77.19%         5.02%             10.76%
          Voting Age                  6,377        5,040           310                596
                                                 79.03%         4.86%              9.35%
District 103 Total
           Total:                    60,197       29,804        10,628             11,475
                                                 49.51%        17.66%             19.06%
          Voting Age                 44,399       23,273         7,454              7,499
                                                 52.42%        16.79%             16.89%
District 104
 County: Barrow GA
           Total:                    24,245       15,916         3,059              3,572
                                                 65.65%        12.62%             14.73%
          Voting Age                 17,849       12,257         2,036              2,284
                                                 68.67%        11.41%             12.80%
 County: Gwinnett GA
         Total:                      35,117       19,961         7,684              3,929
                                                 56.84%        21.88%             11.19%
          Voting Age                 25,457       15,008         5,337              2,542
                                                 58.95%        20.96%              9.99%
District 104 Total
           Total:                    59,362       35,877        10,743              7,501
                                                 60.44%        18.10%             12.64%
          Voting Age                 43,306       27,265         7,373              4,826
                                                 62.96%        17.03%             11.14%
District 105




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 105
 County: Gwinnett GA
           Total:                    59,344       23,076        18,444             10,743
                                                 38.89%        31.08%             18.10%
          Voting Age                 43,474       18,145        12,628              7,286
                                                 41.74%        29.05%             16.76%
District 105 Total
           Total:                    59,344       23,076        18,444             10,743
                                                 38.89%        31.08%             18.10%
          Voting Age                 43,474       18,145        12,628              7,286
                                                 41.74%        29.05%             16.76%
District 106
 County: Gwinnett GA
           Total:                    59,112       21,673        23,221              7,483
                                                 36.66%        39.28%             12.66%
          Voting Age                 43,890       18,090        15,918              4,890
                                                 41.22%        36.27%             11.14%
District 106 Total
           Total:                    59,112       21,673        23,221              7,483
                                                 36.66%        39.28%             12.66%
          Voting Age                 43,890       18,090        15,918              4,890
                                                 41.22%        36.27%             11.14%
District 107
 County: Gwinnett GA
           Total:                    59,702       11,360        18,372             20,594
                                                 19.03%        30.77%             34.49%
          Voting Age                 44,509        9,775        13,186             13,838
                                                 21.96%        29.63%             31.09%
District 107 Total
           Total:                    59,702       11,360        18,372             20,594
                                                 19.03%        30.77%             34.49%
          Voting Age                 44,509        9,775        13,186             13,838
                                                 21.96%        29.63%             31.09%
District 108
 County: Gwinnett GA
           Total:                    59,577       23,214        11,946             12,498
                                                 38.96%        20.05%             20.98%
          Voting Age                 44,308       19,214         8,132              8,047
                                                 43.36%        18.35%             18.16%
District 108 Total
           Total:                    59,577       23,214        11,946             12,498
                                                 38.96%        20.05%             20.98%
          Voting Age                 44,308       19,214         8,132              8,047
                                                 43.36%        18.35%             18.16%
District 109




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 109
 County: Gwinnett GA
           Total:                    59,630        8,049        19,592             23,446
                                                 13.50%        32.86%             39.32%
          Voting Age                 44,140        6,816        14,352             15,943
                                                 15.44%        32.51%             36.12%
District 109 Total
           Total:                    59,630        8,049        19,592             23,446
                                                 13.50%        32.86%             39.32%
          Voting Age                 44,140        6,816        14,352             15,943
                                                 15.44%        32.51%             36.12%
District 110
 County: Gwinnett GA
           Total:                    59,951       19,606        30,042              7,119
                                                 32.70%        50.11%             11.87%
          Voting Age                 43,226       15,812        20,400              4,535
                                                 36.58%        47.19%             10.49%
District 110 Total
           Total:                    59,951       19,606        30,042              7,119
                                                 32.70%        50.11%             11.87%
          Voting Age                 43,226       15,812        20,400              4,535
                                                 36.58%        47.19%             10.49%
District 111
 County: Gwinnett GA
           Total:                    22,685       10,290         7,931              3,371
                                                 45.36%        34.96%             14.86%
          Voting Age                 16,118        7,842         5,330              2,144
                                                 48.65%        33.07%             13.30%
 County: Walton GA
         Total:                      37,324       26,036         6,641               2,853
                                                 69.76%        17.79%               7.64%
          Voting Age                 27,978       20,379         4,498               1,755
                                                 72.84%        16.08%               6.27%
District 111 Total
           Total:                    60,009       36,326        14,572              6,224
                                                 60.53%        24.28%             10.37%
          Voting Age                 44,096       28,221         9,828              3,899
                                                 64.00%        22.29%              8.84%
District 112
 County: Walton GA
           Total:                    59,349       42,463        12,163               2,375
                                                 71.55%        20.49%               4.00%
          Voting Age                 45,120       33,268         8,667               1,481
                                                 73.73%        19.21%               3.28%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 112
District 112 Total
           Total:                    59,349       42,463        12,163               2,375
                                                 71.55%        20.49%               4.00%
          Voting Age                 45,120       33,268         8,667               1,481
                                                 73.73%        19.21%               3.28%
District 113
 County: Newton GA
           Total:                    60,053       17,306        37,002               4,671
                                                 28.82%        61.62%               7.78%
          Voting Age                 44,538       14,162        26,515               2,962
                                                 31.80%        59.53%               6.65%
District 113 Total
           Total:                    60,053       17,306        37,002               4,671
                                                 28.82%        61.62%               7.78%
          Voting Age                 44,538       14,162        26,515               2,962
                                                 31.80%        59.53%               6.65%
District 114
 County: Jasper GA
           Total:                     2,855        2,132           394                 231
                                                 74.68%        13.80%               8.09%
          Voting Age                  2,168        1,646           302                 143
                                                 75.92%        13.93%               6.60%
 County: Morgan GA
         Total:                      20,097       14,487         4,339                 712
                                                 72.09%        21.59%               3.54%
          Voting Age                 15,574       11,452         3,280                 434
                                                 73.53%        21.06%               2.79%
 County: Newton GA
         Total:                      36,915       23,430        10,705               1,767
                                                 63.47%        29.00%               4.79%
          Voting Age                 28,130       18,482         7,765               1,135
                                                 65.70%        27.60%               4.03%
District 114 Total
           Total:                    59,867       40,049        15,438               2,710
                                                 66.90%        25.79%               4.53%
          Voting Age                 45,872       31,580        11,347               1,712
                                                 68.84%        24.74%               3.73%
District 115
 County: Henry GA
           Total:                    59,473       18,899        33,970               4,512
                                                 31.78%        57.12%               7.59%
          Voting Age                 43,983       15,445        23,843               3,007
                                                 35.12%        54.21%               6.84%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 115
District 115 Total
           Total:                    59,473       18,899        33,970               4,512
                                                 31.78%        57.12%               7.59%
          Voting Age                 43,983       15,445        23,843               3,007
                                                 35.12%        54.21%               6.84%
District 116
 County: Clayton GA
           Total:                     2,649          773         1,448                403
                                                 29.18%        54.66%             15.21%
          Voting Age                  2,248          749         1,186                286
                                                 33.32%        52.76%             12.72%
 County: Henry GA
         Total:                      56,447       15,293        32,132               5,252
                                                 27.09%        56.92%               9.30%
          Voting Age                 42,831       13,040        23,310               3,515
                                                 30.45%        54.42%               8.21%
District 116 Total
           Total:                    59,096       16,066        33,580               5,655
                                                 27.19%        56.82%               9.57%
          Voting Age                 45,079       13,789        24,496               3,801
                                                 30.59%        54.34%               8.43%
District 117
 County: Henry GA
           Total:                    23,709        6,603        14,540               1,886
                                                 27.85%        61.33%               7.95%
          Voting Age                 17,219        5,234        10,144               1,276
                                                 30.40%        58.91%               7.41%
 County: Spalding GA
         Total:                      34,983       12,638        19,417               2,020
                                                 36.13%        55.50%               5.77%
          Voting Age                 26,688       10,771        13,848               1,308
                                                 40.36%        51.89%               4.90%
District 117 Total
           Total:                    58,692       19,241        33,957               3,906
                                                 32.78%        57.86%               6.66%
          Voting Age                 43,907       16,005        23,992               2,584
                                                 36.45%        54.64%               5.89%
District 118
 County: Butts GA
           Total:                    25,434       16,628         7,212                 803
                                                 65.38%        28.36%               3.16%
          Voting Age                 20,360       13,510         5,660                 559
                                                 66.36%        27.80%               2.75%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 118
 County: Henry GA
           Total:                    34,819       23,570         7,988               1,960
                                                 67.69%        22.94%               5.63%
          Voting Age                 25,163       17,582         5,510               1,170
                                                 69.87%        21.90%               4.65%
District 118 Total
           Total:                    60,253       40,198        15,200               2,763
                                                 66.72%        25.23%               4.59%
          Voting Age                 45,523       31,092        11,170               1,729
                                                 68.30%        24.54%               3.80%
District 119
 County: Barrow GA
           Total:                    59,260       39,666         8,848              6,988
                                                 66.94%        14.93%             11.79%
          Voting Age                 44,346       30,984         6,186              4,442
                                                 69.87%        13.95%             10.02%
District 119 Total
           Total:                    59,260       39,666         8,848              6,988
                                                 66.94%        14.93%             11.79%
          Voting Age                 44,346       30,984         6,186              4,442
                                                 69.87%        13.95%             10.02%
District 120
 County: Clarke GA
           Total:                    39,069       21,927         9,280              4,992
                                                 56.12%        23.75%             12.78%
          Voting Age                 31,995       18,924         7,113              3,472
                                                 59.15%        22.23%             10.85%
 County: Jackson GA
         Total:                      20,485       16,511         1,581               1,556
                                                 80.60%         7.72%               7.60%
          Voting Age                 15,782       13,046         1,142                 944
                                                 82.66%         7.24%               5.98%
District 120 Total
           Total:                    59,554       38,438        10,861              6,548
                                                 64.54%        18.24%             11.00%
          Voting Age                 47,777       31,970         8,255              4,416
                                                 66.92%        17.28%              9.24%
District 121
 County: Clarke GA
           Total:                    17,789       10,444         4,125               1,724
                                                 58.71%        23.19%               9.69%
          Voting Age                 14,946        9,396         2,986               1,294
                                                 62.87%        19.98%               8.66%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 121
 County: Oconee GA
           Total:                    41,799       33,886         2,280               2,347
                                                 81.07%         5.45%               5.61%
          Voting Age                 30,221       24,942         1,660               1,405
                                                 82.53%         5.49%               4.65%
District 121 Total
           Total:                    59,588       44,330         6,405               4,071
                                                 74.39%        10.75%               6.83%
          Voting Age                 45,167       34,338         4,646               2,699
                                                 76.02%        10.29%               5.98%
District 122
 County: Clarke GA
           Total:                    59,628       33,390        16,328              6,312
                                                 56.00%        27.38%             10.59%
          Voting Age                 50,232       30,717        11,764              4,591
                                                 61.15%        23.42%              9.14%
District 122 Total
           Total:                    59,628       33,390        16,328              6,312
                                                 56.00%        27.38%             10.59%
          Voting Age                 50,232       30,717        11,764              4,591
                                                 61.15%        23.42%              9.14%
District 123
 County: Columbia GA
           Total:                     2,205        1,550           478                  78
                                                 70.29%        21.68%               3.54%
          Voting Age                  1,801        1,279           398                  53
                                                 71.02%        22.10%               2.94%
 County: Elbert GA
         Total:                      19,637       12,610         5,520                 996
                                                 64.22%        28.11%               5.07%
          Voting Age                 15,493       10,322         4,122                 660
                                                 66.62%        26.61%               4.26%
 County: Lincoln GA
         Total:                       7,690        5,196         2,212                  92
                                                 67.57%        28.76%               1.20%
          Voting Age                  6,270        4,316         1,728                  54
                                                 68.84%        27.56%               0.86%
 County: Madison GA
         Total:                      20,185       14,747         2,813               1,593
                                                 73.06%        13.94%               7.89%
          Voting Age                 15,357       11,624         1,988                 997
                                                 75.69%        12.95%               6.49%
 County: Oglethorpe GA
         Total:                       6,839        5,090         1,172                 271
                                                 74.43%        17.14%               3.96%
          Voting Age                  5,354        4,047           909                 166
                                                 75.59%        16.98%               3.10%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 123
 County: Wilkes GA
           Total:                     3,156        2,129           851                  95
                                                 67.46%        26.96%               3.01%
          Voting Age                  2,561        1,771           677                  48
                                                 69.15%        26.43%               1.87%
District 123 Total
           Total:                    59,712       41,322        13,046               3,125
                                                 69.20%        21.85%               5.23%
          Voting Age                 46,836       33,359         9,822               1,978
                                                 71.23%        20.97%               4.22%
District 124
 County: Clarke GA
           Total:                    12,185        6,440         3,939              1,308
                                                 52.85%        32.33%             10.73%
          Voting Age                  9,657        5,494         2,913                856
                                                 56.89%        30.16%              8.86%
 County: Greene GA
         Total:                      18,915       11,126         6,027               1,289
                                                 58.82%        31.86%               6.81%
          Voting Age                 15,358        9,675         4,470                 826
                                                 63.00%        29.11%               5.38%
 County: Oglethorpe GA
         Total:                       7,986        5,813         1,296                 598
                                                 72.79%        16.23%               7.49%
          Voting Age                  6,285        4,752           944                 365
                                                 75.61%        15.02%               5.81%
 County: Putnam GA
         Total:                      19,736       13,068         4,986               1,258
                                                 66.21%        25.26%               6.37%
          Voting Age                 16,038       11,206         3,656                 837
                                                 69.87%        22.80%               5.22%
District 124 Total
           Total:                    58,822       36,447        16,248               4,453
                                                 61.96%        27.62%               7.57%
          Voting Age                 47,338       31,127        11,983               2,884
                                                 65.75%        25.31%               6.09%
District 125
 County: Columbia GA
           Total:                    38,290       22,398        10,352               3,689
                                                 58.50%        27.04%               9.63%
          Voting Age                 27,715       17,109         6,946               2,295
                                                 61.73%        25.06%               8.28%
 County: McDuffie GA
         Total:                      21,632       11,417         9,045                 790
                                                 52.78%        41.81%               3.65%
          Voting Age                 16,615        9,359         6,425                 536
                                                 56.33%        38.67%               3.23%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 125
District 125 Total
           Total:                    59,922       33,815        19,397               4,479
                                                 56.43%        32.37%               7.47%
          Voting Age                 44,330       26,468        13,371               2,831
                                                 59.71%        30.16%               6.39%
District 126
 County: Burke GA
           Total:                    22,561       11,141        10,306                 681
                                                 49.38%        45.68%               3.02%
          Voting Age                 17,177        8,937         7,466                 436
                                                 52.03%        43.47%               2.54%
 County: Glascock GA
         Total:                       2,884        2,573           226                  52
                                                 89.22%         7.84%               1.80%
          Voting Age                  2,236        2,003           167                  31
                                                 89.58%         7.47%               1.39%
 County: Jefferson GA
         Total:                       7,087        3,821         2,930                 223
                                                 53.92%        41.34%               3.15%
          Voting Age                  5,499        3,052         2,229                 127
                                                 55.50%        40.53%               2.31%
 County: Richmond GA
         Total:                      24,132        4,322        18,112               1,103
                                                 17.91%        75.05%               4.57%
          Voting Age                 18,266        3,552        13,361                 796
                                                 19.45%        73.15%               4.36%
 County: Screven GA
         Total:                       3,313        1,374         1,803                  55
                                                 41.47%        54.42%               1.66%
          Voting Age                  2,461        1,052         1,327                  39
                                                 42.75%        53.92%               1.58%
District 126 Total
           Total:                    59,977       23,231        33,377               2,114
                                                 38.73%        55.65%               3.52%
          Voting Age                 45,639       18,596        24,550               1,429
                                                 40.75%        53.79%               3.13%
District 127
 County: Columbia GA
           Total:                    56,419       37,866         9,307               3,618
                                                 67.12%        16.50%               6.41%
          Voting Age                 43,406       30,305         6,530               2,300
                                                 69.82%        15.04%               5.30%
 County: Richmond GA
         Total:                       3,875        2,431         1,011                 183
                                                 62.74%        26.09%               4.72%
          Voting Age                  3,329        2,155           805                 150
                                                 64.73%        24.18%               4.51%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 127
District 127 Total
           Total:                    60,294       40,297        10,318               3,801
                                                 66.83%        17.11%               6.30%
          Voting Age                 46,735       32,460         7,335               2,450
                                                 69.46%        15.69%               5.24%
District 128
 County: Burke GA
           Total:                     2,035          800         1,124                  96
                                                 39.31%        55.23%               4.72%
          Voting Age                  1,601          629           896                  58
                                                 39.29%        55.97%               3.62%
 County: Jefferson GA
         Total:                       8,622        3,013         5,278                 239
                                                 34.95%        61.22%               2.77%
          Voting Age                  6,802        2,484         4,095                 153
                                                 36.52%        60.20%               2.25%
 County: Johnson GA
         Total:                       7,274        4,080         3,005                  81
                                                 56.09%        41.31%               1.11%
          Voting Age                  5,984        3,424         2,431                  63
                                                 57.22%        40.63%               1.05%
 County: Laurens GA
         Total:                      22,064        8,659        12,375                 711
                                                 39.24%        56.09%               3.22%
          Voting Age                 16,358        6,982         8,650                 460
                                                 42.68%        52.88%               2.81%
 County: Washington GA
         Total:                      19,988        8,412        10,969                 334
                                                 42.09%        54.88%               1.67%
          Voting Age                 15,709        6,944         8,333                 235
                                                 44.20%        53.05%               1.50%
District 128 Total
           Total:                    59,983       24,964        32,751               1,461
                                                 41.62%        54.60%               2.44%
          Voting Age                 46,454       20,463        24,405                 969
                                                 44.05%        52.54%               2.09%
District 129
 County: Richmond GA
           Total:                    59,891       22,663        32,634               2,512
                                                 37.84%        54.49%               4.19%
          Voting Age                 47,950       19,698        24,526               1,848
                                                 41.08%        51.15%               3.85%
District 129 Total
           Total:                    59,891       22,663        32,634               2,512
                                                 37.84%        54.49%               4.19%
          Voting Age                 47,950       19,698        24,526               1,848
                                                 41.08%        51.15%               3.85%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 130
 County: Richmond GA
           Total:                    60,057       20,980        35,214               2,492
                                                 34.93%        58.63%               4.15%
          Voting Age                 45,227       17,409        24,946               1,638
                                                 38.49%        55.16%               3.62%
District 130 Total
           Total:                    60,057       20,980        35,214               2,492
                                                 34.93%        58.63%               4.15%
          Voting Age                 45,227       17,409        24,946               1,638
                                                 38.49%        55.16%               3.62%
District 131
 County: Columbia GA
           Total:                    59,096       37,297        12,379               4,473
                                                 63.11%        20.95%               7.57%
          Voting Age                 41,901       27,377         8,399               2,707
                                                 65.34%        20.04%               6.46%
District 131 Total
           Total:                    59,096       37,297        12,379               4,473
                                                 63.11%        20.95%               7.57%
          Voting Age                 41,901       27,377         8,399               2,707
                                                 65.34%        20.04%               6.46%
District 132
 County: Richmond GA
           Total:                    58,652       18,001        32,999               5,159
                                                 30.69%        56.26%               8.80%
          Voting Age                 46,127       15,589        24,292               4,013
                                                 33.80%        52.66%               8.70%
District 132 Total
           Total:                    58,652       18,001        32,999               5,159
                                                 30.69%        56.26%               8.80%
          Voting Age                 46,127       15,589        24,292               4,013
                                                 33.80%        52.66%               8.70%
District 133
 County: Baldwin GA
           Total:                    27,925       11,481        15,111                 645
                                                 41.11%        54.11%               2.31%
          Voting Age                 22,446        9,884        11,550                 465
                                                 44.03%        51.46%               2.07%
 County: Hancock GA
         Total:                       8,735        2,413         6,131                  63
                                                 27.62%        70.19%               0.72%
          Voting Age                  7,487        2,220         5,108                  47
                                                 29.65%        68.22%               0.63%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 133
 County: Taliaferro GA
           Total:                     1,559          591           876                  69
                                                 37.91%        56.19%               4.43%
          Voting Age                  1,289          506           722                  46
                                                 39.26%        56.01%               3.57%
 County: Warren GA
         Total:                       5,215        1,974         3,128                  53
                                                 37.85%        59.98%               1.02%
          Voting Age                  4,159        1,716         2,360                  46
                                                 41.26%        56.74%               1.11%
 County: Wilkes GA
         Total:                       6,409        2,823         3,138                 304
                                                 44.05%        48.96%               4.74%
          Voting Age                  5,090        2,383         2,394                 195
                                                 46.82%        47.03%               3.83%
 County: Wilkinson GA
         Total:                       8,877        5,110         3,330                 239
                                                 57.56%        37.51%               2.69%
          Voting Age                  7,026        4,165         2,549                 152
                                                 59.28%        36.28%               2.16%
District 133 Total
           Total:                    58,720       24,392        31,714               1,373
                                                 41.54%        54.01%               2.34%
          Voting Age                 47,497       20,874        24,683                 951
                                                 43.95%        51.97%               2.00%
District 134
 County: Pike GA
           Total:                    18,889       16,313         1,613                 348
                                                 86.36%         8.54%               1.84%
          Voting Age                 14,337       12,422         1,254                 207
                                                 86.64%         8.75%               1.44%
 County: Spalding GA
         Total:                      25,390       19,427         4,068               1,033
                                                 76.51%        16.02%               4.07%
          Voting Age                 19,983       15,751         2,928                 652
                                                 78.82%        14.65%               3.26%
 County: Upson GA
         Total:                      14,343       10,952         2,612                 288
                                                 76.36%        18.21%               2.01%
          Voting Age                 11,301        8,842         1,912                 183
                                                 78.24%        16.92%               1.62%
District 134 Total
           Total:                    58,622       46,692         8,293               1,669
                                                 79.65%        14.15%               2.85%
          Voting Age                 45,621       37,015         6,094               1,042
                                                 81.14%        13.36%               2.28%
District 135



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 135
 County: Jasper GA
           Total:                    11,733        8,639         2,282                 453
                                                 73.63%        19.45%               3.86%
          Voting Age                  8,950        6,754         1,664                 259
                                                 75.46%        18.59%               2.89%
 County: Lamar GA
         Total:                      18,500       12,344         5,220                 475
                                                 66.72%        28.22%               2.57%
          Voting Age                 14,541        9,852         4,017                 323
                                                 67.75%        27.63%               2.22%
 County: Monroe GA
         Total:                      27,023       19,333         6,188                 696
                                                 71.54%        22.90%               2.58%
          Voting Age                 21,163       15,272         4,853                 457
                                                 72.16%        22.93%               2.16%
 County: Putnam GA
         Total:                       2,311        1,248           715                299
                                                 54.00%        30.94%             12.94%
          Voting Age                  1,809        1,003           573                194
                                                 55.44%        31.67%             10.72%
District 135 Total
           Total:                    59,567       41,564        14,405               1,923
                                                 69.78%        24.18%               3.23%
          Voting Age                 46,463       32,881        11,107               1,233
                                                 70.77%        23.91%               2.65%
District 136
 County: Coweta GA
           Total:                    28,003       22,475         3,113               1,302
                                                 80.26%        11.12%               4.65%
          Voting Age                 21,121       17,224         2,283                 841
                                                 81.55%        10.81%               3.98%
 County: Meriwether GA
         Total:                      13,382        7,859         4,842                 351
                                                 58.73%        36.18%               2.62%
          Voting Age                 10,832        6,517         3,828                 225
                                                 60.16%        35.34%               2.08%
 County: Troup GA
         Total:                      18,410        6,847         9,712                 976
                                                 37.19%        52.75%               5.30%
          Voting Age                 13,818        5,506         7,016                 597
                                                 39.85%        50.77%               4.32%
District 136 Total
           Total:                    59,795       37,181        17,667               2,629
                                                 62.18%        29.55%               4.40%
          Voting Age                 45,771       29,247        13,127               1,663
                                                 63.90%        28.68%               3.63%
District 137



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 137
 County: Meriwether GA
           Total:                     7,231        4,225         2,705                 124
                                                 58.43%        37.41%               1.71%
          Voting Age                  5,694        3,477         2,017                  74
                                                 61.06%        35.42%               1.30%
 County: Muscogee GA
         Total:                      30,443        8,127        19,637               2,052
                                                 26.70%        64.50%               6.74%
          Voting Age                 22,797        6,590        14,291               1,418
                                                 28.91%        62.69%               6.22%
 County: Talbot GA
         Total:                       5,733        2,427         3,145                 112
                                                 42.33%        54.86%               1.95%
          Voting Age                  4,783        2,129         2,537                  56
                                                 44.51%        53.04%               1.17%
 County: Troup GA
         Total:                      15,647        7,590         6,628                 769
                                                 48.51%        42.36%               4.91%
          Voting Age                 11,680        6,064         4,680                 474
                                                 51.92%        40.07%               4.06%
District 137 Total
           Total:                    59,054       22,369        32,115               3,057
                                                 37.88%        54.38%               5.18%
          Voting Age                 44,954       18,260        23,525               2,022
                                                 40.62%        52.33%               4.50%
District 138
 County: Harris GA
           Total:                    21,634       16,205         3,615                 825
                                                 74.91%        16.71%               3.81%
          Voting Age                 16,816       12,820         2,768                 507
                                                 76.24%        16.46%               3.01%
 County: Muscogee GA
         Total:                      12,190        8,766         1,636                 741
                                                 71.91%        13.42%               6.08%
          Voting Age                  9,628        7,117         1,178                 491
                                                 73.92%        12.24%               5.10%
 County: Troup GA
         Total:                      25,088       16,437         6,821                 852
                                                 65.52%        27.19%               3.40%
          Voting Age                 19,240       13,113         4,878                 516
                                                 68.15%        25.35%               2.68%
District 138 Total
           Total:                    58,912       41,408        12,072               2,418
                                                 70.29%        20.49%               4.10%
          Voting Age                 45,684       33,050         8,824               1,514
                                                 72.34%        19.32%               3.31%
District 139



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 139
 County: Harris GA
           Total:                    13,034        9,720         2,127                 592
                                                 74.57%        16.32%               4.54%
          Voting Age                  9,983        7,478         1,663                 401
                                                 74.91%        16.66%               4.02%
 County: Muscogee GA
         Total:                      45,976       27,778        10,719               3,681
                                                 60.42%        23.31%               8.01%
          Voting Age                 35,539       22,654         7,564               2,495
                                                 63.74%        21.28%               7.02%
District 139 Total
           Total:                    59,010       37,498        12,846               4,273
                                                 63.55%        21.77%               7.24%
          Voting Age                 45,522       30,132         9,227               2,896
                                                 66.19%        20.27%               6.36%
District 140
 County: Muscogee GA
           Total:                    59,294       17,055        35,460               5,358
                                                 28.76%        59.80%               9.04%
          Voting Age                 44,411       14,080        25,596               3,563
                                                 31.70%        57.63%               8.02%
District 140 Total
           Total:                    59,294       17,055        35,460               5,358
                                                 28.76%        59.80%               9.04%
          Voting Age                 44,411       14,080        25,596               3,563
                                                 31.70%        57.63%               8.02%
District 141
 County: Muscogee GA
           Total:                    59,019       17,357        34,760               4,681
                                                 29.41%        58.90%               7.93%
          Voting Age                 44,677       14,194        25,672               2,927
                                                 31.77%        57.46%               6.55%
District 141 Total
           Total:                    59,019       17,357        34,760               4,681
                                                 29.41%        58.90%               7.93%
          Voting Age                 44,677       14,194        25,672               2,927
                                                 31.77%        57.46%               6.55%
District 142
 County: Bibb GA
           Total:                    31,424        9,610        19,321               1,817
                                                 30.58%        61.48%               5.78%
          Voting Age                 23,149        8,098        13,371               1,113
                                                 34.98%        57.76%               4.81%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 142
 County: Houston GA
           Total:                    27,213       10,211        13,619               2,523
                                                 37.52%        50.05%               9.27%
          Voting Age                 20,072        8,447         9,324               1,544
                                                 42.08%        46.45%               7.69%
District 142 Total
           Total:                    58,637       19,821        32,940               4,340
                                                 33.80%        56.18%               7.40%
          Voting Age                 43,221       16,545        22,695               2,657
                                                 38.28%        52.51%               6.15%
District 143
 County: Bibb GA
           Total:                    50,749       14,715        32,913               2,009
                                                 29.00%        64.85%               3.96%
          Voting Age                 39,734       12,835        24,349               1,616
                                                 32.30%        61.28%               4.07%
 County: Twiggs GA
         Total:                       8,022        4,487         3,226                 124
                                                 55.93%        40.21%               1.55%
          Voting Age                  6,589        3,733         2,627                  79
                                                 56.66%        39.87%               1.20%
District 143 Total
           Total:                    58,771       19,202        36,139               2,133
                                                 32.67%        61.49%               3.63%
          Voting Age                 46,323       16,568        26,976               1,695
                                                 35.77%        58.23%               3.66%
District 144
 County: Baldwin GA
           Total:                    15,874       10,951         3,874                 494
                                                 68.99%        24.40%               3.11%
          Voting Age                 13,286        9,493         2,965                 370
                                                 71.45%        22.32%               2.78%
 County: Bibb GA
         Total:                      15,893        9,189         4,807                 605
                                                 57.82%        30.25%               3.81%
          Voting Age                 12,451        7,523         3,513                 428
                                                 60.42%        28.21%               3.44%
 County: Jones GA
         Total:                      28,347       20,074         7,114                 476
                                                 70.82%        25.10%               1.68%
          Voting Age                 21,575       15,428         5,341                 302
                                                 71.51%        24.76%               1.40%
District 144 Total
           Total:                    60,114       40,214        15,795               1,575
                                                 66.90%        26.28%               2.62%
          Voting Age                 47,312       32,444        11,819               1,100
                                                 68.57%        24.98%               2.32%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 145
 County: Bibb GA
           Total:                    59,280       23,273        31,824               2,306
                                                 39.26%        53.68%               3.89%
          Voting Age                 45,568       19,523        23,037               1,577
                                                 42.84%        50.56%               3.46%
 County: Monroe GA
         Total:                        934           621           256                  18
                                                 66.49%        27.41%               1.93%
          Voting Age                   750           499           215                   7
                                                 66.53%        28.67%               0.93%
District 145 Total
           Total:                    60,214       23,894        32,080               2,324
                                                 39.68%        53.28%               3.86%
          Voting Age                 46,318       20,022        23,252               1,584
                                                 43.23%        50.20%               3.42%
District 146
 County: Houston GA
           Total:                    58,683       36,577        16,035               3,044
                                                 62.33%        27.32%               5.19%
          Voting Age                 43,280       27,704        11,405               1,851
                                                 64.01%        26.35%               4.28%
District 146 Total
           Total:                    58,683       36,577        16,035               3,044
                                                 62.33%        27.32%               5.19%
          Voting Age                 43,280       27,704        11,405               1,851
                                                 64.01%        26.35%               4.28%
District 147
 County: Crawford GA
           Total:                    12,130        8,866         2,455                 415
                                                 73.09%        20.24%               3.42%
          Voting Age                  9,606        7,079         1,938                 287
                                                 73.69%        20.17%               2.99%
 County: Houston GA
         Total:                      19,098       10,154         5,668               1,208
                                                 53.17%        29.68%               6.33%
          Voting Age                 13,680        7,491         3,974                 783
                                                 54.76%        29.05%               5.72%
 County: Peach GA
         Total:                      14,093        9,360         3,312                 856
                                                 66.42%        23.50%               6.07%
          Voting Age                 11,209        7,721         2,478                 563
                                                 68.88%        22.11%               5.02%
 County: Upson GA
         Total:                      13,357        7,057         5,712                 345
                                                 52.83%        42.76%               2.58%
          Voting Age                 10,410        5,706         4,290                 228
                                                 54.81%        41.21%               2.19%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 147
District 147 Total
           Total:                    58,678       35,437        17,147               2,824
                                                 60.39%        29.22%               4.81%
          Voting Age                 44,905       27,997        12,680               1,861
                                                 62.35%        28.24%               4.14%
District 148
 County: Ben Hill GA
           Total:                    17,194        9,219         6,537               1,054
                                                 53.62%        38.02%               6.13%
          Voting Age                 13,165        7,459         4,745                 653
                                                 56.66%        36.04%               4.96%
 County: Crisp GA
         Total:                      20,128        9,892         9,194                 634
                                                 49.15%        45.68%               3.15%
          Voting Age                 15,570        8,248         6,603                 414
                                                 52.97%        42.41%               2.66%
 County: Pulaski GA
         Total:                       9,855        6,022         3,250                 327
                                                 61.11%        32.98%               3.32%
          Voting Age                  8,012        5,027         2,564                 224
                                                 62.74%        32.00%               2.80%
 County: Telfair GA
         Total:                       2,991        1,955           921                  78
                                                 65.36%        30.79%               2.61%
          Voting Age                  2,306        1,536           692                  41
                                                 66.61%        30.01%               1.78%
 County: Wilcox GA
         Total:                       8,766        5,185         3,161                 272
                                                 59.15%        36.06%               3.10%
          Voting Age                  7,218        4,215         2,693                 209
                                                 58.40%        37.31%               2.90%
District 148 Total
           Total:                    58,934       32,273        23,063               2,365
                                                 54.76%        39.13%               4.01%
          Voting Age                 46,271       26,485        17,297               1,541
                                                 57.24%        37.38%               3.33%
District 149
 County: Houston GA
           Total:                    58,639       29,269        21,198               5,032
                                                 49.91%        36.15%               8.58%
          Voting Age                 45,086       24,376        14,902               3,352
                                                 54.07%        33.05%               7.43%
District 149 Total
           Total:                    58,639       29,269        21,198               5,032
                                                 49.91%        36.15%               8.58%
          Voting Age                 45,086       24,376        14,902               3,352
                                                 54.07%        33.05%               7.43%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 150
 County: Dooly GA
           Total:                    11,208        4,611         5,652                 797
                                                 41.14%        50.43%               7.11%
          Voting Age                  9,187        4,029         4,526                 493
                                                 43.86%        49.27%               5.37%
 County: Macon GA
         Total:                      12,082        4,078         7,296                 472
                                                 33.75%        60.39%               3.91%
          Voting Age                  9,938        3,379         6,021                 322
                                                 34.00%        60.59%               3.24%
 County: Peach GA
         Total:                      13,888        2,759         9,333              1,691
                                                 19.87%        67.20%             12.18%
          Voting Age                 10,902        2,350         7,242              1,225
                                                 21.56%        66.43%             11.24%
 County: Sumter GA
         Total:                      14,282        5,400         7,237               1,158
                                                 37.81%        50.67%               8.11%
          Voting Age                 10,903        4,582         5,178                 738
                                                 42.03%        47.49%               6.77%
 County: Taylor GA
         Total:                       7,816        4,584         2,946                 168
                                                 58.65%        37.69%               2.15%
          Voting Age                  6,120        3,686         2,235                 107
                                                 60.23%        36.52%               1.75%
District 150 Total
           Total:                    59,276       21,432        32,464               4,286
                                                 36.16%        54.77%               7.23%
          Voting Age                 47,050       18,026        25,202               2,885
                                                 38.31%        53.56%               6.13%
District 151
 County: Chattahoochee GA
           Total:                     9,565        5,403         1,825              1,610
                                                 56.49%        19.08%             16.83%
          Voting Age                  7,199        4,212         1,287              1,160
                                                 58.51%        17.88%             16.11%
 County: Lee GA
         Total:                      22,297       15,100         5,365                 627
                                                 67.72%        24.06%               2.81%
          Voting Age                 16,547       11,440         3,855                 396
                                                 69.14%        23.30%               2.39%
 County: Marion GA
         Total:                       7,498        4,486         2,223                 560
                                                 59.83%        29.65%               7.47%
          Voting Age                  5,854        3,643         1,687                 337
                                                 62.23%        28.82%               5.76%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 151
 County: Schley GA
           Total:                     4,547        3,357           933                 175
                                                 73.83%        20.52%               3.85%
          Voting Age                  3,328        2,520           644                 103
                                                 75.72%        19.35%               3.09%
 County: Sumter GA
         Total:                      15,334        6,128         8,309                 612
                                                 39.96%        54.19%               3.99%
          Voting Age                 12,133        5,218         6,301                 409
                                                 43.01%        51.93%               3.37%
District 151 Total
           Total:                    59,241       34,474        18,655               3,584
                                                 58.19%        31.49%               6.05%
          Voting Age                 45,061       27,033        13,774               2,405
                                                 59.99%        30.57%               5.34%
District 152
 County: Colquitt GA
           Total:                    19,169        9,484         5,916              3,443
                                                 49.48%        30.86%             17.96%
          Voting Age                 14,106        7,477         4,151              2,222
                                                 53.01%        29.43%             15.75%
 County: Lee GA
         Total:                      10,866        7,658         2,390                 326
                                                 70.48%        22.00%               3.00%
          Voting Age                  8,129        5,916         1,648                 207
                                                 72.78%        20.27%               2.55%
 County: Tift GA
         Total:                       9,257        6,032         1,826              1,045
                                                 65.16%        19.73%             11.29%
          Voting Age                  7,332        4,935         1,379                741
                                                 67.31%        18.81%             10.11%
 County: Worth GA
         Total:                      20,784       14,427         5,517                 381
                                                 69.41%        26.54%               1.83%
          Voting Age                 16,444       11,747         4,108                 244
                                                 71.44%        24.98%               1.48%
District 152 Total
           Total:                    60,076       37,601        15,649               5,195
                                                 62.59%        26.05%               8.65%
          Voting Age                 46,011       30,075        11,286               3,414
                                                 65.36%        24.53%               7.42%
District 153
 County: Dougherty GA
           Total:                    42,191       13,716        26,499               1,027
                                                 32.51%        62.81%               2.43%
          Voting Age                 32,973       11,873        19,558                 731
                                                 36.01%        59.32%               2.22%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 153
 County: Stewart GA
           Total:                     5,314        1,338         2,538              1,217
                                                 25.18%        47.76%             22.90%
          Voting Age                  4,617        1,161         2,048              1,196
                                                 25.15%        44.36%             25.90%
 County: Terrell GA
         Total:                       9,185        3,189         5,707                 177
                                                 34.72%        62.13%               1.93%
          Voting Age                  7,204        2,709         4,274                 121
                                                 37.60%        59.33%               1.68%
 County: Webster GA
         Total:                       2,348        1,136         1,107                  59
                                                 48.38%        47.15%               2.51%
          Voting Age                  1,847          931           844                  36
                                                 50.41%        45.70%               1.95%
District 153 Total
           Total:                    59,038       19,379        35,851               2,480
                                                 32.82%        60.73%               4.20%
          Voting Age                 46,641       16,674        26,724               2,084
                                                 35.75%        57.30%               4.47%
District 154
 County: Baker GA
           Total:                     2,876        1,514         1,178                 143
                                                 52.64%        40.96%               4.97%
          Voting Age                  2,275        1,235           932                  77
                                                 54.29%        40.97%               3.38%
 County: Calhoun GA
         Total:                       5,573        1,766         3,629                 149
                                                 31.69%        65.12%               2.67%
          Voting Age                  4,687        1,567         2,998                  90
                                                 33.43%        63.96%               1.92%
 County: Clay GA
         Total:                       2,848        1,143         1,634                  41
                                                 40.13%        57.37%               1.44%
          Voting Age                  2,246          973         1,231                  19
                                                 43.32%        54.81%               0.85%
 County: Dougherty GA
         Total:                      22,693        3,465        18,549                 511
                                                 15.27%        81.74%               2.25%
          Voting Age                 17,452        3,024        13,961                 309
                                                 17.33%        80.00%               1.77%
 County: Early GA
         Total:                      10,854        4,813         5,688                 186
                                                 44.34%        52.40%               1.71%
          Voting Age                  8,315        3,985         4,075                 113
                                                 47.93%        49.01%               1.36%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 154
 County: Miller GA
           Total:                     6,000        3,949         1,831                 136
                                                 65.82%        30.52%               2.27%
          Voting Age                  4,749        3,239         1,358                  92
                                                 68.20%        28.60%               1.94%
 County: Quitman GA
         Total:                       2,235        1,190           965                  31
                                                 53.24%        43.18%               1.39%
          Voting Age                  1,870        1,037           765                  18
                                                 55.45%        40.91%               0.96%
 County: Randolph GA
         Total:                       6,425        2,250         3,947                 143
                                                 35.02%        61.43%               2.23%
          Voting Age                  4,977        1,922         2,913                  82
                                                 38.62%        58.53%               1.65%
District 154 Total
           Total:                    59,504       20,090        37,421               1,340
                                                 33.76%        62.89%               2.25%
          Voting Age                 46,571       16,982        28,233                 800
                                                 36.46%        60.62%               1.72%
District 155
 County: Bleckley GA
           Total:                    12,583        8,867         2,951                 469
                                                 70.47%        23.45%               3.73%
          Voting Age                  9,613        7,032         2,036                 311
                                                 73.15%        21.18%               3.24%
 County: Dodge GA
         Total:                      19,925       12,865         6,148                 620
                                                 64.57%        30.86%               3.11%
          Voting Age                 15,709       10,360         4,725                 406
                                                 65.95%        30.08%               2.58%
 County: Laurens GA
         Total:                      27,506       19,222         6,757                 713
                                                 69.88%        24.57%               2.59%
          Voting Age                 21,376       15,247         5,045                 463
                                                 71.33%        23.60%               2.17%
District 155 Total
           Total:                    60,014       40,954        15,856               1,802
                                                 68.24%        26.42%               3.00%
          Voting Age                 46,698       32,639        11,806               1,180
                                                 69.89%        25.28%               2.53%
District 156
 County: Montgomery GA
           Total:                     8,610        5,665         2,224                 571
                                                 65.80%        25.83%               6.63%
          Voting Age                  6,792        4,527         1,781                 377
                                                 66.65%        26.22%               5.55%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 156
 County: Telfair GA
           Total:                     9,486        4,015         3,833              1,850
                                                 42.33%        40.41%             19.50%
          Voting Age                  7,884        3,266         3,114              1,716
                                                 41.43%        39.50%             21.77%
 County: Toombs GA
         Total:                      27,030       16,007         7,402              3,044
                                                 59.22%        27.38%             11.26%
          Voting Age                 20,261       12,810         5,036              1,978
                                                 63.22%        24.86%              9.76%
 County: Treutlen GA
         Total:                       6,406        4,065         2,114                 170
                                                 63.46%        33.00%               2.65%
          Voting Age                  4,934        3,272         1,514                  98
                                                 66.32%        30.69%               1.99%
 County: Wheeler GA
         Total:                       7,471        4,157         2,949                 272
                                                 55.64%        39.47%               3.64%
          Voting Age                  6,217        3,418         2,561                 174
                                                 54.98%        41.19%               2.80%
District 156 Total
           Total:                    59,003       33,909        18,522              5,907
                                                 57.47%        31.39%             10.01%
          Voting Age                 46,088       27,293        14,006              4,343
                                                 59.22%        30.39%              9.42%
District 157
 County: Appling GA
           Total:                    18,444       12,674         3,647               1,825
                                                 68.72%        19.77%               9.89%
          Voting Age                 13,958       10,048         2,540               1,118
                                                 71.99%        18.20%               8.01%
 County: Evans GA
         Total:                      10,774        6,038         3,273              1,237
                                                 56.04%        30.38%             11.48%
          Voting Age                  8,127        4,826         2,410                731
                                                 59.38%        29.65%              8.99%
 County: Jeff Davis GA
         Total:                      14,779        9,950         2,493              2,047
                                                 67.33%        16.87%             13.85%
          Voting Age                 10,856        7,643         1,752              1,233
                                                 70.40%        16.14%             11.36%
 County: Tattnall GA
         Total:                      16,361        9,790         4,660              1,666
                                                 59.84%        28.48%             10.18%
          Voting Age                 12,848        7,857         3,739              1,043
                                                 61.15%        29.10%              8.12%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 157
District 157 Total
           Total:                    60,358       38,452        14,073              6,775
                                                 63.71%        23.32%             11.22%
          Voting Age                 45,789       30,374        10,441              4,125
                                                 66.33%        22.80%              9.01%
District 158
 County: Bulloch GA
           Total:                    15,521        8,360         6,076                 664
                                                 53.86%        39.15%               4.28%
          Voting Age                 12,205        6,877         4,542                 459
                                                 56.35%        37.21%               3.76%
 County: Candler GA
         Total:                      10,981        6,567         2,807              1,378
                                                 59.80%        25.56%             12.55%
          Voting Age                  8,241        5,229         2,009                835
                                                 63.45%        24.38%             10.13%
 County: Emanuel GA
         Total:                      22,768       13,815         7,556                 993
                                                 60.68%        33.19%               4.36%
          Voting Age                 17,320       11,013         5,404                 589
                                                 63.59%        31.20%               3.40%
 County: Jenkins GA
         Total:                       8,674        4,611         3,638                 303
                                                 53.16%        41.94%               3.49%
          Voting Age                  7,005        3,874         2,843                 194
                                                 55.30%        40.59%               2.77%
 County: Johnson GA
         Total:                       1,915        1,720           119                  36
                                                 89.82%         6.21%               1.88%
          Voting Age                  1,490        1,366            82                  19
                                                 91.68%         5.50%               1.28%
District 158 Total
           Total:                    59,859       35,073        20,196               3,374
                                                 58.59%        33.74%               5.64%
          Voting Age                 46,261       28,359        14,880               2,096
                                                 61.30%        32.17%               4.53%
District 159
 County: Bulloch GA
           Total:                    16,651        9,451         6,174                 562
                                                 56.76%        37.08%               3.38%
          Voting Age                 12,544        7,542         4,283                 351
                                                 60.12%        34.14%               2.80%
 County: Effingham GA
         Total:                      32,941       25,360         4,709               1,462
                                                 76.99%        14.30%               4.44%
          Voting Age                 24,283       19,151         3,308                 827
                                                 78.87%        13.62%               3.41%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 159
 County: Screven GA
           Total:                    10,754        6,644         3,724                 232
                                                 61.78%        34.63%               2.16%
          Voting Age                  8,432        5,335         2,817                 149
                                                 63.27%        33.41%               1.77%
District 159 Total
           Total:                    60,346       41,455        14,607               2,256
                                                 68.70%        24.21%               3.74%
          Voting Age                 45,259       32,028        10,408               1,327
                                                 70.77%        23.00%               2.93%
District 160
 County: Bryan GA
           Total:                    11,008        8,157         2,045                 341
                                                 74.10%        18.58%               3.10%
          Voting Age                  8,312        6,287         1,464                 210
                                                 75.64%        17.61%               2.53%
 County: Bulloch GA
         Total:                      48,927       31,901        12,125               2,954
                                                 65.20%        24.78%               6.04%
          Voting Age                 39,745       26,622         9,395               2,211
                                                 66.98%        23.64%               5.56%
District 160 Total
           Total:                    59,935       40,058        14,170               3,295
                                                 66.84%        23.64%               5.50%
          Voting Age                 48,057       32,909        10,859               2,421
                                                 68.48%        22.60%               5.04%
District 161
 County: Chatham GA
           Total:                    28,269       11,729        12,024               2,712
                                                 41.49%        42.53%               9.59%
          Voting Age                 21,359        9,606         8,519               1,801
                                                 44.97%        39.88%               8.43%
 County: Effingham GA
         Total:                      31,828       22,844         5,326               2,030
                                                 71.77%        16.73%               6.38%
          Voting Age                 23,012       17,086         3,523               1,227
                                                 74.25%        15.31%               5.33%
District 161 Total
           Total:                    60,097       34,573        17,350               4,742
                                                 57.53%        28.87%               7.89%
          Voting Age                 44,371       26,692        12,042               3,028
                                                 60.16%        27.14%               6.82%
District 162




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 162
 County: Chatham GA
           Total:                    60,308       22,134        28,142              6,504
                                                 36.70%        46.66%             10.78%
          Voting Age                 46,733       18,984        20,435              4,478
                                                 40.62%        43.73%              9.58%
District 162 Total
           Total:                    60,308       22,134        28,142              6,504
                                                 36.70%        46.66%             10.78%
          Voting Age                 46,733       18,984        20,435              4,478
                                                 40.62%        43.73%              9.58%
District 163
 County: Chatham GA
           Total:                    60,123       23,136        29,099               5,081
                                                 38.48%        48.40%               8.45%
          Voting Age                 48,461       20,317        22,045               3,578
                                                 41.92%        45.49%               7.38%
District 163 Total
           Total:                    60,123       23,136        29,099               5,081
                                                 38.48%        48.40%               8.45%
          Voting Age                 48,461       20,317        22,045               3,578
                                                 41.92%        45.49%               7.38%
District 164
 County: Bryan GA
           Total:                    21,564       13,710         4,211               2,141
                                                 63.58%        19.53%               9.93%
          Voting Age                 15,232       10,160         2,747               1,273
                                                 66.70%        18.03%               8.36%
 County: Chatham GA
         Total:                      38,681       21,106        10,858               3,837
                                                 54.56%        28.07%               9.92%
          Voting Age                 30,732       17,745         8,013               2,620
                                                 57.74%        26.07%               8.53%
District 164 Total
           Total:                    60,245       34,816        15,069               5,978
                                                 57.79%        25.01%               9.92%
          Voting Age                 45,964       27,905        10,760               3,893
                                                 60.71%        23.41%               8.47%
District 165
 County: Chatham GA
           Total:                    59,978       21,050        32,897               3,318
                                                 35.10%        54.85%               5.53%
          Voting Age                 48,247       18,901        24,282               2,572
                                                 39.18%        50.33%               5.33%




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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 165
District 165 Total
           Total:                    59,978       21,050        32,897               3,318
                                                 35.10%        54.85%               5.53%
          Voting Age                 48,247       18,901        24,282               2,572
                                                 39.18%        50.33%               5.33%
District 166
 County: Bryan GA
           Total:                    12,166        9,454         1,207                 787
                                                 77.71%         9.92%               6.47%
          Voting Age                  8,284        6,586           814                 436
                                                 79.50%         9.83%               5.26%
 County: Chatham GA
         Total:                      47,932       40,278         2,438               2,338
                                                 84.03%         5.09%               4.88%
          Voting Age                 39,183       33,608         1,884               1,502
                                                 85.77%         4.81%               3.83%
District 166 Total
           Total:                    60,098       49,732         3,645               3,125
                                                 82.75%         6.07%               5.20%
          Voting Age                 47,467       40,194         2,698               1,938
                                                 84.68%         5.68%               4.08%
District 167
 County: Glynn GA
           Total:                    19,881       13,854         3,348               1,549
                                                 69.68%        16.84%               7.79%
          Voting Age                 15,287       11,023         2,404               1,002
                                                 72.11%        15.73%               6.55%
 County: Liberty GA
         Total:                      11,457        6,138         4,459                 507
                                                 53.57%        38.92%               4.43%
          Voting Age                  9,052        5,019         3,423                 330
                                                 55.45%        37.81%               3.65%
 County: Long GA
         Total:                      16,168        8,774         4,734              1,979
                                                 54.27%        29.28%             12.24%
          Voting Age                 11,234        6,422         3,107              1,227
                                                 57.17%        27.66%             10.92%
 County: McIntosh GA
         Total:                      10,975        7,060         3,400                 231
                                                 64.33%        30.98%               2.10%
          Voting Age                  9,040        5,998         2,641                 166
                                                 66.35%        29.21%               1.84%
 County: Wayne GA
         Total:                       1,703        1,548            74                  34
                                                 90.90%         4.35%               2.00%
          Voting Age                  1,358        1,261            49                  23
                                                 92.86%         3.61%               1.69%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 167
District 167 Total
           Total:                    60,184       37,374        16,015               4,300
                                                 62.10%        26.61%               7.14%
          Voting Age                 45,971       29,723        11,624               2,748
                                                 64.66%        25.29%               5.98%
District 168
 County: Liberty GA
           Total:                    53,799       17,866        26,687              7,279
                                                 33.21%        49.61%             13.53%
          Voting Age                 38,962       14,046        18,277              4,901
                                                 36.05%        46.91%             12.58%
 County: Tattnall GA
         Total:                       6,481        4,035         1,671                 637
                                                 62.26%        25.78%               9.83%
          Voting Age                  4,806        3,163         1,147                 376
                                                 65.81%        23.87%               7.82%
District 168 Total
           Total:                    60,280       21,901        28,358              7,916
                                                 36.33%        47.04%             13.13%
          Voting Age                 43,768       17,209        19,424              5,277
                                                 39.32%        44.38%             12.06%
District 169
 County: Coffee GA
           Total:                    33,736       18,074        11,051              3,890
                                                 53.57%        32.76%             11.53%
          Voting Age                 25,541       14,433         8,086              2,417
                                                 56.51%        31.66%              9.46%
 County: Irwin GA
         Total:                       9,666        6,402         2,333                 663
                                                 66.23%        24.14%               6.86%
          Voting Age                  7,547        5,047         1,720                 545
                                                 66.87%        22.79%               7.22%
 County: Tift GA
         Total:                       7,591        6,230           576                 562
                                                 82.07%         7.59%               7.40%
          Voting Age                  5,888        4,941           433                 336
                                                 83.92%         7.35%               5.71%
 County: Turner GA
         Total:                       9,006        4,700         3,813                 372
                                                 52.19%        42.34%               4.13%
          Voting Age                  6,960        3,891         2,752                 256
                                                 55.91%        39.54%               3.68%
District 169 Total
           Total:                    59,999       35,406        17,773               5,487
                                                 59.01%        29.62%               9.15%
          Voting Age                 45,936       28,312        12,991               3,554
                                                 61.63%        28.28%               7.74%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 170
 County: Berrien GA
           Total:                    18,160       14,396         2,198               1,045
                                                 79.27%        12.10%               5.75%
          Voting Age                 13,690       11,181         1,499                 622
                                                 81.67%        10.95%               4.54%
 County: Cook GA
         Total:                      17,229       10,658         5,014               1,134
                                                 61.86%        29.10%               6.58%
          Voting Age                 12,938        8,310         3,595                 704
                                                 64.23%        27.79%               5.44%
 County: Tift GA
         Total:                      24,496        9,927        10,332              3,612
                                                 40.52%        42.18%             14.75%
          Voting Age                 18,004        8,135         7,151              2,218
                                                 45.18%        39.72%             12.32%
District 170 Total
           Total:                    59,885       34,981        17,544               5,791
                                                 58.41%        29.30%               9.67%
          Voting Age                 44,632       27,626        12,245               3,544
                                                 61.90%        27.44%               7.94%
District 171
 County: Dougherty GA
           Total:                    20,906        3,450        16,409                 875
                                                 16.50%        78.49%               4.19%
          Voting Age                 15,841        3,012        12,112                 551
                                                 19.01%        76.46%               3.48%
 County: Mitchell GA
         Total:                      21,755       10,106        10,394                 964
                                                 46.45%        47.78%               4.43%
          Voting Age                 17,065        8,284         7,917                 615
                                                 48.54%        46.39%               3.60%
 County: Thomas GA
         Total:                      17,670        7,351         9,388                 537
                                                 41.60%        53.13%               3.04%
          Voting Age                 13,215        5,805         6,749                 351
                                                 43.93%        51.07%               2.66%
District 171 Total
           Total:                    60,331       20,907        36,191               2,376
                                                 34.65%        59.99%               3.94%
          Voting Age                 46,121       17,101        26,778               1,517
                                                 37.08%        58.06%               3.29%
District 172
 County: Colquitt GA
           Total:                    26,729       16,104         4,732              5,266
                                                 60.25%        17.70%             19.70%
          Voting Age                 20,087       13,030         3,310              3,245
                                                 64.87%        16.48%             16.15%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 172
 County: Grady GA
           Total:                     4,715        3,078         1,006                536
                                                 65.28%        21.34%             11.37%
          Voting Age                  3,591        2,482           750                285
                                                 69.12%        20.89%              7.94%
 County: Thomas GA
         Total:                      28,128       18,643         7,587               1,040
                                                 66.28%        26.97%               3.70%
          Voting Age                 21,822       14,935         5,583                 619
                                                 68.44%        25.58%               2.84%
District 172 Total
           Total:                    59,572       37,825        13,325              6,842
                                                 63.49%        22.37%             11.49%
          Voting Age                 45,500       30,447         9,643              4,149
                                                 66.92%        21.19%              9.12%
District 173
 County: Decatur GA
           Total:                    29,367       14,280        12,583               1,911
                                                 48.63%        42.85%               6.51%
          Voting Age                 22,443       11,586         9,189               1,196
                                                 51.62%        40.94%               5.33%
 County: Grady GA
         Total:                      21,521       11,637         6,687              2,737
                                                 54.07%        31.07%             12.72%
          Voting Age                 16,371        9,486         4,928              1,572
                                                 57.94%        30.10%              9.60%
 County: Seminole GA
         Total:                       9,147        5,617         3,093                 228
                                                 61.41%        33.81%               2.49%
          Voting Age                  7,277        4,681         2,275                 160
                                                 64.33%        31.26%               2.20%
District 173 Total
           Total:                    60,035       31,534        22,363               4,876
                                                 52.53%        37.25%               8.12%
          Voting Age                 46,091       25,753        16,392               2,928
                                                 55.87%        35.56%               6.35%
District 174
 County: Brantley GA
           Total:                    18,021       16,317           733                 326
                                                 90.54%         4.07%               1.81%
          Voting Age                 13,692       12,522           470                 212
                                                 91.45%         3.43%               1.55%
 County: Charlton GA
         Total:                      12,518        7,532         2,798              2,036
                                                 60.17%        22.35%             16.26%
          Voting Age                 10,135        5,929         2,147              1,971
                                                 58.50%        21.18%             19.45%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 174
 County: Clinch GA
           Total:                     6,749        4,256         2,096                 253
                                                 63.06%        31.06%               3.75%
          Voting Age                  5,034        3,372         1,406                 156
                                                 66.98%        27.93%               3.10%
 County: Echols GA
         Total:                       3,697        2,328           193              1,091
                                                 62.97%         5.22%             29.51%
          Voting Age                  2,709        1,856           121                667
                                                 68.51%         4.47%             24.62%
 County: Lowndes GA
         Total:                       9,770        7,446         1,486                 563
                                                 76.21%        15.21%               5.76%
          Voting Age                  7,472        5,800         1,086                 372
                                                 77.62%        14.53%               4.98%
 County: Ware GA
         Total:                       9,097        4,514         3,954                 448
                                                 49.62%        43.46%               4.92%
          Voting Age                  6,718        3,581         2,720                 263
                                                 53.30%        40.49%               3.91%
District 174 Total
           Total:                    59,852       42,393        11,260               4,717
                                                 70.83%        18.81%               7.88%
          Voting Age                 45,760       33,060         7,950               3,641
                                                 72.25%        17.37%               7.96%
District 175
 County: Brooks GA
           Total:                    16,301        9,066         5,958                 955
                                                 55.62%        36.55%               5.86%
          Voting Age                 12,747        7,483         4,357                 635
                                                 58.70%        34.18%               4.98%
 County: Lowndes GA
         Total:                      43,692       29,375         9,375               2,702
                                                 67.23%        21.46%               6.18%
          Voting Age                 31,957       22,242         6,448               1,615
                                                 69.60%        20.18%               5.05%
District 175 Total
           Total:                    59,993       38,441        15,333               3,657
                                                 64.08%        25.56%               6.10%
          Voting Age                 44,704       29,725        10,805               2,250
                                                 66.49%        24.17%               5.03%
District 176
 County: Atkinson GA
           Total:                     8,286        4,801         1,284              2,048
                                                 57.94%        15.50%             24.72%
          Voting Age                  6,129        3,787           937              1,282
                                                 61.79%        15.29%             20.92%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 176
 County: Coffee GA
           Total:                     9,356        6,084         1,524              1,540
                                                 65.03%        16.29%             16.46%
          Voting Age                  6,878        4,713         1,105                907
                                                 68.52%        16.07%             13.19%
 County: Lanier GA
         Total:                       9,877        6,595         2,369                 572
                                                 66.77%        23.99%               5.79%
          Voting Age                  7,326        5,010         1,683                 370
                                                 68.39%        22.97%               5.05%
 County: Lowndes GA
         Total:                       4,797        2,556         1,387                591
                                                 53.28%        28.91%             12.32%
          Voting Age                  3,588        2,016           975                400
                                                 56.19%        27.17%             11.15%
 County: Ware GA
         Total:                      27,154       17,761         7,467               1,164
                                                 65.41%        27.50%               4.29%
          Voting Age                 21,070       14,237         5,506                 749
                                                 67.57%        26.13%               3.55%
District 176 Total
           Total:                    59,470       37,797        14,031               5,915
                                                 63.56%        23.59%               9.95%
          Voting Age                 44,991       29,763        10,206               3,708
                                                 66.15%        22.68%               8.24%
District 177
 County: Lowndes GA
           Total:                    59,992       19,929        34,510               4,016
                                                 33.22%        57.52%               6.69%
          Voting Age                 46,014       17,082        24,793               2,814
                                                 37.12%        53.88%               6.12%
District 177 Total
           Total:                    59,992       19,929        34,510               4,016
                                                 33.22%        57.52%               6.69%
          Voting Age                 46,014       17,082        24,793               2,814
                                                 37.12%        53.88%               6.12%
District 178
 County: Bacon GA
           Total:                    11,140        8,103         1,970                 875
                                                 72.74%        17.68%               7.85%
          Voting Age                  8,310        6,374         1,245                 547
                                                 76.70%        14.98%               6.58%
 County: Pierce GA
         Total:                      19,716       16,403         1,801                 998
                                                 83.20%         9.13%               5.06%
          Voting Age                 14,899       12,662         1,262                 595
                                                 84.99%         8.47%               3.99%



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Plan Components with Population Detail                                   Illustrative_House

                                      Total     NH_Wht         AP_Blk           [Hispanic
                                 Population                                       Origin]

District 178
 County: Wayne GA
           Total:                    28,441       19,753         6,316               1,698
                                                 69.45%        22.21%               5.97%
          Voting Age                 21,747       15,493         4,613               1,093
                                                 71.24%        21.21%               5.03%
District 178 Total
           Total:                    59,297       44,259        10,087               3,571
                                                 74.64%        17.01%               6.02%
          Voting Age                 44,956       34,529         7,120               2,235
                                                 76.81%        15.84%               4.97%
District 179
 County: Glynn GA
           Total:                    59,974       35,515        18,101               4,602
                                                 59.22%        30.18%               7.67%
          Voting Age                 47,627       30,406        12,783               3,021
                                                 63.84%        26.84%               6.34%
District 179 Total
           Total:                    59,974       35,515        18,101               4,602
                                                 59.22%        30.18%               7.67%
          Voting Age                 47,627       30,406        12,783               3,021
                                                 63.84%        26.84%               6.34%
District 180
 County: Camden GA
           Total:                    54,768       37,203        11,072               3,658
                                                 67.93%        20.22%               6.68%
          Voting Age                 41,808       29,410         7,828               2,457
                                                 70.35%        18.72%               5.88%
 County: Glynn GA
         Total:                       4,644        3,618           649                 185
                                                 77.91%        13.98%               3.98%
          Voting Age                  3,554        2,873           433                  93
                                                 80.84%        12.18%               2.62%
District 180 Total
           Total:                    59,412       40,821        11,721               3,843
                                                 68.71%        19.73%               6.47%
          Voting Age                 45,362       32,283         8,261               2,550
                                                 71.17%        18.21%               5.62%




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                    EXHIBIT AA-4
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                    EXHIBIT AA-5
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                    EXHIBIT AA-6
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      User:
Plan Name: Illustrative_House
 Plan Type:


Core Constituencies
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From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 001 --                       59,666 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 001                  59,666 (100.00%   52,436 (100.00%)   3,034 (100.00%)      1,544 (100.00%)
                                  )
Total and % Population                       52,436 (87.88%)    3,034 (5.08%)        1,544 (2.59%)


Plan: Illustrative_House, District 002 --                       59,405 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 002                  53,563 (90.17%)   46,117 (90.41%)    1,843 (87.14%)       3,334 (89.43%)
Dist. 004                   1,000 (1.68%)      562 (1.10%)        99 (4.68%)           271 (7.27%)
Dist. 012                   4,842 (8.15%)     4,327 (8.48%)      173 (8.18%)           123 (3.30%)
Total and % Population                       51,006 (85.86%)    2,115 (3.56%)        3,728 (6.28%)


Plan: Illustrative_House, District 003 --                       60,199 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 003                  60,199 (100.00%   52,311 (100.00%)   2,463 (100.00%)      2,170 (100.00%)
                                  )
Total and % Population                       52,311 (86.90%)    2,463 (4.09%)        2,170 (3.60%)


Plan: Illustrative_House, District 004 --                       60,125 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 002                   6,210 (10.33%)    3,637 (13.74%)     330 (9.75%)         2,098 (7.30%)
Dist. 004                  44,404 (73.85%)   16,118 (60.89%)    2,684 (79.27%)      24,544 (85.37%)
Dist. 006                   9,511 (15.82%)    6,714 (25.37%)     372 (10.99%)        2,109 (7.34%)
Total and % Population                       26,469 (44.02%)    3,386 (5.63%)       28,751 (47.82%)


Plan: Illustrative_House, District 005 --                       58,961 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 004                   1,417 (2.40%)     1,077 (2.43%)       28 (0.95%)           263 (2.85%)
Dist. 005                  53,738 (91.14%)   39,902 (89.88%)    2,869 (97.35%)       8,788 (95.31%)
Dist. 006                   3,806 (6.46%)     3,415 (7.69%)       50 (1.70%)           169 (1.83%)
Total and % Population                       44,394 (75.29%)    2,947 (5.00%)        9,220 (15.64%)


Plan: Illustrative_House, District 006 --                       58,644 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 004                  12,249 (20.89%)    7,056 (15.75%)     453 (39.19%)        4,501 (41.34%)
Dist. 006                  46,395 (79.11%)   37,731 (84.25%)     703 (60.81%)        6,386 (58.66%)
Total and % Population                       44,787 (76.37%)    1,156 (1.97%)       10,887 (18.56%)




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Core Constituencies                                                                                 Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 007 --                      58,807 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 007                  25,319 (43.05%)   23,351 (44.40%)    199 (22.51%)         753 (29.61%)
Dist. 009                  29,201 (49.66%)   25,638 (48.75%)    600 (67.87%)       1,457 (57.29%)
Dist. 027                   4,287 (7.29%)     3,603 (6.85%)      85 (9.62%)          333 (13.09%)
Total and % Population                       52,592 (89.43%)    884 (1.50%)        2,543 (4.32%)


Plan: Illustrative_House, District 008 --                      58,972 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 008                  37,125 (62.95%)   34,115 (64.06%)    396 (56.25%)       1,231 (43.28%)
Dist. 010                  21,847 (37.05%)   19,137 (35.94%)    308 (43.75%)       1,613 (56.72%)
Total and % Population                       53,252 (90.30%)    704 (1.19%)        2,844 (4.82%)


Plan: Illustrative_House, District 009 --                      59,260 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 007                  33,762 (56.97%)   28,624 (56.27%)    314 (44.10%)       3,639 (69.01%)
Dist. 009                  24,389 (41.16%)   21,285 (41.85%)    374 (52.53%)       1,565 (29.68%)
Dist. 027                   1,109 (1.87%)      957 (1.88%)       24 (3.37%)           69 (1.31%)
Total and % Population                       50,866 (85.84%)    712 (1.20%)        5,273 (8.90%)


Plan: Illustrative_House, District 010 --                      59,732 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 008                  22,119 (37.03%)   19,677 (40.83%)    629 (26.73%)         672 (10.74%)
Dist. 009                   5,884 (9.85%)     5,282 (10.96%)     92 (3.91%)          241 (3.85%)
Dist. 010                  31,729 (53.12%)   23,233 (48.21%)   1,632 (69.36%)      5,345 (85.41%)
Total and % Population                       48,192 (80.68%)   2,353 (3.94%)       6,258 (10.48%)


Plan: Illustrative_House, District 011 --                      59,186 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 011                  39,773 (67.20%)   36,037 (72.89%)    630 (26.53%)       1,465 (29.03%)
Dist. 023                  19,413 (32.80%)   13,404 (27.11%)   1,745 (73.47%)      3,582 (70.97%)
Total and % Population                       49,441 (83.53%)   2,375 (4.01%)       5,047 (8.53%)


Plan: Illustrative_House, District 012 --                      58,838 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 012                  42,961 (73.02%)   35,134 (75.38%)   4,155 (58.39%)      2,306 (73.82%)
Dist. 013                  15,877 (26.98%)   11,475 (24.62%)   2,961 (41.61%)        818 (26.18%)
Total and % Population                       46,609 (79.22%)   7,116 (12.09%)      3,124 (5.31%)


Plan: Illustrative_House, District 013 --                      59,869 Total Population
                         Population           NH_Wht           AP_Blk           [Hispanic Origin]
Dist. 005                   5,099 (8.52%)     4,494 (12.18%)    213 (1.90%)          211 (2.22%)
Dist. 012                  11,497 (19.20%)    7,057 (19.13%)   1,718 (15.36%)      2,123 (22.31%)



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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 013 --                      59,869 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 013                  43,273 (72.28%)   25,339 (68.69%)    9,251 (82.73%)      7,182 (75.47%)
Total and % Population                       36,890 (61.62%)   11,182 (18.68%)      9,516 (15.89%)


Plan: Illustrative_House, District 014 --                      59,369 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 014                  59,095 (99.54%)   48,095 (99.54%)    4,334 (99.59%)      4,156 (99.47%)
Dist. 015                    274 (0.46%)       222 (0.46%)        18 (0.41%)           22 (0.53%)
Total and % Population                       48,317 (81.38%)    4,352 (7.33%)       4,178 (7.04%)


Plan: Illustrative_House, District 015 --                      58,979 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 014                     40 (0.07%)        30 (0.07%)          4 (0.04%)           7 (0.10%)
Dist. 015                  58,939 (99.93%)   40,267 (99.93%)    9,334 (99.96%)      6,927 (99.90%)
Total and % Population                       40,297 (68.32%)    9,338 (15.83%)      6,934 (11.76%)


Plan: Illustrative_House, District 016 --                      59,713 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                  51,245 (85.82%)   37,094 (85.25%)    6,458 (82.92%)      6,041 (92.95%)
Dist. 017                   6,748 (11.30%)    5,106 (11.73%)    1,026 (13.17%)        388 (5.97%)
Dist. 018                   1,720 (2.88%)     1,313 (3.02%)      304 (3.90%)           70 (1.08%)
Total and % Population                       43,513 (72.87%)    7,788 (13.04%)      6,499 (10.88%)


Plan: Illustrative_House, District 017 --                      58,677 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                       5 (0.01%)         2 (0.01%)         2 (0.01%)           2 (0.04%)
Dist. 017                  25,558 (43.56%)   14,983 (44.95%)    7,569 (40.90%)      2,196 (44.64%)
Dist. 019                  33,114 (56.43%)   18,346 (55.04%)   10,936 (59.09%)      2,721 (55.32%)
Total and % Population                       33,331 (56.80%)   18,507 (31.54%)      4,919 (8.38%)


Plan: Illustrative_House, District 018 --                      58,881 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 017                    517 (0.88%)       442 (0.88%)        45 (0.94%)           19 (1.19%)
Dist. 018                  52,154 (88.58%)   44,826 (89.03%)    4,109 (85.66%)      1,308 (82.16%)
Dist. 019                   1,240 (2.11%)      995 (1.98%)       140 (2.92%)           49 (3.08%)
Dist. 072                   4,970 (8.44%)     4,089 (8.12%)      503 (10.49%)         216 (13.57%)
Total and % Population                       50,352 (85.51%)    4,797 (8.15%)       1,592 (2.70%)


Plan: Illustrative_House, District 019 --                      59,050 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 016                   8,152 (13.81%)    6,207 (15.39%)    1,121 (9.55%)         460 (10.46%)




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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 019 --                       59,050 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 017                  26,297 (44.53%)   16,883 (41.86%)     6,143 (52.33%)       2,067 (46.99%)
Dist. 019                  24,601 (41.66%)   17,244 (42.75%)     4,474 (38.12%)       1,872 (42.56%)
Total and % Population                       40,334 (68.30%)    11,738 (19.88%)       4,399 (7.45%)


Plan: Illustrative_House, District 020 --                       60,107 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 020                  60,107 (100.00%   44,437 (100.00%)    5,973 (100.00%)      6,372 (100.00%)
                                  )
Total and % Population                       44,437 (73.93%)     5,973 (9.94%)        6,372 (10.60%)


Plan: Illustrative_House, District 021 --                       58,907 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 021                  56,329 (95.62%)   44,766 (95.80%)     3,289 (94.98%)       4,952 (93.43%)
Dist. 023                   2,578 (4.38%)     1,963 (4.20%)       174 (5.02%)           348 (6.57%)
Total and % Population                       46,729 (79.33%)     3,463 (5.88%)        5,300 (9.00%)


Plan: Illustrative_House, District 022 --                       59,460 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 022                  59,460 (100.00%   37,180 (100.00%)    9,890 (100.00%)      7,883 (100.00%)
                                  )
Total and % Population                       37,180 (62.53%)     9,890 (16.63%)       7,883 (13.26%)


Plan: Illustrative_House, District 023 --                       59,771 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 011                  16,455 (27.53%)   13,435 (29.53%)      582 (18.78%)        1,458 (17.81%)
Dist. 021                   2,732 (4.57%)     2,473 (5.44%)        54 (1.74%)           112 (1.37%)
Dist. 023                  37,057 (62.00%)   26,833 (58.98%)     2,331 (75.22%)       6,223 (76.01%)
Dist. 024                   1,335 (2.23%)      951 (2.09%)         57 (1.84%)           204 (2.49%)
Dist. 028                   1,654 (2.77%)     1,343 (2.95%)        63 (2.03%)           150 (1.83%)
Dist. 047                    538 (0.90%)       458 (1.01%)         12 (0.39%)            40 (0.49%)
Total and % Population                       45,493 (76.11%)     3,099 (5.18%)        8,187 (13.70%)


Plan: Illustrative_House, District 024 --                       59,554 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 024                  50,859 (85.40%)   30,056 (85.02%)     3,976 (89.23%)       5,542 (85.13%)
Dist. 025                       0 (0.00%)         0 (0.00%)            (0.00%)              (0.00%)
Dist. 026                   8,695 (14.60%)    5,295 (14.98%)      480 (10.77%)          968 (14.87%)
Total and % Population                       35,351 (59.36%)     4,456 (7.48%)        6,510 (10.93%)


Plan: Illustrative_House, District 025 --                       59,414 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]



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Core Constituencies                                                                                    Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 025 --                       59,414 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 025                  59,414 (100.00%   30,889 (100.00%)   3,606 (100.00%)      3,218 (100.00%)
                                  )
Total and % Population                       30,889 (51.99%)    3,606 (6.07%)        3,218 (5.42%)


Plan: Illustrative_House, District 026 --                       59,002 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 024                   2,829 (4.79%)     1,716 (4.71%)      129 (5.00%)           251 (3.38%)
Dist. 026                  47,082 (79.80%)   29,877 (82.02%)    2,016 (78.17%)       5,933 (79.78%)
Dist. 028                   5,920 (10.03%)    4,130 (11.34%)     312 (12.10%)        1,125 (15.13%)
Dist. 100                   3,171 (5.37%)      703 (1.93%)       122 (4.73%)           128 (1.72%)
Total and % Population                       36,426 (61.74%)    2,579 (4.37%)        7,437 (12.60%)


Plan: Illustrative_House, District 027 --                       58,710 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 027                  40,079 (68.27%)   32,470 (82.85%)    1,348 (39.98%)       4,701 (33.55%)
Dist. 029                   6,787 (11.56%)    4,012 (10.24%)     828 (24.56%)        1,658 (11.83%)
Dist. 031                  11,844 (20.17%)    2,707 (6.91%)     1,196 (35.47%)       7,655 (54.62%)
Total and % Population                       39,189 (66.75%)    3,372 (5.74%)       14,014 (23.87%)


Plan: Illustrative_House, District 028 --                       59,012 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 011                   2,564 (4.34%)     1,929 (4.24%)      168 (6.28%)           213 (2.87%)
Dist. 024                   3,988 (6.76%)     2,762 (6.07%)      151 (5.64%)           706 (9.51%)
Dist. 026                   1,479 (2.51%)     1,111 (2.44%)       71 (2.65%)           177 (2.38%)
Dist. 027                   3,386 (5.74%)     2,637 (5.80%)       86 (3.21%)           536 (7.22%)
Dist. 028                  47,595 (80.65%)   37,038 (81.44%)    2,199 (82.21%)       5,792 (78.02%)
Total and % Population                       45,477 (77.06%)    2,675 (4.53%)        7,424 (12.58%)


Plan: Illustrative_House, District 029 --                       59,015 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 027                   2,799 (4.74%)     1,579 (7.34%)      658 (8.15%)           466 (1.72%)
Dist. 028                   3,803 (6.44%)     2,604 (12.11%)     112 (1.39%)           949 (3.50%)
Dist. 029                  52,413 (88.81%)   17,328 (80.55%)    7,304 (90.46%)      25,738 (94.79%)
Total and % Population                       21,511 (36.45%)    8,074 (13.68%)      27,153 (46.01%)


Plan: Illustrative_House, District 030 --                       59,266 Total Population
                         Population           NH_Wht            AP_Blk            [Hispanic Origin]
Dist. 030                  59,266 (100.00%   39,727 (100.00%)   5,186 (100.00%)     11,128 (100.00%)
                                  )
Total and % Population                       39,727 (67.03%)    5,186 (8.75%)       11,128 (18.78%)


Plan: Illustrative_House, District 031 --                       59,753 Total Population


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From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 027                   1,826 (3.06%)     1,381 (3.09%)        68 (1.40%)           314 (4.50%)
Dist. 031                  44,550 (74.56%)   33,622 (75.23%)     3,347 (69.11%)       5,148 (73.80%)
Dist. 032                   9,166 (15.34%)    6,851 (15.33%)      952 (19.66%)          914 (13.10%)
Dist. 119                   4,211 (7.05%)     2,840 (6.35%)       476 (9.83%)           600 (8.60%)
Total and % Population                       44,694 (74.80%)     4,843 (8.11%)        6,976 (11.67%)


Plan: Illustrative_House, District 032 --                       59,466 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 010                   5,943 (9.99%)     4,418 (9.19%)       347 (7.12%)           842 (21.44%)
Dist. 027                   5,309 (8.93%)     4,229 (8.80%)       320 (6.57%)           533 (13.57%)
Dist. 032                  48,214 (81.08%)   39,432 (82.02%)     4,204 (86.31%)       2,553 (64.99%)
Total and % Population                       48,079 (80.85%)     4,871 (8.19%)        3,928 (6.61%)


Plan: Illustrative_House, District 033 --                       59,187 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 033                  59,187 (100.00%   47,314 (100.00%)    7,322 (100.00%)      2,415 (100.00%)
                                  )
Total and % Population                       47,314 (79.94%)     7,322 (12.37%)       2,415 (4.08%)


Plan: Illustrative_House, District 034 --                       59,875 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 034                  59,875 (100.00%   39,871 (100.00%)   10,102 (100.00%)      5,427 (100.00%)
                                  )
Total and % Population                       39,871 (66.59%)    10,102 (16.87%)       5,427 (9.06%)


Plan: Illustrative_House, District 035 --                       60,031 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 035                  59,889 (99.76%)   30,019 (99.69%)    18,210 (99.91%)       7,608 (99.70%)
Dist. 036                    142 (0.24%)        94 (0.31%)         16 (0.09%)            23 (0.30%)
Total and % Population                       30,113 (50.16%)    18,226 (30.36%)       7,631 (12.71%)


Plan: Illustrative_House, District 036 --                       59,852 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 036                  59,852 (100.00%   40,707 (100.00%)   11,039 (100.00%)      4,453 (100.00%)
                                  )
Total and % Population                       40,707 (68.01%)    11,039 (18.44%)       4,453 (7.44%)


Plan: Illustrative_House, District 037 --                       59,176 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 037                  59,176 (100.00%   24,970 (100.00%)   17,171 (100.00%)     12,993 (100.00%)
                                  )
Total and % Population                       24,970 (42.20%)    17,171 (29.02%)      12,993 (21.96%)


Plan: Illustrative_House, District 038 --                       59,317 Total Population


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 038                  59,317 (100.00%   15,382 (100.00%)   33,760 (100.00%)      8,730 (100.00%)
                                  )
Total and % Population                       15,382 (25.93%)    33,760 (56.91%)       8,730 (14.72%)


Plan: Illustrative_House, District 039 --                       59,381 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 039                  59,381 (100.00%   12,233 (100.00%)   33,016 (100.00%)     12,942 (100.00%)
                                  )
Total and % Population                       12,233 (20.60%)    33,016 (55.60%)      12,942 (21.79%)


Plan: Illustrative_House, District 040 --                       59,044 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 040                  59,044 (100.00%   28,894 (100.00%)   20,179 (100.00%)      3,795 (100.00%)
                                  )
Total and % Population                       28,894 (48.94%)    20,179 (34.18%)       3,795 (6.43%)


Plan: Illustrative_House, District 041 --                       60,122 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 041                  60,122 (100.00%   14,079 (100.00%)   23,846 (100.00%)     19,971 (100.00%)
                                  )
Total and % Population                       14,079 (23.42%)    23,846 (39.66%)      19,971 (33.22%)


Plan: Illustrative_House, District 042 --                       59,620 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 042                  59,620 (100.00%   21,149 (100.00%)   20,726 (100.00%)     12,217 (100.00%)
                                  )
Total and % Population                       21,149 (35.47%)    20,726 (34.76%)      12,217 (20.49%)


Plan: Illustrative_House, District 043 --                       59,464 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 043                  59,464 (100.00%   25,759 (100.00%)   16,346 (100.00%)      9,424 (100.00%)
                                  )
Total and % Population                       25,759 (43.32%)    16,346 (27.49%)       9,424 (15.85%)


Plan: Illustrative_House, District 044 --                       60,002 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 044                  60,002 (100.00%   38,825 (100.00%)    7,990 (100.00%)      7,197 (100.00%)
                                  )
Total and % Population                       38,825 (64.71%)     7,990 (13.32%)       7,197 (11.99%)


Plan: Illustrative_House, District 045 --                       59,738 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 045                  59,738 (100.00%   43,186 (100.00%)    3,303 (100.00%)      3,283 (100.00%)
                                  )



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 045 --                       59,738 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Total and % Population                       43,186 (72.29%)     3,303 (5.53%)        3,283 (5.50%)


Plan: Illustrative_House, District 046 --                       59,108 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 046                  59,108 (100.00%   42,814 (100.00%)    5,077 (100.00%)      4,869 (100.00%)
                                  )
Total and % Population                       42,814 (72.43%)     5,077 (8.59%)        4,869 (8.24%)


Plan: Illustrative_House, District 047 --                       59,056 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 021                    468 (0.79%)       406 (1.11%)           7 (0.11%)          19 (0.41%)
Dist. 047                  58,588 (99.21%)   36,027 (98.89%)     6,578 (99.89%)       4,592 (99.59%)
Total and % Population                       36,433 (61.69%)     6,585 (11.15%)       4,611 (7.81%)


Plan: Illustrative_House, District 048 --                       59,003 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 048                  59,003 (100.00%   34,843 (100.00%)    7,216 (100.00%)      8,317 (100.00%)
                                  )
Total and % Population                       34,843 (59.05%)     7,216 (12.23%)       8,317 (14.10%)


Plan: Illustrative_House, District 049 --                       59,153 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 049                  59,153 (100.00%   40,782 (100.00%)    5,234 (100.00%)      4,473 (100.00%)
                                  )
Total and % Population                       40,782 (68.94%)     5,234 (8.85%)        4,473 (7.56%)


Plan: Illustrative_House, District 050 --                       59,523 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 050                  59,523 (100.00%   24,729 (100.00%)    7,763 (100.00%)      4,202 (100.00%)
                                  )
Total and % Population                       24,729 (41.55%)     7,763 (13.04%)       4,202 (7.06%)


Plan: Illustrative_House, District 051 --                       58,952 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 051                  58,952 (100.00%   30,076 (100.00%)   14,766 (100.00%)      9,119 (100.00%)
                                  )
Total and % Population                       30,076 (51.02%)    14,766 (25.05%)       9,119 (15.47%)


Plan: Illustrative_House, District 052 --                       59,811 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 052 --                       59,811 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 052                  59,811 (100.00%   32,182 (100.00%)    9,461 (100.00%)      4,773 (100.00%)
                                  )
Total and % Population                       32,182 (53.81%)     9,461 (15.82%)       4,773 (7.98%)


Plan: Illustrative_House, District 053 --                       59,953 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 053                  59,953 (100.00%   42,146 (100.00%)    8,685 (100.00%)      4,919 (100.00%)
                                  )
Total and % Population                       42,146 (70.30%)     8,685 (14.49%)       4,919 (8.20%)


Plan: Illustrative_House, District 054 --                       60,083 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 054                  60,083 (100.00%   36,671 (100.00%)    9,048 (100.00%)      9,115 (100.00%)
                                  )
Total and % Population                       36,671 (61.03%)     9,048 (15.06%)       9,115 (15.17%)


Plan: Illustrative_House, District 055 --                       59,971 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 055                  59,971 (100.00%   20,257 (100.00%)   34,374 (100.00%)      3,080 (100.00%)
                                  )
Total and % Population                       20,257 (33.78%)    34,374 (57.32%)       3,080 (5.14%)


Plan: Illustrative_House, District 056 --                       58,929 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 056                  58,929 (100.00%   20,055 (100.00%)   29,016 (100.00%)      3,425 (100.00%)
                                  )
Total and % Population                       20,055 (34.03%)    29,016 (49.24%)       3,425 (5.81%)


Plan: Illustrative_House, District 057 --                       59,969 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 057                  59,969 (100.00%   37,712 (100.00%)   10,691 (100.00%)      5,294 (100.00%)
                                  )
Total and % Population                       37,712 (62.89%)    10,691 (17.83%)       5,294 (8.83%)


Plan: Illustrative_House, District 058 --                       59,057 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 058                  59,057 (100.00%   14,752 (100.00%)   39,036 (100.00%)      2,973 (100.00%)
                                  )
Total and % Population                       14,752 (24.98%)    39,036 (66.10%)       2,973 (5.03%)


Plan: Illustrative_House, District 059 --                       59,434 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 059 --                       59,434 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 059                  59,434 (100.00%   11,510 (100.00%)   43,468 (100.00%)      2,647 (100.00%)
                                  )
Total and % Population                       11,510 (19.37%)    43,468 (73.14%)       2,647 (4.45%)


Plan: Illustrative_House, District 060 --                       59,709 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 060                  59,709 (100.00%   15,952 (100.00%)   38,562 (100.00%)      3,504 (100.00%)
                                  )
Total and % Population                       15,952 (26.72%)    38,562 (64.58%)       3,504 (5.87%)


Plan: Illustrative_House, District 061 --                       59,302 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 061                  59,302 (100.00%    8,770 (100.00%)   44,535 (100.00%)      5,394 (100.00%)
                                  )
Total and % Population                        8,770 (14.79%)    44,535 (75.10%)       5,394 (9.10%)


Plan: Illustrative_House, District 062 --                       59,450 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 062                  59,450 (100.00%   10,210 (100.00%)   43,732 (100.00%)      4,522 (100.00%)
                                  )
Total and % Population                       10,210 (17.17%)    43,732 (73.56%)       4,522 (7.61%)


Plan: Illustrative_House, District 063 --                       59,381 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 063                  59,381 (100.00%    9,942 (100.00%)   42,146 (100.00%)      6,185 (100.00%)
                                  )
Total and % Population                        9,942 (16.74%)    42,146 (70.98%)       6,185 (10.42%)


Plan: Illustrative_House, District 064 --                       59,902 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 018                    916 (1.53%)       765 (2.31%)         91 (0.47%)           25 (0.48%)
Dist. 064                  58,986 (98.47%)   32,299 (97.69%)    19,200 (99.53%)       5,214 (99.52%)
Total and % Population                       33,064 (55.20%)    19,291 (32.20%)       5,239 (8.75%)


Plan: Illustrative_House, District 065 --                       59,464 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 065                  59,464 (100.00%   17,570 (100.00%)   37,702 (100.00%)      3,107 (100.00%)
                                  )
Total and % Population                       17,570 (29.55%)    37,702 (63.40%)       3,107 (5.23%)


Plan: Illustrative_House, District 066 --                       59,047 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 066                  59,047 (100.00%   17,701 (100.00%)   33,210 (100.00%)      6,526 (100.00%)
                                  )
Total and % Population                       17,701 (29.98%)    33,210 (56.24%)       6,526 (11.05%)


Plan: Illustrative_House, District 067 --                       59,135 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 067                  59,135 (100.00%   17,203 (100.00%)   35,438 (100.00%)      5,153 (100.00%)
                                  )
Total and % Population                       17,203 (29.09%)    35,438 (59.93%)       5,153 (8.71%)


Plan: Illustrative_House, District 068 --                       59,477 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 068                  59,477 (100.00%   18,526 (100.00%)   34,189 (100.00%)      4,339 (100.00%)
                                  )
Total and % Population                       18,526 (31.15%)    34,189 (57.48%)       4,339 (7.30%)


Plan: Illustrative_House, District 069 --                       60,397 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 069                  48,278 (79.93%)   10,707 (53.54%)    32,843 (96.65%)       2,923 (79.78%)
Dist. 073                  10,473 (17.34%)    7,914 (39.57%)     1,078 (3.17%)          676 (18.45%)
Dist. 074                   1,646 (2.73%)     1,379 (6.90%)        59 (0.17%)            65 (1.77%)
Total and % Population                       20,000 (33.11%)    33,980 (56.26%)       3,664 (6.07%)


Plan: Illustrative_House, District 070 --                       59,121 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 070                  59,121 (100.00%   33,410 (100.00%)   17,750 (100.00%)      5,368 (100.00%)
                                  )
Total and % Population                       33,410 (56.51%)    17,750 (30.02%)       5,368 (9.08%)


Plan: Illustrative_House, District 071 --                       59,415 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 018                   4,545 (7.65%)     3,402 (8.27%)       614 (5.15%)           335 (8.28%)
Dist. 071                  51,860 (87.28%)   35,231 (85.62%)    11,044 (92.58%)       3,572 (88.26%)
Dist. 072                   3,010 (5.07%)     2,514 (6.11%)       271 (2.27%)           140 (3.46%)
Total and % Population                       41,147 (69.25%)    11,929 (20.08%)       4,047 (6.81%)


Plan: Illustrative_House, District 072 --                       59,358 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 071                   7,678 (12.94%)    4,748 (12.41%)     1,748 (12.70%)         858 (15.97%)
Dist. 072                  51,680 (87.06%)   33,526 (87.59%)    12,014 (87.30%)       4,515 (84.03%)
Total and % Population                       38,274 (64.48%)    13,762 (23.18%)       5,373 (9.05%)


Plan: Illustrative_House, District 073 --                       60,189 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]



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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 073 --                      60,189 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 073                  49,563 (82.35%)   34,061 (79.59%)    6,787 (91.89%)      4,105 (89.05%)
Dist. 074                  10,626 (17.65%)    8,734 (20.41%)     599 (8.11%)          505 (10.95%)
Total and % Population                       42,795 (71.10%)    7,386 (12.27%)      4,610 (7.66%)


Plan: Illustrative_House, District 074 --                      59,976 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 074                  25,330 (42.23%)   12,218 (80.04%)   10,271 (26.89%)      2,193 (39.66%)
Dist. 075                   5,283 (8.81%)      430 (2.82%)      3,824 (10.01%)      1,007 (18.21%)
Dist. 078                  27,858 (46.45%)    2,404 (15.75%)   23,003 (60.23%)      2,128 (38.49%)
Dist. 116                   1,505 (2.51%)      212 (1.39%)      1,093 (2.86%)         201 (3.64%)
Total and % Population                       15,264 (25.45%)   38,191 (63.68%)      5,529 (9.22%)


Plan: Illustrative_House, District 075 --                      60,164 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 075                  21,381 (35.54%)    2,198 (48.04%)   15,100 (33.99%)      3,208 (35.94%)
Dist. 077                   3,287 (5.46%)      164 (3.58%)      2,761 (6.21%)         321 (3.60%)
Dist. 078                   3,394 (5.64%)      427 (9.33%)      2,213 (4.98%)         546 (6.12%)
Dist. 079                  32,102 (53.36%)    1,786 (39.04%)   24,356 (54.82%)      4,850 (54.34%)
Total and % Population                        4,575 (7.60%)    44,430 (73.85%)      8,925 (14.83%)


Plan: Illustrative_House, District 076 --                      58,905 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 076                  54,375 (92.31%)    4,608 (96.32%)   37,665 (90.39%)      7,506 (96.80%)
Dist. 078                   4,530 (7.69%)      176 (3.68%)      4,004 (9.61%)         248 (3.20%)
Total and % Population                        4,784 (8.12%)    41,669 (70.74%)      7,754 (13.16%)


Plan: Illustrative_House, District 077 --                      58,742 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 069                  10,404 (17.71%)    3,435 (27.27%)    5,549 (14.08%)        875 (17.99%)
Dist. 074                  11,472 (19.53%)    7,520 (59.71%)    2,704 (6.86%)         596 (12.25%)
Dist. 075                   6,753 (11.50%)     398 (3.16%)      5,735 (14.55%)        545 (11.20%)
Dist. 077                  20,022 (34.08%)     932 (7.40%)     16,350 (41.49%)      2,321 (47.71%)
Dist. 079                  10,091 (17.18%)     310 (2.46%)      9,066 (23.01%)        528 (10.85%)
Total and % Population                       12,595 (21.44%)   39,404 (67.08%)      4,865 (8.28%)


Plan: Illustrative_House, District 078 --                      59,188 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 075                  26,326 (44.48%)    2,493 (26.52%)   20,357 (50.88%)      2,989 (45.02%)
Dist. 078                  23,262 (39.30%)    4,484 (47.69%)   14,131 (35.32%)      2,946 (44.37%)
Dist. 116                   9,600 (16.22%)    2,425 (25.79%)    5,518 (13.79%)        705 (10.62%)
Total and % Population                        9,402 (15.88%)   40,006 (67.59%)      6,640 (11.22%)



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 079 --                       58,624 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 076                   5,384 (9.18%)      538 (12.18%)      2,796 (7.37%)        1,821 (14.01%)
Dist. 077                  35,933 (61.29%)    2,586 (58.56%)    25,852 (68.14%)       5,783 (44.48%)
Dist. 079                  17,307 (29.52%)    1,292 (29.26%)     9,291 (24.49%)       5,398 (41.52%)
Total and % Population                        4,416 (7.53%)     37,939 (64.72%)      13,002 (22.18%)


Plan: Illustrative_House, District 080 --                       59,461 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 080                  59,461 (100.00%   26,769 (100.00%)    8,128 (100.00%)     15,559 (100.00%)
                                  )
Total and % Population                       26,769 (45.02%)     8,128 (13.67%)      15,559 (26.17%)


Plan: Illustrative_House, District 081 --                       59,007 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 081                  59,007 (100.00%   26,127 (100.00%)   12,487 (100.00%)     14,504 (100.00%)
                                  )
Total and % Population                       26,127 (44.28%)    12,487 (21.16%)      14,504 (24.58%)


Plan: Illustrative_House, District 082 --                       59,724 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 082                  59,724 (100.00%   36,945 (100.00%)    9,763 (100.00%)      4,494 (100.00%)
                                  )
Total and % Population                       36,945 (61.86%)     9,763 (16.35%)       4,494 (7.52%)


Plan: Illustrative_House, District 083 --                       59,416 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 083                  59,416 (100.00%   26,221 (100.00%)    8,327 (100.00%)     20,050 (100.00%)
                                  )
Total and % Population                       26,221 (44.13%)     8,327 (14.01%)      20,050 (33.75%)


Plan: Illustrative_House, District 084 --                       59,862 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 084                  59,862 (100.00%   12,637 (100.00%)   43,909 (100.00%)      2,034 (100.00%)
                                  )
Total and % Population                       12,637 (21.11%)    43,909 (73.35%)       2,034 (3.40%)


Plan: Illustrative_House, District 085 --                       59,373 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 085                  59,373 (100.00%   10,143 (100.00%)   37,650 (100.00%)      3,558 (100.00%)
                                  )
Total and % Population                       10,143 (17.08%)    37,650 (63.41%)       3,558 (5.99%)


Plan: Illustrative_House, District 086 --                       59,205 Total Population



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 086                  59,205 (100.00%    6,276 (100.00%)   44,458 (100.00%)      2,750 (100.00%)
                                  )
Total and % Population                        6,276 (10.60%)    44,458 (75.09%)       2,750 (4.64%)


Plan: Illustrative_House, District 087 --                       59,709 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 087                  59,709 (100.00%    6,857 (100.00%)   44,195 (100.00%)      4,613 (100.00%)
                                  )
Total and % Population                        6,857 (11.48%)    44,195 (74.02%)       4,613 (7.73%)


Plan: Illustrative_House, District 088 --                       59,689 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 088                  59,689 (100.00%    9,541 (100.00%)   38,515 (100.00%)      6,839 (100.00%)
                                  )
Total and % Population                        9,541 (15.98%)    38,515 (64.53%)       6,839 (11.46%)


Plan: Illustrative_House, District 089 --                       59,866 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 089                  59,866 (100.00%   18,189 (100.00%)   37,494 (100.00%)      2,275 (100.00%)
                                  )
Total and % Population                       18,189 (30.38%)    37,494 (62.63%)       2,275 (3.80%)


Plan: Illustrative_House, District 090 --                       59,812 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 090                  59,812 (100.00%   19,190 (100.00%)   35,965 (100.00%)      2,784 (100.00%)
                                  )
Total and % Population                       19,190 (32.08%)    35,965 (60.13%)       2,784 (4.65%)


Plan: Illustrative_House, District 091 --                       58,901 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 091                  47,404 (80.48%)    8,276 (57.44%)    36,224 (89.53%)       2,329 (77.04%)
Dist. 115                  11,091 (18.83%)    5,930 (41.15%)     4,111 (10.16%)         636 (21.04%)
Dist. 116                    406 (0.69%)       203 (1.41%)        125 (0.31%)            58 (1.92%)
Total and % Population                       14,409 (24.46%)    40,460 (68.69%)       3,023 (5.13%)


Plan: Illustrative_House, District 092 --                       60,273 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 092                  60,273 (100.00%   12,645 (100.00%)   42,978 (100.00%)      3,306 (100.00%)
                                  )
Total and % Population                       12,645 (20.98%)    42,978 (71.31%)       3,306 (5.49%)


Plan: Illustrative_House, District 093 --                       60,118 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 093 --                       60,118 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 093                  60,118 (100.00%   11,987 (100.00%)   40,249 (100.00%)      6,757 (100.00%)
                                  )
Total and % Population                       11,987 (19.94%)    40,249 (66.95%)       6,757 (11.24%)


Plan: Illustrative_House, District 094 --                       59,211 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 094                  59,211 (100.00%    9,700 (100.00%)   41,397 (100.00%)      5,162 (100.00%)
                                  )
Total and % Population                        9,700 (16.38%)    41,397 (69.91%)       5,162 (8.72%)


Plan: Illustrative_House, District 095 --                       60,030 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 095                  60,030 (100.00%   11,281 (100.00%)   41,682 (100.00%)      5,597 (100.00%)
                                  )
Total and % Population                       11,281 (18.79%)    41,682 (69.44%)       5,597 (9.32%)


Plan: Illustrative_House, District 096 --                       59,515 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 096                  59,515 (100.00%   10,398 (100.00%)   13,970 (100.00%)     24,097 (100.00%)
                                  )
Total and % Population                       10,398 (17.47%)    13,970 (23.47%)      24,097 (40.49%)


Plan: Illustrative_House, District 097 --                       59,072 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 097                  59,072 (100.00%   19,604 (100.00%)   16,869 (100.00%)     12,911 (100.00%)
                                  )
Total and % Population                       19,604 (33.19%)    16,869 (28.56%)      12,911 (21.86%)


Plan: Illustrative_House, District 098 --                       59,998 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 098                  59,998 (100.00%    5,813 (100.00%)   13,286 (100.00%)     34,450 (100.00%)
                                  )
Total and % Population                        5,813 (9.69%)     13,286 (22.14%)      34,450 (57.42%)


Plan: Illustrative_House, District 099 --                       59,850 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 099                  59,850 (100.00%   23,802 (100.00%)    9,514 (100.00%)      5,695 (100.00%)
                                  )
Total and % Population                       23,802 (39.77%)     9,514 (15.90%)       5,695 (9.52%)


Plan: Illustrative_House, District 100 --                       58,851 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 100 --                       58,851 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 026                   1,992 (3.38%)     1,326 (3.88%)        79 (1.24%)           72 (1.12%)
Dist. 100                  56,859 (96.62%)   32,841 (96.12%)     6,276 (98.76%)       6,384 (98.88%)
Total and % Population                       34,167 (58.06%)     6,355 (10.80%)       6,456 (10.97%)


Plan: Illustrative_House, District 101 --                       59,938 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 101                  59,938 (100.00%   22,390 (100.00%)   15,380 (100.00%)     12,091 (100.00%)
                                  )
Total and % Population                       22,390 (37.36%)    15,380 (25.66%)      12,091 (20.17%)


Plan: Illustrative_House, District 102 --                       58,959 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 102                  58,959 (100.00%   15,798 (100.00%)   23,702 (100.00%)     13,823 (100.00%)
                                  )
Total and % Population                       15,798 (26.79%)    23,702 (40.20%)      13,823 (23.45%)


Plan: Illustrative_House, District 103 --                       60,197 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 100                       0 (0.00%)         0 (0.00%)            (0.00%)              (0.00%)
Dist. 103                  60,197 (100.00%   29,804 (100.00%)   10,628 (100.00%)     11,475 (100.00%)
                                  )
Total and % Population                       29,804 (49.51%)    10,628 (17.66%)      11,475 (19.06%)


Plan: Illustrative_House, District 104 --                       59,362 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 104                  59,362 (100.00%   35,877 (100.00%)   10,743 (100.00%)      7,501 (100.00%)
                                  )
Total and % Population                       35,877 (60.44%)    10,743 (18.10%)       7,501 (12.64%)


Plan: Illustrative_House, District 105 --                       59,344 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 105                  59,344 (100.00%   23,076 (100.00%)   18,444 (100.00%)     10,743 (100.00%)
                                  )
Total and % Population                       23,076 (38.89%)    18,444 (31.08%)      10,743 (18.10%)


Plan: Illustrative_House, District 106 --                       59,112 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 106                  59,112 (100.00%   21,673 (100.00%)   23,221 (100.00%)      7,483 (100.00%)
                                  )
Total and % Population                       21,673 (36.66%)    23,221 (39.28%)       7,483 (12.66%)


Plan: Illustrative_House, District 107 --                       59,702 Total Population


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 107                  59,702 (100.00%   11,360 (100.00%)   18,372 (100.00%)     20,594 (100.00%)
                                  )
Total and % Population                       11,360 (19.03%)    18,372 (30.77%)      20,594 (34.49%)


Plan: Illustrative_House, District 108 --                       59,577 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 108                  59,577 (100.00%   23,214 (100.00%)   11,946 (100.00%)     12,498 (100.00%)
                                  )
Total and % Population                       23,214 (38.96%)    11,946 (20.05%)      12,498 (20.98%)


Plan: Illustrative_House, District 109 --                       59,630 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 109                  59,630 (100.00%    8,049 (100.00%)   19,592 (100.00%)     23,446 (100.00%)
                                  )
Total and % Population                        8,049 (13.50%)    19,592 (32.86%)      23,446 (39.32%)


Plan: Illustrative_House, District 110 --                       59,951 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 110                  59,951 (100.00%   19,606 (100.00%)   30,042 (100.00%)      7,119 (100.00%)
                                  )
Total and % Population                       19,606 (32.70%)    30,042 (50.11%)       7,119 (11.87%)


Plan: Illustrative_House, District 111 --                       60,009 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 111                  60,009 (100.00%   36,326 (100.00%)   14,572 (100.00%)      6,224 (100.00%)
                                  )
Total and % Population                       36,326 (60.53%)    14,572 (24.28%)       6,224 (10.37%)


Plan: Illustrative_House, District 112 --                       59,349 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 112                  59,349 (100.00%   42,463 (100.00%)   12,163 (100.00%)      2,375 (100.00%)
                                  )
Total and % Population                       42,463 (71.55%)    12,163 (20.49%)       2,375 (4.00%)


Plan: Illustrative_House, District 113 --                       60,053 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 113                  60,053 (100.00%   17,306 (100.00%)   37,002 (100.00%)      4,671 (100.00%)
                                  )
Total and % Population                       17,306 (28.82%)    37,002 (61.62%)       4,671 (7.78%)


Plan: Illustrative_House, District 114 --                       59,867 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 114                  59,867 (100.00%   40,049 (100.00%)   15,438 (100.00%)      2,710 (100.00%)
                                  )




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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 114 --                      59,867 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Total and % Population                       40,049 (66.90%)   15,438 (25.79%)      2,710 (4.53%)


Plan: Illustrative_House, District 115 --                      59,473 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 115                  45,785 (76.98%)   12,410 (65.66%)   27,963 (82.32%)      3,781 (83.80%)
Dist. 116                     17 (0.03%)          0 (0.00%)       10 (0.03%)            5 (0.11%)
Dist. 117                  13,671 (22.99%)    6,489 (34.34%)    5,997 (17.65%)        726 (16.09%)
Total and % Population                       18,899 (31.78%)   33,970 (57.12%)      4,512 (7.59%)


Plan: Illustrative_House, District 116 --                      59,096 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 091                  12,646 (21.40%)    3,553 (22.12%)    6,673 (19.87%)      1,873 (33.12%)
Dist. 115                   3,298 (5.58%)     1,591 (9.90%)     1,222 (3.64%)         324 (5.73%)
Dist. 116                  43,152 (73.02%)   10,922 (67.98%)   25,685 (76.49%)      3,458 (61.15%)
Total and % Population                       16,066 (27.19%)   33,580 (56.82%)      5,655 (9.57%)


Plan: Illustrative_House, District 117 --                      58,692 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 074                   4,497 (7.66%)     1,966 (10.22%)    1,979 (5.83%)         343 (8.78%)
Dist. 116                   5,233 (8.92%)      537 (2.79%)      4,035 (11.88%)        450 (11.52%)
Dist. 117                  23,869 (40.67%)    9,812 (51.00%)   11,693 (34.43%)      1,721 (44.06%)
Dist. 134                  25,093 (42.75%)    6,926 (36.00%)   16,250 (47.85%)      1,392 (35.64%)
Total and % Population                       19,241 (32.78%)   33,957 (57.86%)      3,906 (6.66%)


Plan: Illustrative_House, District 118 --                      60,253 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 117                  22,590 (37.49%)   14,731 (36.65%)    5,677 (37.35%)      1,330 (48.14%)
Dist. 118                  37,663 (62.51%)   25,467 (63.35%)    9,523 (62.65%)      1,433 (51.86%)
Total and % Population                       40,198 (66.72%)   15,200 (25.23%)      2,763 (4.59%)


Plan: Illustrative_House, District 119 --                      59,260 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 119                  54,736 (92.37%)   36,582 (92.23%)    8,054 (91.03%)      6,575 (94.09%)
Dist. 120                   4,524 (7.63%)     3,084 (7.77%)      794 (8.97%)          413 (5.91%)
Total and % Population                       39,666 (66.94%)    8,848 (14.93%)      6,988 (11.79%)


Plan: Illustrative_House, District 120 --                      59,554 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 031                   3,507 (5.89%)     2,950 (7.67%)      227 (2.09%)          154 (2.35%)
Dist. 032                   1,765 (2.96%)     1,504 (3.91%)       96 (0.88%)          100 (1.53%)




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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 120 --                      59,554 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                  42,175 (70.82%)   28,596 (74.40%)    7,298 (67.19%)      3,868 (59.07%)
Dist. 121                   4,201 (7.05%)     2,716 (7.07%)      497 (4.58%)          227 (3.47%)
Dist. 122                   7,906 (13.28%)    2,672 (6.95%)     2,743 (25.26%)      2,199 (33.58%)
Total and % Population                       38,438 (64.54%)   10,861 (18.24%)      6,548 (11.00%)


Plan: Illustrative_House, District 121 --                      59,588 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                   9,150 (15.36%)    7,058 (15.92%)     500 (7.81%)          502 (12.33%)
Dist. 121                  45,510 (76.37%)   34,719 (78.32%)    4,474 (69.85%)      2,975 (73.08%)
Dist. 124                   4,928 (8.27%)     2,553 (5.76%)     1,431 (22.34%)        594 (14.59%)
Total and % Population                       44,330 (74.39%)    6,405 (10.75%)      4,071 (6.83%)


Plan: Illustrative_House, District 122 --                      59,628 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 120                   3,133 (5.25%)     2,463 (7.38%)      276 (1.69%)          181 (2.87%)
Dist. 121                   6,065 (10.17%)    4,531 (13.57%)     354 (2.17%)          337 (5.34%)
Dist. 122                  50,430 (84.57%)   26,396 (79.05%)   15,698 (96.14%)      5,794 (91.79%)
Total and % Population                       33,390 (56.00%)   16,328 (27.38%)      6,312 (10.59%)


Plan: Illustrative_House, District 123 --                      59,712 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 123                  52,873 (88.55%)   36,232 (87.68%)   11,874 (91.02%)      2,854 (91.33%)
Dist. 124                   6,839 (11.45%)    5,090 (12.32%)    1,172 (8.98%)         271 (8.67%)
Total and % Population                       41,322 (69.20%)   13,046 (21.85%)      3,125 (5.23%)


Plan: Illustrative_House, District 124 --                      58,822 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 118                   8,280 (14.08%)    5,595 (15.35%)    1,975 (12.16%)        516 (11.59%)
Dist. 121                   3,351 (5.70%)     2,416 (6.63%)      563 (3.47%)          167 (3.75%)
Dist. 122                   1,296 (2.20%)      232 (0.64%)       840 (5.17%)          223 (5.01%)
Dist. 124                  45,895 (78.02%)   28,204 (77.38%)   12,870 (79.21%)      3,547 (79.65%)
Total and % Population                       36,447 (61.96%)   16,248 (27.62%)      4,453 (7.57%)


Plan: Illustrative_House, District 125 --                      59,922 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                  43,038 (71.82%)   26,195 (77.47%)   10,946 (56.43%)      3,911 (87.32%)
Dist. 128                  16,884 (28.18%)    7,620 (22.53%)    8,451 (43.57%)        568 (12.68%)
Total and % Population                       33,815 (56.43%)   19,397 (32.37%)      4,479 (7.47%)


Plan: Illustrative_House, District 126 --                      59,977 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]


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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 126                  44,186 (73.67%)   14,483 (62.34%)   27,112 (81.23%)      1,617 (76.49%)
Dist. 128                   2,884 (4.81%)     2,573 (11.08%)     226 (0.68%)           52 (2.46%)
Dist. 130                   1,102 (1.84%)       41 (0.18%)      1,003 (3.01%)          57 (2.70%)
Dist. 132                   8,492 (14.16%)    4,760 (20.49%)    3,233 (9.69%)         333 (15.75%)
Dist. 159                   3,313 (5.52%)     1,374 (5.91%)     1,803 (5.40%)          55 (2.60%)
Total and % Population                       23,231 (38.73%)   33,377 (55.65%)      2,114 (3.52%)


Plan: Illustrative_House, District 127 --                      60,294 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                   4,940 (8.19%)     3,121 (7.74%)     1,019 (9.88%)         336 (8.84%)
Dist. 127                  40,489 (67.15%)   26,895 (66.74%)    6,977 (67.62%)      2,507 (65.96%)
Dist. 131                  14,865 (24.65%)   10,281 (25.51%)    2,322 (22.50%)        958 (25.20%)
Total and % Population                       40,297 (66.83%)   10,318 (17.11%)      3,801 (6.30%)


Plan: Illustrative_House, District 128 --                      59,983 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 126                   2,035 (3.39%)      800 (3.20%)      1,124 (3.43%)          96 (6.57%)
Dist. 128                  19,988 (33.32%)    8,412 (33.70%)   10,969 (33.49%)        334 (22.86%)
Dist. 132                   8,622 (14.37%)    3,013 (12.07%)    5,278 (16.12%)        239 (16.36%)
Dist. 155                  29,338 (48.91%)   12,739 (51.03%)   15,380 (46.96%)        792 (54.21%)
Total and % Population                       24,964 (41.62%)   32,751 (54.60%)      1,461 (2.44%)


Plan: Illustrative_House, District 129 --                      59,891 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 127                   8,772 (14.65%)    5,495 (24.25%)    2,485 (7.61%)         354 (14.09%)
Dist. 129                  51,119 (85.35%)   17,168 (75.75%)   30,149 (92.39%)      2,158 (85.91%)
Total and % Population                       22,663 (37.84%)   32,634 (54.49%)      2,512 (4.19%)


Plan: Illustrative_House, District 130 --                      60,057 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 126                   4,365 (7.27%)     2,513 (11.98%)    1,578 (4.48%)         135 (5.42%)
Dist. 129                   2,522 (4.20%)     1,149 (5.48%)     1,215 (3.45%)          74 (2.97%)
Dist. 130                  53,170 (88.53%)   17,318 (82.55%)   32,421 (92.07%)      2,283 (91.61%)
Total and % Population                       20,980 (34.93%)   35,214 (58.63%)      2,492 (4.15%)


Plan: Illustrative_House, District 131 --                      59,096 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 125                  12,159 (20.57%)    6,766 (18.14%)    3,290 (26.58%)      1,126 (25.17%)
Dist. 127                   2,912 (4.93%)     2,195 (5.89%)      269 (2.17%)          144 (3.22%)
Dist. 131                  44,025 (74.50%)   28,336 (75.97%)    8,820 (71.25%)      3,203 (71.61%)
Total and % Population                       37,297 (63.11%)   12,379 (20.95%)      4,473 (7.57%)


Plan: Illustrative_House, District 132 --                      58,652 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]


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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Dist. 127                   6,505 (11.09%)    4,096 (22.75%)     1,809 (5.48%)          271 (5.25%)
Dist. 129                   5,188 (8.85%)     1,586 (8.81%)      2,881 (8.73%)          556 (10.78%)
Dist. 130                   4,931 (8.41%)      515 (2.86%)       4,140 (12.55%)         224 (4.34%)
Dist. 132                  42,028 (71.66%)   11,804 (65.57%)    24,169 (73.24%)       4,108 (79.63%)
Total and % Population                       18,001 (30.69%)    32,999 (56.26%)       5,159 (8.80%)


Plan: Illustrative_House, District 133 --                       58,720 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 123                   6,409 (10.91%)    2,823 (11.57%)     3,138 (9.89%)          304 (22.14%)
Dist. 124                   1,559 (2.65%)      591 (2.42%)        876 (2.76%)            69 (5.03%)
Dist. 128                  19,108 (32.54%)    7,376 (30.24%)    11,258 (35.50%)         169 (12.31%)
Dist. 133                  22,767 (38.77%)    8,492 (34.81%)    13,112 (41.34%)         592 (43.12%)
Dist. 149                   8,877 (15.12%)    5,110 (20.95%)     3,330 (10.50%)         239 (17.41%)
Total and % Population                       24,392 (41.54%)    31,714 (54.01%)       1,373 (2.34%)


Plan: Illustrative_House, District 134 --                       58,622 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 074                   5,385 (9.19%)     4,334 (9.28%)       629 (7.58%)           232 (13.90%)
Dist. 134                  20,005 (34.13%)   15,093 (32.32%)     3,439 (41.47%)         801 (47.99%)
Dist. 135                  33,232 (56.69%)   27,265 (58.39%)     4,225 (50.95%)         636 (38.11%)
Total and % Population                       46,692 (79.65%)     8,293 (14.15%)       1,669 (2.85%)


Plan: Illustrative_House, District 135 --                       59,567 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 118                  14,044 (23.58%)    9,887 (23.79%)     2,997 (20.81%)         752 (39.11%)
Dist. 134                  14,298 (24.00%)   11,673 (28.08%)     1,745 (12.11%)         415 (21.58%)
Dist. 135                  13,474 (22.62%)    8,135 (19.57%)     4,697 (32.61%)         348 (18.10%)
Dist. 144                  17,323 (29.08%)   11,520 (27.72%)     4,893 (33.97%)         405 (21.06%)
Dist. 145                    428 (0.72%)       349 (0.84%)         73 (0.51%)             3 (0.16%)
Total and % Population                       41,564 (69.78%)    14,405 (24.18%)       1,923 (3.23%)


Plan: Illustrative_House, District 136 --                       59,795 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 136                  59,298 (99.17%)   36,859 (99.13%)    17,530 (99.22%)       2,609 (99.24%)
Dist. 137                    497 (0.83%)       322 (0.87%)        137 (0.78%)            20 (0.76%)
Total and % Population                       37,181 (62.18%)    17,667 (29.55%)       2,629 (4.40%)


Plan: Illustrative_House, District 137 --                       59,054 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 137                  59,054 (100.00%   22,369 (100.00%)   32,115 (100.00%)      3,057 (100.00%)
                                  )
Total and % Population                       22,369 (37.88%)    32,115 (54.38%)       3,057 (5.18%)


Plan: Illustrative_House, District 138 --                       58,912 Total Population



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 138                  58,912 (100.00%   41,408 (100.00%)   12,072 (100.00%)      2,418 (100.00%)
                                  )
Total and % Population                       41,408 (70.29%)    12,072 (20.49%)       2,418 (4.10%)


Plan: Illustrative_House, District 139 --                       59,010 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 139                  59,010 (100.00%   37,498 (100.00%)   12,846 (100.00%)      4,273 (100.00%)
                                  )
Total and % Population                       37,498 (63.55%)    12,846 (21.77%)       4,273 (7.24%)


Plan: Illustrative_House, District 140 --                       59,294 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 140                  59,294 (100.00%   17,055 (100.00%)   35,460 (100.00%)      5,358 (100.00%)
                                  )
Total and % Population                       17,055 (28.76%)    35,460 (59.80%)       5,358 (9.04%)


Plan: Illustrative_House, District 141 --                       59,019 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 141                  59,019 (100.00%   17,357 (100.00%)   34,760 (100.00%)      4,681 (100.00%)
                                  )
Total and % Population                       17,357 (29.41%)    34,760 (58.90%)       4,681 (7.93%)


Plan: Illustrative_House, District 142 --                       58,637 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                  11,848 (20.21%)    1,167 (5.89%)     10,054 (30.52%)         540 (12.44%)
Dist. 143                  19,576 (33.39%)    8,443 (42.60%)     9,267 (28.13%)       1,277 (29.42%)
Dist. 145                  19,315 (32.94%)    5,607 (28.29%)    11,469 (34.82%)       1,760 (40.55%)
Dist. 146                   5,967 (10.18%)    3,991 (20.14%)     1,319 (4.00%)          323 (7.44%)
Dist. 147                   1,931 (3.29%)      613 (3.09%)        831 (2.52%)           440 (10.14%)
Total and % Population                       19,821 (33.80%)    32,940 (56.18%)       4,340 (7.40%)


Plan: Illustrative_House, District 143 --                       58,771 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                   8,486 (14.44%)    4,919 (25.62%)     2,924 (8.09%)          291 (13.64%)
Dist. 143                  39,893 (67.88%)    8,853 (46.10%)    28,778 (79.63%)       1,619 (75.90%)
Dist. 144                   2,370 (4.03%)      943 (4.91%)       1,211 (3.35%)           99 (4.64%)
Dist. 149                   8,022 (13.65%)    4,487 (23.37%)     3,226 (8.93%)          124 (5.81%)
Total and % Population                       19,202 (32.67%)    36,139 (61.49%)       2,133 (3.63%)


Plan: Illustrative_House, District 144 --                       60,114 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 133                  36,435 (60.61%)   24,870 (61.84%)     9,701 (61.42%)         842 (53.46%)
Dist. 144                  23,679 (39.39%)   15,344 (38.16%)     6,094 (38.58%)         733 (46.54%)
Total and % Population                       40,214 (66.90%)    15,795 (26.28%)       1,575 (2.62%)



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 145 --                       60,214 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 142                  39,274 (65.22%)   12,260 (51.31%)    24,637 (76.80%)       1,692 (72.81%)
Dist. 144                  15,860 (26.34%)    8,217 (34.39%)     6,121 (19.08%)         486 (20.91%)
Dist. 145                   5,080 (8.44%)     3,417 (14.30%)     1,322 (4.12%)          146 (6.28%)
Total and % Population                       23,894 (39.68%)    32,080 (53.28%)       2,324 (3.86%)


Plan: Illustrative_House, District 146 --                       58,683 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 146                  42,563 (72.53%)   25,739 (70.37%)    12,040 (75.09%)       2,341 (76.91%)
Dist. 148                  16,120 (27.47%)   10,838 (29.63%)     3,995 (24.91%)         703 (23.09%)
Total and % Population                       36,577 (62.33%)    16,035 (27.32%)       3,044 (5.19%)


Plan: Illustrative_House, District 147 --                       58,678 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 135                  13,357 (22.76%)    7,057 (19.91%)     5,712 (33.31%)         345 (12.22%)
Dist. 145                  26,223 (44.69%)   18,226 (51.43%)     5,767 (33.63%)       1,271 (45.01%)
Dist. 146                   6,414 (10.93%)    3,064 (8.65%)      2,552 (14.88%)         450 (15.93%)
Dist. 147                  12,684 (21.62%)    7,090 (20.01%)     3,116 (18.17%)         758 (26.84%)
Total and % Population                       35,437 (60.39%)    17,147 (29.22%)       2,824 (4.81%)


Plan: Illustrative_House, District 148 --                       58,934 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 148                  43,864 (74.43%)   24,244 (75.12%)    17,206 (74.60%)       1,495 (63.21%)
Dist. 156                  15,070 (25.57%)    8,029 (24.88%)     5,857 (25.40%)         870 (36.79%)
Total and % Population                       32,273 (54.76%)    23,063 (39.13%)       2,365 (4.01%)


Plan: Illustrative_House, District 149 --                       58,639 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 145                   8,817 (15.04%)    3,317 (11.33%)     4,280 (20.19%)       1,024 (20.35%)
Dist. 146                   5,259 (8.97%)     2,916 (9.96%)      1,779 (8.39%)          295 (5.86%)
Dist. 147                  44,563 (76.00%)   23,036 (78.70%)    15,139 (71.42%)       3,713 (73.79%)
Total and % Population                       29,269 (49.91%)    21,198 (36.15%)       5,032 (8.58%)


Plan: Illustrative_House, District 150 --                       59,276 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 150                  59,276 (100.00%   21,432 (100.00%)   32,464 (100.00%)      4,286 (100.00%)
                                  )
Total and % Population                       21,432 (36.16%)    32,464 (54.77%)       4,286 (7.23%)


Plan: Illustrative_House, District 151 --                       59,241 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]




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Core Constituencies                                                                                  Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 151 --                      59,241 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 151                  36,944 (62.36%)   19,374 (56.20%)   13,290 (71.24%)      2,957 (82.51%)
Dist. 152                  22,297 (37.64%)   15,100 (43.80%)    5,365 (28.76%)        627 (17.49%)
Total and % Population                       34,474 (58.19%)   18,655 (31.49%)      3,584 (6.05%)


Plan: Illustrative_House, District 152 --                      60,076 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 152                  31,650 (52.68%)   22,085 (58.74%)    7,907 (50.53%)        707 (13.61%)
Dist. 169                   1,825 (3.04%)     1,245 (3.31%)      382 (2.44%)          153 (2.95%)
Dist. 170                   7,432 (12.37%)    4,787 (12.73%)    1,444 (9.23%)         892 (17.17%)
Dist. 172                  19,169 (31.91%)    9,484 (25.22%)    5,916 (37.80%)      3,443 (66.28%)
Total and % Population                       37,601 (62.59%)   15,649 (26.05%)      5,195 (8.65%)


Plan: Illustrative_House, District 153 --                      59,038 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 151                  23,115 (39.15%)    7,781 (40.15%)   13,237 (36.92%)      1,551 (62.54%)
Dist. 153                  35,923 (60.85%)   11,598 (59.85%)   22,614 (63.08%)        929 (37.46%)
Total and % Population                       19,379 (32.82%)   35,851 (60.73%)      2,480 (4.20%)


Plan: Illustrative_House, District 154 --                      59,504 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 152                   4,106 (6.90%)     1,742 (8.67%)     2,059 (5.50%)         204 (15.22%)
Dist. 153                   4,551 (7.65%)      242 (1.20%)      4,183 (11.18%)        103 (7.69%)
Dist. 154                  50,847 (85.45%)   18,106 (90.12%)   31,179 (83.32%)      1,033 (77.09%)
Total and % Population                       20,090 (33.76%)   37,421 (62.89%)      1,340 (2.25%)


Plan: Illustrative_House, District 155 --                      60,014 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 149                  32,508 (54.17%)   21,732 (53.06%)    9,099 (57.39%)      1,089 (60.43%)
Dist. 155                  27,506 (45.83%)   19,222 (46.94%)    6,757 (42.61%)        713 (39.57%)
Total and % Population                       40,954 (68.24%)   15,856 (26.42%)      1,802 (3.00%)


Plan: Illustrative_House, District 156 --                      59,003 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]
Dist. 149                   9,486 (16.08%)    4,015 (11.84%)    3,833 (20.69%)      1,850 (31.32%)
Dist. 156                  43,111 (73.07%)   25,829 (76.17%)   12,575 (67.89%)      3,887 (65.80%)
Dist. 158                   6,406 (10.86%)    4,065 (11.99%)    2,114 (11.41%)        170 (2.88%)
Total and % Population                       33,909 (57.47%)   18,522 (31.39%)      5,907 (10.01%)


Plan: Illustrative_House, District 157 --                      60,358 Total Population
                         Population           NH_Wht           AP_Blk            [Hispanic Origin]



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 157 --                       60,358 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 156                   1,263 (2.09%)      909 (2.36%)        168 (1.19%)           157 (2.32%)
Dist. 157                  53,476 (88.60%)   33,023 (85.88%)    13,447 (95.55%)       6,070 (89.59%)
Dist. 178                   5,619 (9.31%)     4,520 (11.75%)      458 (3.25%)           548 (8.09%)
Total and % Population                       38,452 (63.71%)    14,073 (23.32%)       6,775 (11.22%)


Plan: Illustrative_House, District 158 --                       59,859 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 126                   8,674 (14.49%)    4,611 (13.15%)     3,638 (18.01%)         303 (8.98%)
Dist. 155                   1,915 (3.20%)     1,720 (4.90%)       119 (0.59%)            36 (1.07%)
Dist. 158                  49,270 (82.31%)   28,742 (81.95%)    16,439 (81.40%)       3,035 (89.95%)
Total and % Population                       35,073 (58.59%)    20,196 (33.74%)       3,374 (5.64%)


Plan: Illustrative_House, District 159 --                       60,346 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 158                   3,764 (6.24%)     2,423 (5.84%)      1,103 (7.55%)          126 (5.59%)
Dist. 159                  56,582 (93.76%)   39,032 (94.16%)    13,504 (92.45%)       2,130 (94.41%)
Total and % Population                       41,455 (68.70%)    14,607 (24.21%)       2,256 (3.74%)


Plan: Illustrative_House, District 160 --                       59,935 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 160                  59,935 (100.00%   40,058 (100.00%)   14,170 (100.00%)      3,295 (100.00%)
                                  )
Total and % Population                       40,058 (66.84%)    14,170 (23.64%)       3,295 (5.50%)


Plan: Illustrative_House, District 161 --                       60,097 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 161                  60,097 (100.00%   34,573 (100.00%)   17,350 (100.00%)      4,742 (100.00%)
                                  )
Total and % Population                       34,573 (57.53%)    17,350 (28.87%)       4,742 (7.89%)


Plan: Illustrative_House, District 162 --                       60,308 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 162                  60,308 (100.00%   22,134 (100.00%)   28,142 (100.00%)      6,504 (100.00%)
                                  )
Total and % Population                       22,134 (36.70%)    28,142 (46.66%)       6,504 (10.78%)


Plan: Illustrative_House, District 163 --                       60,123 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 163                  60,123 (100.00%   23,136 (100.00%)   29,099 (100.00%)      5,081 (100.00%)
                                  )
Total and % Population                       23,136 (38.48%)    29,099 (48.40%)       5,081 (8.45%)




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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 164 --                       60,245 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 164                  60,101 (99.76%)   34,676 (99.60%)    15,067 (99.99%)       5,978 (100.00%)
Dist. 166                    144 (0.24%)       140 (0.40%)           2 (0.01%)              (0.00%)
Total and % Population                       34,816 (57.79%)    15,069 (25.01%)       5,978 (9.92%)


Plan: Illustrative_House, District 165 --                       59,978 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 165                  59,978 (100.00%   21,050 (100.00%)   32,897 (100.00%)      3,318 (100.00%)
                                  )
Total and % Population                       21,050 (35.10%)    32,897 (54.85%)       3,318 (5.53%)


Plan: Illustrative_House, District 166 --                       60,098 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 166                  60,098 (100.00%   49,732 (100.00%)    3,645 (100.00%)      3,125 (100.00%)
                                  )
Total and % Population                       49,732 (82.75%)     3,645 (6.07%)        3,125 (5.20%)


Plan: Illustrative_House, District 167 --                       60,184 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                  47,024 (78.13%)   29,688 (79.43%)    11,482 (71.70%)       3,759 (87.42%)
Dist. 168                  11,457 (19.04%)    6,138 (16.42%)     4,459 (27.84%)         507 (11.79%)
Dist. 178                   1,703 (2.83%)     1,548 (4.14%)        74 (0.46%)            34 (0.79%)
Total and % Population                       37,374 (62.10%)    16,015 (26.61%)       4,300 (7.14%)


Plan: Illustrative_House, District 168 --                       60,280 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 157                   6,481 (10.75%)    4,035 (18.42%)     1,671 (5.89%)          637 (8.05%)
Dist. 167                   5,109 (8.48%)     2,204 (10.06%)     1,606 (5.66%)        1,040 (13.14%)
Dist. 168                  48,690 (80.77%)   15,662 (71.51%)    25,081 (88.44%)       6,239 (78.82%)
Total and % Population                       21,901 (36.33%)    28,358 (47.04%)       7,916 (13.13%)


Plan: Illustrative_House, District 169 --                       59,999 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 169                  57,313 (95.52%)   33,270 (93.97%)    17,582 (98.93%)       5,189 (94.57%)
Dist. 170                   2,686 (4.48%)     2,136 (6.03%)       191 (1.07%)           298 (5.43%)
Total and % Population                       35,406 (59.01%)    17,773 (29.62%)       5,487 (9.15%)


Plan: Illustrative_House, District 170 --                       59,885 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 170                  49,998 (83.49%)   29,535 (84.43%)    14,023 (79.93%)       5,081 (87.74%)
Dist. 172                   9,887 (16.51%)    5,446 (15.57%)     3,521 (20.07%)         710 (12.26%)
Total and % Population                       34,981 (58.41%)    17,544 (29.30%)       5,791 (9.67%)




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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX

Plan: Illustrative_House, District 171 --                       60,331 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 152                   2,081 (3.45%)      832 (3.98%)       1,023 (2.83%)          172 (7.24%)
Dist. 153                  18,825 (31.20%)    2,618 (12.52%)    15,386 (42.51%)         703 (29.59%)
Dist. 171                  21,755 (36.06%)   10,106 (48.34%)    10,394 (28.72%)         964 (40.57%)
Dist. 172                   1,476 (2.45%)     1,208 (5.78%)       192 (0.53%)            41 (1.73%)
Dist. 173                  16,194 (26.84%)    6,143 (29.38%)     9,196 (25.41%)         496 (20.88%)
Total and % Population                       20,907 (34.65%)    36,191 (59.99%)       2,376 (3.94%)


Plan: Illustrative_House, District 172 --                       59,572 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 172                  29,429 (49.40%)   18,181 (48.07%)     5,165 (38.76%)       5,400 (78.92%)
Dist. 173                  30,143 (50.60%)   19,644 (51.93%)     8,160 (61.24%)       1,442 (21.08%)
Total and % Population                       37,825 (63.49%)    13,325 (22.37%)       6,842 (11.49%)


Plan: Illustrative_House, District 173 --                       60,035 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 154                   9,147 (15.24%)    5,617 (17.81%)     3,093 (13.83%)         228 (4.68%)
Dist. 171                  37,482 (62.43%)   20,239 (64.18%)    14,017 (62.68%)       2,431 (49.86%)
Dist. 173                  13,406 (22.33%)    5,678 (18.01%)     5,253 (23.49%)       2,217 (45.47%)
Total and % Population                       31,534 (52.53%)    22,363 (37.25%)       4,876 (8.12%)


Plan: Illustrative_House, District 174 --                       59,852 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 174                  59,852 (100.00%   42,393 (100.00%)   11,260 (100.00%)      4,717 (100.00%)
                                  )
Total and % Population                       42,393 (70.83%)    11,260 (18.81%)       4,717 (7.88%)


Plan: Illustrative_House, District 175 --                       59,993 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 175                  59,993 (100.00%   38,441 (100.00%)   15,333 (100.00%)      3,657 (100.00%)
                                  )
Total and % Population                       38,441 (64.08%)    15,333 (25.56%)       3,657 (6.10%)


Plan: Illustrative_House, District 176 --                       59,470 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 176                  59,470 (100.00%   37,797 (100.00%)   14,031 (100.00%)      5,915 (100.00%)
                                  )
Total and % Population                       37,797 (63.56%)    14,031 (23.59%)       5,915 (9.95%)


Plan: Illustrative_House, District 177 --                       59,992 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 177                  59,992 (100.00%   19,929 (100.00%)   34,510 (100.00%)      4,016 (100.00%)
                                  )



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Core Constituencies                                                                                     Illustrative_House



From Plan:          ga_house_HB1EX


Plan: Illustrative_House, District 177 --                       59,992 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Total and % Population                       19,929 (33.22%)    34,510 (57.52%)       4,016 (6.69%)


Plan: Illustrative_House, District 178 --                       59,297 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                   6,742 (11.37%)    5,049 (11.41%)     1,094 (10.85%)         428 (11.99%)
Dist. 178                  52,555 (88.63%)   39,210 (88.59%)     8,993 (89.15%)       3,143 (88.01%)
Total and % Population                       44,259 (74.64%)    10,087 (17.01%)       3,571 (6.02%)


Plan: Illustrative_House, District 179 --                       59,974 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 167                    618 (1.03%)       477 (1.34%)         54 (0.30%)            16 (0.35%)
Dist. 179                  59,356 (98.97%)   35,038 (98.66%)    18,047 (99.70%)       4,586 (99.65%)
Total and % Population                       35,515 (59.22%)    18,101 (30.18%)       4,602 (7.67%)


Plan: Illustrative_House, District 180 --                       59,412 Total Population
                         Population           NH_Wht            AP_Blk             [Hispanic Origin]
Dist. 180                  59,412 (100.00%   40,821 (100.00%)   11,721 (100.00%)      3,843 (100.00%)
                                  )
Total and % Population                       40,821 (68.71%)    11,721 (19.73%)       3,843 (6.47%)




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